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                EXHIBIT B
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                                   Objection Response Chart By Argument
Argument No.      Objecting
                                                  Summary of Argument                                                        Debtors’ Response
& Description      Parties
                                                               Adequate Disclosure Objections

1)    Adequate   SUMMARY OF   The Disclosure Statement fails to provide sufficient description   DEBTORS HAVE ADDED DISCLOSURE
Disclosure   –   ARGUMENTS    and/or basis for the value of the Debtors’ contribution to the
Debtor Assets                 Settlement Trust and how such contributions will be utilized for   The Disclosure Statement now includes a chart that reflects the value of the
&                             each potential party receiving a release.                          BSA Settlement Trust Contribution over time. See Disclosure Statement,
Contribution                                                                                     Article II.F.

                                                                                                 The Disclosure Statement now includes further disclosure with respect to
                                                                                                 the BSA’s retained assets which is detailed in the Retained Property
                                                                                                 Schedule attached as Exhibit E.1 to the Disclosure Statement and the
                                                                                                 property being transferred to the Settlement Trust. See Disclosure
                                                                                                 Statement, Article VII.A.3.

                                                                                                 The Disclosure Statement includes the value of BSA’s contribution to the
                                                                                                 Settlement Trust, including the value ascribed to artwork, oil and gas
                                                                                                 interests, high adventure facilities, and other real property. See Disclosure
                                                                                                 Statement, Article II.D; Liquidation Analysis, Exhibit D.

                                                                                                 The Disclosure Statement provides adequate information regarding the
                                                                                                 BSA’s insurance program, which has been further supplemented in the
                                                                                                 Disclosure Statement.         See Disclosure Statement, Article III.F.
                                                                                                 Additionally, the Disclosure Statement now has several additional risk
                                                                                                 factors related to insurance. See Disclosure Statement, Article X.

                                                                                                 The Debtors have provided further disclosure with respect to the BSA’s
                                                                                                 Restricted Property, which is detailed in Exhibit E, the Financial
                                                                                                 Projections Analysis, of the Disclosure Statement.

                                                                                                 The Leaseback Requirement Agreement will be filed with the Plan
                                                                                                 Supplement, as it has not been executed at this time. The Plan Supplement
                                                                                                 will be available for inspection in the office of the Clerk of the Bankruptcy
                                                                                                 Court during normal court hours, at the website maintained by the Notice



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Argument No.       Objecting
                                                         Summary of Argument                                                            Debtors’ Response
& Description       Parties
                                                                                                            and Claims Agent (https://omniagentsolutions.com/BSA), and at the
                                                                                                            Bankruptcy Court’s website (ecf.deb.uscourts.gov).

                Saunders       &    There is no property-by-property valuation of the property being        The Disclosure Statement now includes a chart that reflects the value of the
                Walker              transferred to a settlement trust, or any property-by-property          BSA Settlement Trust Contribution over time. Article II.F
                Claimants   [D.I.   valuation of the real or personal property that Debtors’ seeks to
                5366]               retain. The same is true of its other assets, including investments.    The Disclosure Statement now includes further disclosure with respect to
                                    (See, e.g., Obj. ¶ 2.)                                                  the BSA’s retained assets which is detailed in the Retained Property
                                                                                                            Schedule attached as Exhibit E.1 to the Disclosure Statement and the
                                                                                                            property being transferred to the Settlement Trust. See Disclosure
                                                                                                            Statement, Article VII.A.3.

                                                                                                            The Disclosure Statement includes the value of BSA’s contribution to the
                                                                                                            Settlement Trust, including the value ascribed to artwork, oil and gas
                                                                                                            interests, high adventure facilities, and other real property. See Disclosure
                                                                                                            Statement, Article II.D; Liquidation Analysis, Exhibit D.

                DLG Claimants       The Disclosure Statement does not provide any property-by-property      The Disclosure Statement now includes a chart that reflects the value of the
                [D.I. 2959]         valuation of the real or personal property that the Debtors intend to   BSA Settlement Trust Contribution over time. Article II.F
                                    transfer to a settlement trust, or any property-by-property valuation
                                    of the real or personal property that it seeks to retain. The same is   The Disclosure Statement now includes further disclosure with respect to
                                    true of its other assets, including investments. (Obj. at 3.)           the BSA’s retained assets which is detailed in the Retained Property
                                                                                                            Schedule attached as Exhibit E.1 to the Disclosure Statement and the
                                    Likewise, the Disclosure Statement does not provide any property        property being transferred to the Settlement Trust. See Disclosure
                                    valuation information for any local councils or chartered               Statement, Article VII.A.3.
                                    organization. No chartered organization has offered to pay anything,
                                    and the Disclosure Statement does not offer any mechanism to            The Disclosure Statement includes the value of BSA’s contribution to the
                                    evaluate contributions on their behalf. (Obj. at 3.)                    Settlement Trust, including the value ascribed to artwork, oil and gas
                                                                                                            interests, high adventure facilities, and other real property. See Disclosure
                                                                                                            Statement, Article II.D; Liquidation Analysis, Exhibit D.

                National Union      The Disclosure Statement does not have adequate information on          The Disclosure Statement now includes a chart that reflects the value of the
                Fire    Insurance   BSA’s assets.                                                           BSA Settlement Trust Contribution over time. Article II.F
                Company        of
                Pittsburgh, Pa.,                                                                            The Disclosure Statement now includes further disclosure with respect to
                Lexington                                                                                   the BSA’s retained assets which is detailed in the Retained Property
                Insurance                                                                                   Schedule attached as Exhibit E.1 to the Disclosure Statement and the
                Company,                                                                                    property being transferred to the Settlement Trust. See Disclosure
                Landmark                                                                                    Statement, Article VII.A.3.
                Insurance
                Company, The
                                                                                         2
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Argument No.          Objecting
                                                               Summary of Argument                                                                Debtors’ Response
& Description           Parties
                  Insurance                                                                                         The Disclosure Statement includes the value of BSA’s contribution to the
                  Company of the                                                                                    Settlement Trust, including the value ascribed to artwork, oil and gas
                  State            of                                                                               interests, high adventure facilities, and other real property. See Disclosure
                  Pennsylvania,                                                                                     Statement, Article II.D; Liquidation Analysis, Exhibit D.
                  and           their
                  affiliated entities
                  (collectively, the
                  “AIG
                  Companies”)
                  [D.I. 3523]1
                  United      States    The financial disclosures should show: (1) The estimated or actual          The Disclosure Statement now includes a chart that reflects the value of the
                  Trustee       [D.I.   contribution for each revenue source of the settlement trust; and (3)       BSA Settlement Trust Contribution over time. Article II.F
                  3581]                 the likelihood of any net unrestricted cash and investments greater
                                        than $75 million being available for distribution. (Obj. ¶ 18-19.)          The Disclosure Statement now includes further disclosure with respect to
                                                                                                                    the BSA’s retained assets which is detailed in the Retained Property
                                        The Plan does not disclose the value of particular assets that will fund    Schedule attached as Exhibit E.1 to the Disclosure Statement and the
                                        the Plan (i.e., artwork).                                                   property being transferred to the Settlement Trust. See Disclosure
                                                                                                                    Statement, Article VII.A.3.

                                                                                                                    The Disclosure Statement includes the value of BSA’s contribution to the
                                                                                                                    Settlement Trust, including the value ascribed to artwork, oil and gas
                                                                                                                    interests, high adventure facilities, and other real property. See Disclosure
                                                                                                                    Statement, Article II.D; Liquidation Analysis, Exhibit D.

                  Tort Claimants’       The Disclosure Statement fails to provide a sufficient description          The Disclosure Statement now includes further disclosure with respect to
                  Committee [D.I.       and/or basis for the value of BSA’s contribution to the Settlement          the BSA’s retained assets which is detailed in the Retained Property List
                  3526]                 Trust, including artwork, oil and gas interests, high adventure             attached as Exhibit E-1 to the Disclosure Statement and the property being
                                        facilities, and other real property disclosures. (Obj. ¶ 38.)               transferred to the Settlement Trust. See Disclosure Statement, Article
                                                                                                                    VII.A.3.
                                        The Disclosure Statement does not disclose the value of the BSA
                                        insurance-related contributions, including: (i) the BSA Insurance           The Disclosure Statement includes the value of BSA’s contribution to the
                                        Policies; (ii) the Insurance Coverage; (iii) the Insurance Settlement       Settlement Trust, including the value ascribed to artwork, oil and gas
                                        Agreements; (iv) the Insurance Actions; and (v) the Insurance Action        interests, high adventure facilities, and other real property. See Disclosure
                                        Recoveries. (Obj. ¶ 59.). Contribution of Insurance Actions “is             Statement, Article II.D; Liquidation Analysis, Exhibit D.
                                        misleading because a Survivor might believe that the settlement trust
                                        is getting something more than the right to prosecute or defend             The Disclosure Statement provides adequate information regarding the
                                        complicated coverage litigation”, and the Disclosure Statement does         BSA’s insurance program, which has been further supplemented in the
                                                                                                                    Disclosure Statement.    See Disclosure Statement, Article III.F.

 1   The following parties have joined in this objection: (a) Clarendon National Insurance Company [D.I. 3558]; (b) Continental Insurance Company [D.I. 3582]; and (c) Arch Insurance Company [D.I.
     6053].
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Argument No.         Objecting
                                                               Summary of Argument                                                                 Debtors’ Response
& Description         Parties
                                        not provide any estimate of costs related to such litigation. (Obj. ¶        Additionally, the Disclosure Statement now has several additional risk
                                        61.)                                                                         factors related to insurance. See Disclosure Statement, Article X.



                  Plaintiff     Law     There is no property-by-property valuation of the property being             The Disclosure Statement now includes further disclosure with respect to
                  Firms (Filed 8/10     transferred to a settlement trust, or any property-by-property               the BSA’s retained assets which is detailed in the Retained Property List
                  –     8/16/2021)2;    valuation of the real or personal property that Debtors’ seeks to            attached as Exhibit E-1 to the Disclosure Statement and the property being
                  (filed      before    retain. The same is true of its other assets, including investments.         transferred to the Settlement Trust. See Disclosure Statement, Article
                  5/16)3 4              (See, e.g., Obj. ¶ 2 [D.I. 2449].)                                           VII.A.3.



                  Century               The Disclosure Statement does not identify the “identified property,”        The Debtors have provided further disclosure with respect to the BSA’s
                  Indemnity             does not disclose the value of the identified property, how Debtors          Restricted Property, which is detailed in Exhibit E-1, the Financial
                  Company       [D.I.   arrived at that value, or the reason each piece of property is               Projections Analysis, of the Disclosure Statement.
                  6065];        [D.I.   unavailable. As a result, it is unclear if the trust contribution is fair
                  5214];        [D.I.   and equitable. (D.I. 3856 - Obj. at 14.)                                     The Leaseback Requirement Agreement will be filed with the Plan
                  3856]                                                                                              Supplement, as it has not been executed at this time. The Plan Supplement
                                        Debtors have not filed the Leaseback Requirement Agreement in                will be available for inspection in the office of the Clerk of the Bankruptcy
                                        connection with the Warehouse and Distribution Center asset. (D.I.           Court during normal court hours, at the website maintained by the Notice
                                        3856 - Obj. at 15.)                                                          and Claims Agent (https://omniagentsolutions.com/BSA), and at the
                                                                                                                     Bankruptcy Court’s website (ecf.deb.uscourts.gov).


 2   The following plaintiffs’ law firms filed substantially similar objections: (1) Bonina & Bonina P.C. [D.I. 5955]; (2) Manly, Stewart & Finaldi [D.I. 5963]; (3) Pfau Cochran Vertetis Amala PLLC
     [D.I. 5964]; (4) Chiacchia & Fleming, LLP [D.I. 5965]; (5) James, Vernon & Weeks, P.A. [D.I. 5966]; (6) Alonso Krangle LLP [D.I. 5967]; (7) Winer, Burritt & Scott, LLP [D.I. 5968]; (8) The
     Massey Law Firm [D.I. 5971]; (9) Law Offices of Anthony M. DeMarco [D.I. 5978]; (10) Oaks Law Firm [D.I. 5982]; (11) Kralovec, Jambois & Schwartz [D.I. 5989]; (12) NETTLES | MORRIS
     [D.I. 5990]; (13) Spagnoletti Law Firm [D.I. 5991]; (14) Van Zanten & Onik, LLC [D.I. 5992]; (15) Jacobs & Crumplar, P.A. and The Neuberger Firm [D.I. 6002]; (16) Gair, Gair, Conason,
     Rubinowitz, Bloom, Hershenhorn, Steigman & Mackauf.[D.I. 6003]; (17) Nesenoff & Miltenberg, LLP [D.I. 6005]; (18) Kenneth J. Ready & Associates [D.I. 6006]; (19) Joshua D. Gillispie, of
     Green & Gillispie, Attorneys at Law [D.I. 6007]; (20) Linder, Sattler & Rogowsky, LLP [D.I. 6010]; (21) Gellert Scali Busenkell & Brown, LLC and Lomurro, Munson, Comer, Brown &
     Schottland, LLC [D.I. 6015]; (22) Sullivan Papain Block Mcgrath Coffinas & Cannavo, P.C. [D.I. 6016]; (23) Perdue & Kidd [D.I. 6017]; (24) Gordon & Partners, PA [D.I. 6018]; (25) Law Offices
     of Betti & Associates [D.I. 6024]; (26) Anderson & Cummings, L.L.P. [D.I. 6028]; (27) Gregory J. Cannata & Associates, LLP [D.I. 6029]; (28) Dumas & Vaughn, LLC [D.I. 6030]; (29) Zalkin
     Law Firm, P.C. [D.I. 6031]; (30) Ronald Hernandez Hunter, Plaintiff in Hunter v. Boy Scouts of America, No. 20 Civ. 315 (E.D.N.Y.) [D.I. 6033]; (31) Law Office of Stephanie Morris, LLC [D.I.
     6036]; (32) Oshan & Associates PC [D.I. 6037]; (33) Searcy Denney Scarola Barnhart & Shipley, P.A. [D.I. 6040]; (34) Beasley Allen Law Firm [D.I. 6046]; (35) SIEGLE & SIMS L.L.P. [D.I.
     6047].
 3   The above-mentioned plaintiffs’ law firms filed substantially similar objections. See D.I. 2449, 2497, 2500, 2580, 2586, 2642, 2741, 2845, 2902, 2739, 2741, 2845, 2902, 2959, 3150, 3151, 3153,
     3154, 3155, 3156, 3157, 3158, 3159, 3160, 3162, 3163, 3164, 3165, 3167, 3175, 3176, 3177, 3178, 3181, 3182, 3183, 3193, 3194, 3198, 3205, 3207, 3211, 3214, 3219, 3222, 3225, 3226, 3231,
     3236, 3243, 3247, 3249, 3251, 3252, 3253, 3254, 3255, 3256, 3257, 3258, 3260, 3261, 3262, 3264, 3265, 3267, 3268, 3269, 3272, 3275, 3276, 3277, 3279, 3281, 3309, 3424.
 4   The following parties join Pfau Cochran Vertetis Amala PLLC [D.I. 5964]: (a) Morgan & Morgan Claimants [D.I. 6004]; (b) Fairfield & Associates Claimants [D.I. 6034]; (c) Aylstock, Witkin,
     Kresi & Overholtz, PLLC Claimants [D.I. 6008]; (d) Lujan & Wolff LLP Claimants [D.I. 6039]. The following parties also join Pfau Cochran Vertetis Amala PLLC [D.I. 3265]: (x) Morgan &
     Morgan Claimants [D.I. 6004]; and (y) Fairfield & Associates Claimants.
                                                                                                 4
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Argument No.       Objecting
                                                      Summary of Argument                                                              Debtors’ Response
& Description        Parties
                AIG Companies   The Disclosure Statement does not have adequate information on:            The Disclosure Statement includes the value of BSA’s contribution to the
                [D.I. 3523]     (1) the contributions to the settlement trust, (2) BSA’s assets, (3) the   Settlement Trust, including the value ascribed to artwork, oil and gas
                                local council settlement contribution, and (4) contributing chartered      interests, high adventure facilities, and other real property. See Disclosure
                                organization settlement contribution. (Obj. ¶ 7.)                          Statement, Article II.D; Liquidation Analysis, Exhibit D.

                                                                                                           The Disclosure Statement now includes further disclosure with respect to
                                                                                                           the BSA’s retained assets which is detailed in the Retained Property List
                                The Disclosure Statement does not disclose whether the $11.5               attached as Exhibit E-1 to the Disclosure Statement and the property being
                                million valuation set forth in the Disclosure Statement takes into         transferred to the Settlement Trust. See Disclosure Statement, Article
                                account the leaseback requirement of the Warehouse and                     VII.A.3.
                                Distribution center. (Obj. ¶ 10.)
                                                                                                           Each Local Council’s commitment to make its respective contribution to
                                                                                                           the Settlement Trust is dependent upon, among other things, an acceptable
                                                                                                           resolution of insurance and indemnity issues with respect to Chartered
                                                                                                           Organizations. Such commitment will be memorialized in letters of intent,
                                                                                                           substantially conforming to the form attached to the Disclosure Statement
                                                                                                           as Exhibit B. See Disclosure Statement, Exhibit B.

                                                                                                           A list of each Local Counsel’s total expected contribution, including a
                                                                                                           specific break-down between the (i) cash contribution and (ii) property
                                                                                                           contribution, is attached to the Disclosure Statement as Exhibit C. See
                                                                                                           Disclosure Statement, Exhibit C.

                                                                                                           The Disclosure Statement does not describe how much a Chartered
                                                                                                           Organization must contribute to become and Contributing Chartered
                                                                                                           Organization because the amount is particular to each Chartered
                                                                                                           Organization and based on the liability associated with each such entity.
                                                                                                           There is no blanket amount that pertains to all Chartered Organizations.
                                                                                                           However, the terms and description of the channeling injunction afforded
                                                                                                           Contributing Chartered Organizations have been supplemented in the
                                                                                                           Disclosure Statement. See Disclosure Statement, Article II.E.4.



2) Adequate     SUMMARY OF      The      Disclosure     Statement       fails    to    sufficiently        DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    ARGUMENTS       disclose the third party assets, how much third parties are
Third Party                     contributing to the Plan, and how such contributions will be               The Debtors have added information about the potential parties that could
Assets,                         utilized for each potential party receiving a release.                     be included in a release and the status of Contributing Charted
                                                                                                           Organizations, Participating Chartered Organizations, and Local Councils.


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Argument No.     Objecting
                                     Summary of Argument                                            Debtors’ Response
& Description     Parties
Liabilities, &                                                          See Plan, Article X.J; Disclosure Statement, Articles II.D, II.E, V.R and
Contributions                                                           VI.H.18.

                                                                        The Disclosure Statement now attaches property valuations for all Local
                                                                        Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                                                                        Disclosure Statement, Article V.N. The Disclosure Statement now also
                                                                        provides balance sheets for the Local Councils showing their assets and
                                                                        liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.

                                                                        Exhibit F to the Disclosure Statement contains charts listing the Abuse
                                                                        Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                                                                        Local Council and allegation type, and (iv) counts by Chartered
                                                                        Organizations. See Disclosure Statement, Exhibit F.

                                                                        As further explained in the Disclosure Statement, the Debtors hired Bates
                                                                        White as Abuse Claims consultant. Bates White’s estimated valuation
                                                                        range does not include valuations of Abuse Claims with respect to each
                                                                        individualized Local Council because such an exercise would not likely
                                                                        establish reliable estimates due to the data currently available. While it is
                                                                        possible to separately identify, at least in some instances, which Local
                                                                        Council(s) and Chartered Organization(s) may be involved with a given
                                                                        claim, the ability to provide a reasonable aggregate valuation range for all
                                                                        82,200 Abuse Claims combined does not translate into a reasonable
                                                                        valuation for each distinct claim or with respect to each individual Local
                                                                        Council or Chartered Organization. Additional information would be
                                                                        needed to separately identify which portion of the aggregate estimate should
                                                                        be attributed to the BSA and which to the other related organizations. See
                                                                        Disclosure Statement, Article V.N.

                                                                        The Plan has been amended and, as described in the Disclosure Statement,
                                                                        the Local Councils agreed to contribute $600 million to the Settlement Trust
                                                                        and all Local Councils will be deemed Protected Parties under the Plan. See
                                                                        Disclosure Statement, Article II.D. Each Local Council’s commitment to
                                                                        make its respective contribution to the Settlement Trust is dependent upon,
                                                                        among other things, an acceptable resolution of insurance and indemnity
                                                                        issues with respect to Chartered Organizations. Such commitment will be
                                                                        memorialized in letters of intent, substantially conforming to the form
                                                                        attached to the Disclosure Statement as Exhibit B. See Disclosure
                                                                        Statement, Exhibit B.



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Argument No.    Objecting
                                    Summary of Argument                                            Debtors’ Response
& Description    Parties
                                                                       A list of each Local Counsel’s total expected contribution, including a
                                                                       specific break-down between the (i) cash contribution and (ii) property
                                                                       contribution, is attached to the Disclosure Statement as Exhibit C. See
                                                                       Disclosure Statement, Exhibit C.

                                                                       The Disclosure Statement now indicates that with respect to Chartered
                                                                       Organizations and Settling Insurance Companies, as of this filing, there is
                                                                       one Settling Insurance Company participating in the Plan and one
                                                                       Contributing Chartered Organization. See Disclosure Statement, Article
                                                                       II.A and Article V.R.

                                                                       The Disclosure Statement now includes information about how
                                                                       Contributing Chartered Organizations and Settling Insurance Companies
                                                                       will be identified. As further explained in the Disclosure Statement, when
                                                                       any new Chartered Organization agrees to a settlement, the Debtors will file
                                                                       a notice on the case docket for these Chapter 11 Cases for distribution to
                                                                       any party that has requested notice pursuant to Bankruptcy Rule 2002,
                                                                       stating the name of the Contributing Chartered Organization and the amount
                                                                       of its contribution. The Debtors will also notify any party that has requested
                                                                       notice pursuant to Bankruptcy Rule 2002 of any additional Settling
                                                                       Insurance Companies. The Debtors will also post a notice of any new
                                                                       Contributing Chartered Organizations and Settling Insurance Companies at
                                                                       https://omniagentsolutions.com/bsa. See Disclosure Statement, Article II.D.

                                                                       The amount a Contributing Chartered Organization will contribute to the
                                                                       Settlement Trust is particular to each Chartered Organization and based on
                                                                       the liability associated with each such entity. There is no blanket amount
                                                                       that pertains to all Chartered Organizations. However, the terms and
                                                                       description of the channeling injunction afforded Contributing Chartered
                                                                       Organizations have been supplemented in the Disclosure Statement. See
                                                                       Disclosure Statement, Article II.E.4.

                                                                       The Disclosure Statement provides no Local Council will be given
                                                                       Protected Party status under the Plan if any part of the Cash or Property
                                                                       Contribution (as defined in Exhibit F to the Plan) components of the Local
                                                                       Council Settlement Contribution is not contributed to the Settlement Trust
                                                                       on the Effective Date as described on Exhibit F of the Plan, it being
                                                                       understood that the Property Contribution shall be deemed to have been
                                                                       contributed on the Effective Date for Purposes of this provision when all
                                                                       individual Local Councils that are to make a Property Contribution have
                                                                       provided a notice of intent to contribute property to the Settlement Trust in

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Argument No.       Objecting
                                                           Summary of Argument                                                             Debtors’ Response
& Description       Parties
                                                                                                                accordance with the terms of the Property Contribution set forth on Exhibit
                                                                                                                F of the Plan. See Disclosure Statement, Article VI.H.18 and Exhibit C; see
                                                                                                                also, Plan, Exhibit F, Local Council Settlement Contribution.

                                                                                                                Additionally, as described in Article II.G and in accordance with the Plan,
                                                                                                                any Chartered Organization that is not a Contributing Chartered
                                                                                                                Organization as of the Effective Date may become a Protected Party after
                                                                                                                the Effective Date if the Bankruptcy Court, after notice and an opportunity
                                                                                                                for parties in interest to be heard, approves a settlement agreement between
                                                                                                                such Chartered Organization and the Settlement Trustee. Likewise, any
                                                                                                                Chartered Organization that is not a Participating Chartered Organization
                                                                                                                as of the Effective Date may become a Participating Chartered Organization
                                                                                                                after the Effective Date by agreement with the Settlement Trustee and
                                                                                                                without further order of the Bankruptcy Court; provided, however, that the
                                                                                                                Settlement Trustee shall file a notice with the Bankruptcy Court within
                                                                                                                thirty (30) days of entering into any agreement with a Chartered
                                                                                                                Organization that deems such Chartered Organization to be a Limited
                                                                                                                Protected Party, together with an amendment to Exhibit K of the Plan
                                                                                                                removing such Chartered Organization from the list of Chartered
                                                                                                                Organizations that are not Participating Chartered Organizations.

                                                                                                                After the Effective Date, any Insurance Company that is a Non-Settling
                                                                                                                Insurance Company as of the Effective Date may become a Protected Party
                                                                                                                if the Bankruptcy Court, after notice and an opportunity for parties in
                                                                                                                interest to be heard, approves a settlement agreement between such
                                                                                                                Insurance Company and the Settlement Trustee.
                Plaintiff    Law     Because claimants’ rights against Local Councils differ, the               The Disclosure Statement now attaches property valuations for all Local
                Firms      (Filed    Disclosure Statement must address: (1) Local Councils assets and           Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                8/10–                liabilities (including separate insurance assets); (2) the claims          Disclosure Statement, Article V.N. The Disclosure Statement now also
                8/16/2021); (filed   asserted against each Local Council; (3) claimants’ estimated              provides balance sheets for the Local Councils showing their assets and
                before               recovery against each Local Council (without regard to insurance           liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.
                5/16/2021)           shared with the Debtors); and (4) the amount contributed by each
                                     Local Council for its release. Claimants need that information to          Exhibit F to the Disclosure Statement contains charts listing the Abuse
                                     determine whether or not to accept the less favorable treatment under      Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                                     the Plan, release Local Councils, and forego claims under                  Local Council and allegation type, and (iv) counts by Chartered
                                     nonbankruptcy law. (See, e.g., Obj. ¶ 18 [D.I. 5964]).                     Organizations. See Disclosure Statement, Exhibit F.

                                     The Disclosure Statement fails to disclose the assets and liabilities of   As further explained in the Disclosure Statement, the Debtors hired Bates
                                     each potential party receiving a release. (See, e.g., Obj. ¶¶ 1-9 [D.I.    White as Abuse Claims consultant. Bates White’s estimated valuation
                                     2449].)                                                                    range does not include valuations of Abuse Claims with respect to each
                                                                                                                individualized Local Council because such an exercise would not likely
                                                                                            8
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Argument No.    Objecting
                                                  Summary of Argument                                                             Debtors’ Response
& Description    Parties
                            The Disclosure Statement fails to explain how any contribution by         establish reliable estimates due to the data currently available. While it is
                            non-Debtor entities will be utilized and fails to disclose how much       possible to separately identify, at least in some instances, which Local
                            each council has available to contribute, how much each council is        Council(s) and Chartered Organization(s) may be involved with a given
                            contributing, and how the contributions of each council will be           claim, the ability to provide a reasonable aggregate valuation range for all
                            utilized, including whether the contributions of a council will be used   82,200 Abuse Claims combined does not translate into a reasonable
                            to compensate abuse survivors who do not have a claim against that        valuation for each distinct claim or with respect to each individual Local
                            council. (See, e.g., Obj. ¶ 8 [D.I. 2449].)                               Council or Chartered Organization. Additional information would be
                                                                                                      needed to separately identify which portion of the aggregate estimate should
                                                                                                      be attributed to the BSA and which to the other related organizations. See
                                                                                                      Disclosure Statement, Article V.N.

                                                                                                      The Plan has been amended and, as described in the Disclosure Statement,
                                                                                                      the Local Councils agreed to contribute $600 million to the Settlement Trust
                                                                                                      and all Local Councils will be deemed Protected Parties under the Plan. See
                                                                                                      Disclosure Statement, Article II.D. Each Local Council’s commitment to
                                                                                                      make its respective contribution to the Settlement Trust is dependent upon,
                                                                                                      among other things, an acceptable resolution of insurance and indemnity
                                                                                                      issues with respect to Chartered Organizations. Such commitment will be
                                                                                                      memorialized in letters of intent, substantially conforming to the form
                                                                                                      attached to the Disclosure Statement as Exhibit B. See Disclosure
                                                                                                      Statement, Exhibit B.

                                                                                                      A list of each Local Counsel’s total expected contribution, including a
                                                                                                      specific break-down between the (i) cash contribution and (ii) property
                                                                                                      contribution, is attached to the Disclosure Statement as Exhibit C. See
                                                                                                      Disclosure Statement, Exhibit C.

                                                                                                      As described in the Disclosure statement, Local Councils will make a
                                                                                                      substantial contribution to the Settlement Trust to resolve the Abuse Claims
                                                                                                      that may be asserted against them in exchange for being included as a
                                                                                                      Protected Party under the Plan and receiving the benefits of the Channeling
                                                                                                      Injunction. Article. II.D. As described in Article II.I of the Disclosure
                                                                                                      Statement, on the Effective Date of the Plan, the Settlement Trust will be
                                                                                                      established for the benefit of holders of Abuse Claims. From and after the
                                                                                                      Effective Date, all Abuse Claims shall be channeled to the Settlement Trust,
                                                                                                      which will be funded by the Settlement Trust Assets. As further described
                                                                                                      in Article VII of this Disclosure Statement, the Settlement Trust will
                                                                                                      administer the Settlement Trust Assets and process, liquidate, and pay
                                                                                                      Abuse Claims in accordance with the applicable Trust Distribution
                                                                                                      Procedures.


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Argument No.       Objecting
                                                       Summary of Argument                                                          Debtors’ Response
& Description       Parties
                Herman      Law   The Disclosure Statement must address at a minimum:                   The Disclosure Statement now attaches property valuations for all Local
                Claimants [D.I.       a. Local Council assets and liabilities (including separate       Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                6032]                     insurance assets);                                            Disclosure Statement, Article V.N. The Disclosure Statement now also
                                      b. The claims asserted against each Local Council;                provides balance sheets for the Local Councils showing their assets and
                                      c. Claimants’ estimated recovery against each Local Council       liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.
                                          (without regard to insurance shared with the Debtors); an d
                                      d. The amount contributed by each Local Council for its           Exhibit F to the Disclosure Statement contains charts listing the Abuse
                                          release. (Obj. ¶ 9).                                          Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                                                                                                        Local Council and allegation type, and (iv) counts by Chartered
                                                                                                        Organizations. See Disclosure Statement, Exhibit F.

                                                                                                        As further explained in the Disclosure Statement, the Debtors hired Bates
                                                                                                        White as Abuse Claims consultant. Bates White’s estimated valuation
                                                                                                        range does not include valuations of Abuse Claims with respect to each
                                                                                                        individualized Local Council because such an exercise would not likely
                                                                                                        establish reliable estimates due to the data currently available. While it is
                                                                                                        possible to separately identify, at least in some instances, which Local
                                                                                                        Council(s) and Chartered Organization(s) may be involved with a given
                                                                                                        claim, the ability to provide a reasonable aggregate valuation range for all
                                                                                                        82,200 Abuse Claims combined does not translate into a reasonable
                                                                                                        valuation for each distinct claim or with respect to each individual Local
                                                                                                        Council or Chartered Organization. Additional information would be
                                                                                                        needed to separately identify which portion of the aggregate estimate should
                                                                                                        be attributed to the BSA and which to the other related organizations. See
                                                                                                        Disclosure Statement, Article V.N.

                                                                                                        The Plan has been amended and, as described in the Disclosure Statement,
                                                                                                        the Local Councils agreed to contribute $600 million to the Settlement Trust
                                                                                                        and all Local Councils will be deemed Protected Parties under the Plan. See
                                                                                                        Disclosure Statement, Article II.D. Each Local Council’s commitment to
                                                                                                        make its respective contribution to the Settlement Trust is dependent upon,
                                                                                                        among other things, an acceptable resolution of insurance and indemnity
                                                                                                        issues with respect to Chartered Organizations. Such commitment will be
                                                                                                        memorialized in letters of intent, substantially conforming to the form
                                                                                                        attached to the Disclosure Statement as Exhibit B. See Disclosure
                                                                                                        Statement, Exhibit B.

                                                                                                        A list of each Local Counsel’s total expected contribution, including a
                                                                                                        specific break-down between the (i) cash contribution and (ii) property
                                                                                                        contribution, is attached to the Disclosure Statement as Exhibit C. See
                                                                                                        Disclosure Statement, Exhibit C.
                                                                                     10
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Argument No.      Objecting
                                                        Summary of Argument                                                            Debtors’ Response
& Description      Parties

                                                                                                            As described in the Disclosure statement, Local Councils will make a
                                                                                                            substantial contribution to the Settlement Trust to resolve the Abuse Claims
                                                                                                            that may be asserted against them in exchange for being included as a
                                                                                                            Protected Party under the Plan and receiving the benefits of the Channeling
                                                                                                            Injunction. Article. II.D. As described in Article II.I of the Disclosure
                                                                                                            Statement, on the Effective Date of the Plan, the Settlement Trust will be
                                                                                                            established for the benefit of holders of Abuse Claims. From and after the
                                                                                                            Effective Date, all Abuse Claims shall be channeled to the Settlement Trust,
                                                                                                            which will be funded by the Settlement Trust Assets. As further described
                                                                                                            in Article VII of this Disclosure Statement, the Settlement Trust will
                                                                                                            administer the Settlement Trust Assets and process, liquidate, and pay
                                                                                                            Abuse Claims in accordance with the applicable Trust Distribution
                                                                                                            Procedures.
                Zuckerman         The Disclosure Statement fails to explain what monetary                   The Disclosure Statement now attaches property valuations for all Local
                Spaeder   LLP     contribution each of the non-debtor parties (including Local              Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                Claimants [D.I.   Councils and Chartered Organizations) will make in exchange for a         Disclosure Statement, Article V.N. The Disclosure Statement now also
                6043];    [D.I.   release. (D.I. 6043 - Obj. ¶¶ 6-9).                                       provides balance sheets for the Local Councils showing their assets and
                3277]                                                                                       liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.
                                  There is a failure to disclose the assets and liabilities of each party
                                  receiving a release and failure to disclose the specific entities to be   The Debtors have added information about the potential parties that could
                                  released. (D.I. 3277 - Obj. ¶ 1.)                                         be included in a release and the status of Contributing Charted
                                                                                                            Organizations, Participating Chartered Organizations, Settling Insurers and
                                                                                                            Local Councils. See Plan, Article X.J; Disclosure Statement, Articles II.D,
                                                                                                            II.E, V.R and VI.H.18.

                                                                                                            A list of each Local Counsel’s total expected contribution, including a
                                                                                                            specific break-down between the (i) cash contribution and (ii) property
                                                                                                            contribution, is attached to the Disclosure Statement as Exhibit C. See
                                                                                                            Disclosure Statement, Exhibit C.

                                                                                                            The Disclosure Statement now indicates that with respect to Chartered
                                                                                                            Organizations and Settling Insurance Companies, as of this filing, there is
                                                                                                            one Settling Insurance Company participating in the Plan and one
                                                                                                            Contributing Chartered Organization. See Disclosure Statement, Article
                                                                                                            II.A and Article V.R.

                                                                                                            The Disclosure Statement now includes information about how
                                                                                                            Contributing Chartered Organizations and Settling Insurance Companies
                                                                                                            will be identified. As further explained in the Disclosure Statement, when
                                                                                                            any new Chartered Organization agrees to a settlement, the Debtors will file
                                                                                        11
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Argument No.    Objecting
                                     Summary of Argument                                              Debtors’ Response
& Description    Parties
                                                                          a notice on the case docket for these Chapter 11 Cases for distribution to
                                                                          any party that has requested notice pursuant to Bankruptcy Rule 2002,
                                                                          stating the name of the Contributing Chartered Organization and the amount
                                                                          of its contribution. The Debtors will also notify any party that has requested
                                                                          notice pursuant to Bankruptcy Rule 2002 of any additional Settling
                                                                          Insurance Companies. The Debtors will also post a notice of any new
                                                                          Contributing Chartered Organizations and Settling Insurance Companies at
                                                                          https://omniagentsolutions.com/bsa. See Disclosure Statement, Article II.D.

                                                                          The amount a Contributing Chartered Organization will contribute to the
                                                                          Settlement Trust is particular to each Chartered Organization and based on
                                                                          the liability associated with each such entity. There is no blanket amount
                                                                          that pertains to all Chartered Organizations. However, the terms and
                                                                          description of the channeling injunction afforded Contributing Chartered
                                                                          Organizations have been supplemented in the Disclosure Statement. See
                                                                          Disclosure Statement, Article II.E.4.

                                                                          Additionally, as described in Article II.G and in accordance with the Plan,
                                                                          any Chartered Organization that is not a Contributing Chartered
                                                                          Organization as of the Effective Date may become a Protected Party after
                                                                          the Effective Date if the Bankruptcy Court, after notice and an opportunity
                                                                          for parties in interest to be heard, approves a settlement agreement between
                                                                          such Chartered Organization and the Settlement Trustee. Likewise, any
                                                                          Chartered Organization that is not a Participating Chartered Organization
                                                                          as of the Effective Date may become a Participating Chartered Organization
                                                                          after the Effective Date by agreement with the Settlement Trustee and
                                                                          without further order of the Bankruptcy Court; provided, however, that the
                                                                          Settlement Trustee shall file a notice with the Bankruptcy Court within
                                                                          thirty (30) days of entering into any agreement with a Chartered
                                                                          Organization that deems such Chartered Organization to be a Limited
                                                                          Protected Party, together with an amendment to Exhibit K of the Plan
                                                                          removing such Chartered Organization from the list of Chartered
                                                                          Organizations that are not Participating Chartered Organizations.

                                                                          After the Effective Date, any Insurance Company that is a Non-Settling
                                                                          Insurance Company as of the Effective Date may become a Protected Party
                                                                          if the Bankruptcy Court, after notice and an opportunity for parties in
                                                                          interest to be heard, approves a settlement agreement between such
                                                                          Insurance Company and the Settlement Trustee.



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Argument No.       Objecting
                                                           Summary of Argument                                                             Debtors’ Response
& Description        Parties
                Pro Se Claimant      Plan must present a full accounting of all the real estate assets loaned   The Disclosure Statement now attaches property valuations for all Local
                [D.I. 4154]          to Local Councils; BSA divesting all real estate would reduce              Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                                     opportunities for further criminal behavior. (Obj. at 3-4).                Disclosure Statement, Article V.N. The Disclosure Statement now also
                                                                                                                provides balance sheets for the Local Councils showing their assets and
                                                                                                                liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.

                                                                                                                A list of each Local Counsel’s total expected contribution, including a
                                                                                                                specific break-down between the (i) cash contribution and (ii) property
                                                                                                                contribution, is attached to the Disclosure Statement as Exhibit C. See
                                                                                                                Disclosure Statement, Exhibit C.

                Lujan & Wolff        The Disclosure Statement fails to disclose the specific contribution       The Disclosure Statement now attaches property valuations for all Local
                LLP Claimants        each local council will make, sufficient facts to determine whether        Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                [D.I. 6039]; [D.I.   such contribution is “substantial”, and the assets of and claims           Disclosure Statement, Article V.N. The Disclosure Statement now also
                3231]                against each local council. (D.I. 6039 - Obj. ¶ 7).                        provides balance sheets for the Local Councils showing their assets and
                                                                                                                liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.

                                                                                                                Exhibit F to the Disclosure Statement contains charts listing the Abuse
                                                                                                                Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                                                                                                                Local Council and allegation type, and (iv) counts by Chartered
                                                                                                                Organizations. See Disclosure Statement, Exhibit F.


                Century              The Disclosure Statement should include in its Exhibit C a list of         The Disclosure Statement now attaches property valuations for all Local
                Indemnity            each Local Councils total expected contribution, including a specific      Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                Company,      as     break-down between the (i) cash contribution and (ii) property             Disclosure Statement, Article V.N. The Disclosure Statement now also
                successor to CCI     contribution.                                                              provides balance sheets for the Local Councils showing their assets and
                Insurance                                                                                       liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.
                Company,      as     The Disclosure Statement fails to disclose each Local Council’s
                successor     to     Settlement Trust contribution and the amount of liabilities—both to        Exhibit F to the Disclosure Statement contains charts listing the Abuse
                Insurance            Abuse Claimants and Insurers—that will be released under the               Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                Company       of     Amended Plan;                                                              Local Council and allegation type, and (iv) counts by Chartered
                North America                                                                                   Organizations. See Disclosure Statement, Exhibit F.
                and Indemnity        The Disclosure Statement does not disclose a binding commitment
                Insurance            to contribute to the settlement trust or how much Local Councils will      The Plan has been amended and, as described in the Disclosure Statement,
                Company       of     contribute. (D.I. 3856 - Obj. at 18-20.)                                   the Local Councils agreed to contribute $600 million to the Settlement Trust
                North America                                                                                   and all Local Councils will be deemed Protected Parties under the Plan. See
                (“Century            To assess sufficiency of contributions by the Local Councils and           Disclosure Statement, Article II.D. Each Local Council’s commitment to
                Indemnity            Chartered Organizations, claimants need to know: the identity of the       make its respective contribution to the Settlement Trust is dependent upon,
                Company”) [D.I.      releasee; the scope of the releasee’s potential liability to abuse         among other things, an acceptable resolution of insurance and indemnity
                6065];      [D.I.    claimants; the amount of assets available to the releasee to pay abuse     issues with respect to Chartered Organizations. Such commitment will be
                                                                                           13
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Argument No.        Objecting
                                                             Summary of Argument                                                            Debtors’ Response
& Description        Parties
                 5214];      [D.I.    claims; the releasee’s obligation for SIRs and deductible, and the size   memorialized in letters of intent, substantially conforming to the form
                 3856]5               of the releasee’s proposed contribution to the settlement trust. (D.I.    attached to the Disclosure Statement as Exhibit B. See Disclosure
                                      3856 - Obj. at 20.)                                                       Statement, Exhibit B.

                                                                                                                A list of each Local Counsel’s total expected contribution, including a
                                                                                                                specific break-down between the (i) cash contribution and (ii) property
                                                                                                                contribution, is attached to the Disclosure Statement as Exhibit C. See
                                                                                                                Disclosure Statement, Exhibit C.

                                                                                                                The Disclosure Statement now indicates that with respect to Chartered
                                                                                                                Organizations and Settling Insurance Companies, as of this filing, there is
                                                                                                                one Settling Insurance Company participating in the Plan and one
                                                                                                                Contributing Chartered Organization. See Disclosure Statement, Article
                                                                                                                II.A and Article V.R.

                                                                                                                The Disclosure Statement now includes information about how
                                                                                                                Contributing Chartered Organizations and Settling Insurance Companies
                                                                                                                will be identified. As further explained in the Disclosure Statement, when
                                                                                                                any new Chartered Organization agrees to a settlement, the Debtors will file
                                                                                                                a notice on the case docket for these Chapter 11 Cases for distribution to
                                                                                                                any party that has requested notice pursuant to Bankruptcy Rule 2002,
                                                                                                                stating the name of the Contributing Chartered Organization and the amount
                                                                                                                of its contribution. The Debtors will also notify any party that has requested
                                                                                                                notice pursuant to Bankruptcy Rule 2002 of any additional Settling
                                                                                                                Insurance Companies. The Debtors will also post a notice of any new
                                                                                                                Contributing Chartered Organizations and Settling Insurance Companies at
                                                                                                                https://omniagentsolutions.com/bsa. See Disclosure Statement, Article II.D.

                                                                                                                The amount a Contributing Chartered Organization will contribute to the
                                                                                                                Settlement Trust is particular to each Chartered Organization and based on
                                                                                                                the liability associated with each such entity. There is no blanket amount
                                                                                                                that pertains to all Chartered Organizations. However, the terms and
                                                                                                                description of the channeling injunction afforded Contributing Chartered
                                                                                                                Organizations have been supplemented in the Disclosure Statement. See
                                                                                                                Disclosure Statement, Article II.E.4.




 5   Arrowood Indemnity Company [D.I. 4065] joins in this objection of Century Indemnity Company [D.I. 3856]
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Argument No.        Objecting
                                                              Summary of Argument                                                              Debtors’ Response
& Description        Parties
                 Tort Claimants’       The Disclosure Statement does not disclose the contribution to be           The Disclosure Statement now attaches property valuations for all Local
                 Committee [D.I.       made by Local Councils, which prevents analysis of whether they             Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                 3526]6                have made “substantial contributions” that justify third party              Disclosure Statement, Article V.N. The Disclosure Statement now also
                                       releases. (Obj. ¶ 99-104.)                                                  provides balance sheets for the Local Councils showing their assets and
                                                                                                                   liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.
                                       The Disclosure Statement likewise does not provide adequate
                                       information on Local Councils’ Insurance Policies. (Obj. ¶ 105-08.).        Exhibit F to the Disclosure Statement contains charts listing the Abuse
                                                                                                                   Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                                       The Disclosure Statement contains no information about, or analysis         Local Council and allegation type, and (iv) counts by Chartered
                                       of, the claims against, and assets and liabilities of, the Local Councils   Organizations. See Disclosure Statement, Exhibit F.
                                       and Chartered Organizations. (Obj. ¶ 34.)
                                                                                                                   The Plan has been amended and, as described in the Disclosure Statement,
                                                                                                                   the Local Councils agreed to contribute $600 million to the Settlement Trust
                                                                                                                   and all Local Councils will be deemed Protected Parties under the Plan. See
                                                                                                                   Disclosure Statement, Article II.D. Each Local Council’s commitment to
                                                                                                                   make its respective contribution to the Settlement Trust is dependent upon,
                                                                                                                   among other things, an acceptable resolution of insurance and indemnity
                                                                                                                   issues with respect to Chartered Organizations. Such commitment will be
                                                                                                                   memorialized in letters of intent, substantially conforming to the form
                                                                                                                   attached to the Disclosure Statement as Exhibit B. See Disclosure
                                                                                                                   Statement, Exhibit B.

                                                                                                                   A list of each Local Counsel’s total expected contribution, including a
                                                                                                                   specific break-down between the (i) cash contribution and (ii) property
                                                                                                                   contribution, is attached to the Disclosure Statement as Exhibit C. See
                                                                                                                   Disclosure Statement, Exhibit C.

                                                                                                                   The Disclosure Statement has been updated to include further information
                                                                                                                   regarding Local Council Insurance Policies in Article III.F.2.

                                                                                                                   The Disclosure Statement provides adequate information regarding the
                                                                                                                   Local Council’s insurance program, which has been further supplemented
                                                                                                                   in the Disclosure Statement. See Disclosure Statement, Article III.F.2.
                                                                                                                   Additionally, the Disclosure Statement now has several additional risk
                                                                                                                   factors related to insurance, including related to assignment. See Disclosure
                                                                                                                   Statement, Article X.A.21-24.



 6   The Official Committee of Unsecured Creditors in the Chapter 11 Case of the Archbishop of Agana (the “Guam Committee”) [D.I. 4321] join in this objection of the Tort Claimants’ Committee
     [D.I. 3526].
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Argument No.      Objecting
                                                       Summary of Argument                                                           Debtors’ Response
& Description      Parties
                                                                                                          The Disclosure Statement now indicates that with respect to Chartered
                                                                                                          Organizations and Settling Insurance Companies, as of this filing, there is
                                                                                                          one Settling Insurance Company participating in the Plan and one
                                                                                                          Contributing Chartered Organization. See Disclosure Statement, Article
                                                                                                          II.A and Article V.R.

                                                                                                          The amount a Contributing Chartered Organization will contribute to the
                                                                                                          Settlement Trust is particular to each Chartered Organization and based on
                                                                                                          the liability associated with each such entity. There is no blanket amount
                                                                                                          that pertains to all Chartered Organizations. However, the terms and
                                                                                                          description of the channeling injunction afforded Contributing Chartered
                                                                                                          Organizations have been supplemented in the Disclosure Statement. See
                                                                                                          Disclosure Statement, Article II.E.4.

                Aylstock,         The Disclosure Statement fails to explain what contribution the non-    The Debtors have added information about the potential parties that could
                Witkin, Kreis &   Debtor insureds, Local Councils and/or Chartered Organizations will     be included in a release and the status of Contributing Charted
                Overholtz, PLLC   make in order to receive a release. (Obj. ¶ 4.)                         Organizations, Participating Chartered Organizations, Settling Insurers and
                Claimants [D.I.                                                                           Local Councils. See Plan, Article X.J; Disclosure Statement, Articles II.D,
                3274]             The Disclosure Statement and the accompanying solicitation              II.E, V.R and VI.H.18.
                                  procedures fail to notify creditors, including the AWKO Claimants,
                                  which Local Council and/or Chartered Organization is associated
                                  with their Abuse, whether any such entity will receive a release, and   The Disclosure Statement now attaches property valuations for all Local
                                  if so, the terms of the release. (Obj. ¶ 3.)                            Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                                                                                                          Disclosure Statement, Article V.N. The Disclosure Statement now also
                                                                                                          provides balance sheets for the Local Councils showing their assets and
                                                                                                          liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.

                                                                                                          Exhibit F to the Disclosure Statement contains charts listing the Abuse
                                                                                                          Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                                                                                                          Local Council and allegation type, and (iv) counts by Chartered
                                                                                                          Organizations. See Disclosure Statement, Exhibit F.

                                                                                                          The Plan has been amended and, as described in the Disclosure Statement,
                                                                                                          the Local Councils agreed to contribute $600 million to the Settlement Trust
                                                                                                          and all Local Councils will be deemed Protected Parties under the Plan. See
                                                                                                          Disclosure Statement, Article II.D. Each Local Council’s commitment to
                                                                                                          make its respective contribution to the Settlement Trust is dependent upon,
                                                                                                          among other things, an acceptable resolution of insurance and indemnity
                                                                                                          issues with respect to Chartered Organizations. Such commitment will be
                                                                                                          memorialized in letters of intent, substantially conforming to the form


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Argument No.      Objecting
                                                    Summary of Argument                                                       Debtors’ Response
& Description      Parties
                                                                                                   attached to the Disclosure Statement as Exhibit B. See Disclosure
                                                                                                   Statement, Exhibit B.

                                                                                                   A list of each Local Counsel’s total expected contribution, including a
                                                                                                   specific break-down between the (i) cash contribution and (ii) property
                                                                                                   contribution, is attached to the Disclosure Statement as Exhibit C. See
                                                                                                   Disclosure Statement, Exhibit C.

                                                                                                   The Disclosure Statement now indicates that with respect to Chartered
                                                                                                   Organizations and Settling Insurance Companies, as of this filing, there is
                                                                                                   one Settling Insurance Company participating in the Plan and one
                                                                                                   Contributing Chartered Organization. See Disclosure Statement, Article
                                                                                                   II.A and Article V.R.

                                                                                                   The amount a Contributing Chartered Organization will contribute to the
                                                                                                   Settlement Trust is particular to each Chartered Organization and based on
                                                                                                   the liability associated with each such entity. There is no blanket amount
                                                                                                   that pertains to all Chartered Organizations. However, the terms and
                                                                                                   description of the channeling injunction afforded Contributing Chartered
                                                                                                   Organizations have been supplemented in the Disclosure Statement. See
                                                                                                   Disclosure Statement, Article II.E.4.


                DLG Claimants   The Disclosure Statement does not provide any property valuation   The Disclosure Statement now attaches property valuations for all Local
                [D.I. 2959]     information for any local councils or chartered organization. No   Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                                chartered organization has offered to pay anything, and the        Disclosure Statement, Article V.N. The Disclosure Statement now also
                                Disclosure Statement does not offer any mechanism to evaluate      provides balance sheets for the Local Councils showing their assets and
                                contributions on their behalf. (Obj. at 3.)                        liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.

                                                                                                   Exhibit F to the Disclosure Statement contains charts listing the Abuse
                                                                                                   Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                                                                                                   Local Council and allegation type, and (iv) counts by Chartered
                                                                                                   Organizations. See Disclosure Statement, Exhibit F.

                                                                                                   The Plan has been amended and, as described in the Disclosure Statement,
                                                                                                   the Local Councils agreed to contribute $600 million to the Settlement Trust
                                                                                                   and all Local Councils will be deemed Protected Parties under the Plan. See
                                                                                                   Disclosure Statement, Article II.D. Each Local Council’s commitment to
                                                                                                   make its respective contribution to the Settlement Trust is dependent upon,
                                                                                                   among other things, an acceptable resolution of insurance and indemnity
                                                                                                   issues with respect to Chartered Organizations. Such commitment will be
                                                                                17
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Argument No.       Objecting
                                                         Summary of Argument                                                         Debtors’ Response
& Description       Parties
                                                                                                          memorialized in letters of intent, substantially conforming to the form
                                                                                                          attached to the Disclosure Statement as Exhibit B. See Disclosure
                                                                                                          Statement, Exhibit B.

                                                                                                          A list of each Local Counsel’s total expected contribution, including a
                                                                                                          specific break-down between the (i) cash contribution and (ii) property
                                                                                                          contribution, is attached to the Disclosure Statement as Exhibit C. See
                                                                                                          Disclosure Statement, Exhibit C.

                                                                                                          The Disclosure Statement now indicates that with respect to Chartered
                                                                                                          Organizations and Settling Insurance Companies, as of this filing, there is
                                                                                                          one Settling Insurance Company participating in the Plan and one
                                                                                                          Contributing Chartered Organization. See Disclosure Statement, Article
                                                                                                          II.A and Article V.R.

                                                                                                          The amount a Contributing Chartered Organization will contribute to the
                                                                                                          Settlement Trust is particular to each Chartered Organization and based on
                                                                                                          the liability associated with each such entity. There is no blanket amount
                                                                                                          that pertains to all Chartered Organizations. However, the terms and
                                                                                                          description of the channeling injunction afforded Contributing Chartered
                                                                                                          Organizations have been supplemented in the Disclosure Statement. See
                                                                                                          Disclosure Statement, Article II.E.4.
                Gordon        &     The Disclosure Statement needs to provide claimant answers to the     The Disclosure Statement now attaches property valuations for all Local
                Partners,   P.A.    following questions:                                                  Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                Claimants   [D.I.                                                                         Disclosure Statement, Article V.N. The Disclosure Statement now also
                2739]               1) does their local council/chartered organization have assets to     provides balance sheets for the Local Councils showing their assets and
                                    contribute and, if so, how much?                                      liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.

                                    2) how much is my local council or chartered organization             Exhibit F to the Disclosure Statement contains charts listing the Abuse
                                    contributing in exchange for its release of liability?                Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                                                                                                          Local Council and allegation type, and (iv) counts by Chartered
                                    3) how many claims are there against my local council and chartered   Organizations. See Disclosure Statement, Exhibit F.
                                    organization?
                                                                                                          The Plan has been amended and, as described in the Disclosure Statement,
                                    (Obj. at 1.)                                                          the Local Councils agreed to contribute $600 million to the Settlement Trust
                                                                                                          and all Local Councils will be deemed Protected Parties under the Plan. See
                                                                                                          Disclosure Statement, Article II.D. Each Local Council’s commitment to
                                                                                                          make its respective contribution to the Settlement Trust is dependent upon,
                                                                                                          among other things, an acceptable resolution of insurance and indemnity
                                                                                                          issues with respect to Chartered Organizations. Such commitment will be
                                                                                                          memorialized in letters of intent, substantially conforming to the form
                                                                                       18
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Argument No.      Objecting
                                                       Summary of Argument                                                            Debtors’ Response
& Description      Parties
                                                                                                          attached to the Disclosure Statement as Exhibit B. See Disclosure
                                                                                                          Statement, Exhibit B.

                                                                                                          A list of each Local Counsel’s total expected contribution, including a
                                                                                                          specific break-down between the (i) cash contribution and (ii) property
                                                                                                          contribution, is attached to the Disclosure Statement as Exhibit C. See
                                                                                                          Disclosure Statement, Exhibit C.

                                                                                                          The Disclosure Statement provides adequate information regarding the
                                                                                                          Local Council’s insurance program, which has been further supplemented
                                                                                                          in the Disclosure Statement. See Disclosure Statement, Article III.F.2.
                                                                                                          Additionally, the Disclosure Statement now has several additional risk
                                                                                                          factors related to insurance, including related to assignment. See Disclosure
                                                                                                          Statement, Article X.A.21-24.

                Zalkin Law Firm   The Disclosure Statement also lacks concrete information on the         The Disclosure Statement now attaches property valuations for all Local
                Claimants [D.I.   assets and contributions of non-Debtor entities that may be provided    Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                3276]             third party releases. (Obj. ¶ 12.)                                      Disclosure Statement, Article V.N. The Disclosure Statement now also
                                                                                                          provides balance sheets for the Local Councils showing their assets and
                                                                                                          liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.

                                                                                                          The Plan has been amended and, as described in the Disclosure Statement,
                                                                                                          the Local Councils agreed to contribute $600 million to the Settlement Trust
                                                                                                          and all Local Councils will be deemed Protected Parties under the Plan. See
                                                                                                          Disclosure Statement, Article II.D. Each Local Council’s commitment to
                                                                                                          make its respective contribution to the Settlement Trust is dependent upon,
                                                                                                          among other things, an acceptable resolution of insurance and indemnity
                                                                                                          issues with respect to Chartered Organizations. Such commitment will be
                                                                                                          memorialized in letters of intent, substantially conforming to the form
                                                                                                          attached to the Disclosure Statement as Exhibit B. See Disclosure
                                                                                                          Statement, Exhibit B.

                                                                                                          A list of each Local Counsel’s total expected contribution, including a
                                                                                                          specific break-down between the (i) cash contribution and (ii) property
                                                                                                          contribution, is attached to the Disclosure Statement as Exhibit C. See
                                                                                                          Disclosure Statement, Exhibit C.

                Claimant Nos.     There are gaps in the Plan, such as Exhibit A ‘Contributing Chartered   The Disclosure Statement now indicates that with respect to Chartered
                60051 and 63823   Organization Settlement Contribution,’ Exhibit B ‘Contributing          Organizations and Settling Insurance Companies, as of this filing, there is
                [D.I. 3282]       Chartered Organization,’ and the Amended BSA Bylaws. (Obj. at 5).       one Settling Insurance Company participating in the Plan and one

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Argument No.       Objecting
                                                         Summary of Argument                                                           Debtors’ Response
& Description       Parties
                                                                                                            Contributing Chartered Organization. See Disclosure Statement, Article
                                                                                                            II.A and Article V.R.

                                                                                                            The amount a Contributing Chartered Organization will contribute to the
                                                                                                            Settlement Trust is particular to each Chartered Organization and based on
                                                                                                            the liability associated with each such entity. There is no blanket amount
                                                                                                            that pertains to all Chartered Organizations. However, the terms and
                                                                                                            description of the channeling injunction afforded Contributing Chartered
                                                                                                            Organizations have been supplemented in the Disclosure Statement. See
                                                                                                            Disclosure Statement, Article II.E.4.

                                                                                                            The Plan Supplement will include the Amended BSA Bylaws as is
                                                                                                            customary.

                Liberty    [D.I.   The Disclosure Statement does not explain the contributions that are     The Plan has been amended and, as described in the Disclosure Statement,
                6057];     [D.I.   to be made by the individual Local Councils and Contributing             the Local Councils agreed to contribute $600 million to the Settlement Trust
                3578]              Chartered Organizations. There is no mechanism to guarantee that         and all Local Councils will be deemed Protected Parties under the Plan. See
                                   the Debtors will be able to enforce the commitment (aggregate            Disclosure Statement, Article II.D. Each Local Council’s commitment to
                                   contribution not less than $425 million), nor is there any disclosure    make its respective contribution to the Settlement Trust is dependent upon,
                                   as to what individual Local Councils will contribute in exchange for     among other things, an acceptable resolution of insurance and indemnity
                                   a global release of all Local Councils. Creditors need to understand     issues with respect to Chartered Organizations. Such commitment will be
                                   what will actually be contributed to the Settlement Trust and not just   memorialized in letters of intent, substantially conforming to the form
                                   what the Debtors are “committed” to contributing. (D.I. 3578 - Obj.      attached to the Disclosure Statement as Exhibit B. See Disclosure
                                   ¶ 7.)                                                                    Statement, Exhibit B.

                                                                                                            The Disclosure Statement now indicates that with respect to Chartered
                                                                                                            Organizations and Settling Insurance Companies, as of this filing, there is
                                                                                                            one Settling Insurance Company participating in the Plan and one
                                                                                                            Contributing Chartered Organization. See Disclosure Statement, Article
                                                                                                            II.A and Article V.R.

                                                                                                            The amount a Contributing Chartered Organization will contribute to the
                                                                                                            Settlement Trust is particular to each Chartered Organization and based on
                                                                                                            the liability associated with each such entity. There is no blanket amount
                                                                                                            that pertains to all Chartered Organizations. However, the terms and
                                                                                                            description of the channeling injunction afforded Contributing Chartered
                                                                                                            Organizations have been supplemented in the Disclosure Statement. See
                                                                                                            Disclosure Statement, Article II.E.4.
                National Union     The Disclosure Statement states that the Debtors are committed to        The Plan has been amended and, as described in the Disclosure Statement,
                Fire   Insurance   ensuring that the Local Councils contribute no less than $425            the Local Councils agreed to contribute $600 million to the Settlement Trust
                Company       of   million. See Disclosure Statement, Article II.C; see also Article V.R.   and all Local Councils will be deemed Protected Parties under the Plan. See
                                                                                        20
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Argument No.          Objecting
                                                               Summary of Argument                                                                Debtors’ Response
& Description           Parties
                  Pittsburgh, Pa.,      Disclosure Statement does not have adequate information on: (1) the         Disclosure Statement, Article II.D. Each Local Council’s commitment to
                  Lexington             contributions to the settlement trust, . . ., (3) the local council         make its respective contribution to the Settlement Trust is dependent upon,
                  Insurance             settlement contribution, and (4) contributing chartered organization        among other things, an acceptable resolution of insurance and indemnity
                  Company,              settlement contribution. (Obj. ¶ 7.)                                        issues with respect to Chartered Organizations. Such commitment will be
                  Landmark                                                                                          memorialized in letters of intent, substantially conforming to the form
                  Insurance             Neither the Plan nor Disclosure Statement sets forth any concrete           attached to the Disclosure Statement as Exhibit B. See Disclosure
                  Company, The          value or even an estimate of the assets that any Local Council has          Statement, Exhibit B.
                  Insurance             actually committed to contribute. (Obj. ¶ 8.)
                  Company of the                                                                                    The Disclosure Statement now attaches property valuations for all Local
                  State            of                                                                               Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                  Pennsylvania,                                                                                     Disclosure Statement, Article V.N. The Disclosure Statement now also
                  and           their                                                                               provides balance sheets for the Local Councils showing their assets and
                  affiliated entities                                                                               liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.
                  (collectively, the
                  “AIG                                                                                              A list of each Local Counsel’s total expected contribution, including a
                  Companies”)                                                                                       specific break-down between the (i) cash contribution and (ii) property
                  [D.I. 3523]7                                                                                      contribution, is attached to the Disclosure Statement as Exhibit C. See
                                                                                                                    Disclosure Statement, Exhibit C.

                                                                                                                    The Disclosure Statement provides no Local Council will be given
                                                                                                                    Protected Party status under the Plan if any part of the Cash or Property
                                                                                                                    Contribution (as defined in Exhibit F to the Plan) components of the Local
                                                                                                                    Council Settlement Contribution is not contributed to the Settlement Trust
                                                                                                                    on the Effective Date as described on Exhibit F of the Plan, it being
                                                                                                                    understood that the Property Contribution shall be deemed to have been
                                                                                                                    contributed on the Effective Date for Purposes of this provision when all
                                                                                                                    individual Local Councils that are to make a Property Contribution have
                                                                                                                    provided a notice of intent to contribute property to the Settlement Trust in
                                                                                                                    accordance with the terms of the Property Contribution set forth on Exhibit
                                                                                                                    F of the Plan. See Disclosure Statement, Article VI.H.18 and Exhibit C; see
                                                                                                                    also, Plan, Exhibit F, Local Council Settlement Contribution.

                                                                                                                    The Disclosure Statement now indicates that with respect to Chartered
                                                                                                                    Organizations and Settling Insurance Companies, as of this filing, there is
                                                                                                                    one Settling Insurance Company participating in the Plan and one
                                                                                                                    Contributing Chartered Organization. See Disclosure Statement, Article
                                                                                                                    II.A and Article V.R.


 7   The following parties have joined in this objection: (a) Clarendon National Insurance Company [D.I. 3558]; (b) Continental Insurance Company [D.I. 3582]; and (c) Arch Insurance Company [D.I.
     6053].
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Argument No.       Objecting
                                                            Summary of Argument                                                             Debtors’ Response
& Description       Parties
                                                                                                                 The amount a Contributing Chartered Organization will contribute to the
                                                                                                                 Settlement Trust is particular to each Chartered Organization and based on
                                                                                                                 the liability associated with each such entity. There is no blanket amount
                                                                                                                 that pertains to all Chartered Organizations. However, the terms and
                                                                                                                 description of the channeling injunction afforded Contributing Chartered
                                                                                                                 Organizations have been supplemented in the Disclosure Statement. See
                                                                                                                 Disclosure Statement, Article II.E.4.
                The Knights of        The Disclosure Statement does not contain adequate information             The Disclosure Statement now describes the three alternate paths for
                Columbus,         1   regarding the details of how to become a Contributing Charted              Charted Organizations under the Plan and explains that the BSA encourages
                Columbus Plaza,       Organization and the amount of the Contribution Chartered                  Chartered Organizations to become parties to the Bankruptcy Court-
                New Haven, CT         Organization Settlement Contribution, so Chartered Organizations           approved mediation process to discuss and negotiate such a settlement in
                06510; Knights        are unable to assess their ability to become a Contributing Charted        order to become a Contributing Chartered Organization and receive the full
                of     Columbus,      Organization, or to perform a cost/benefit analysis of the benefits        benefits of the Channeling Injunction. See Disclosure Statement, Article
                Council       #462    and/or risks of contributing to the Plan or not. (D.I. 3270 - Obj. at 5-   II.E.4.
                (“Council             6.)
                #462”); Knights                                                                                  The amount a Contributing Chartered Organization will contribute to the
                of     Columbus,                                                                                 Settlement Trust is particular to each Chartered Organization and based on
                Saratoga Council                                                                                 the liability associated with each such entity. There is no blanket amount
                #246          a/k/a                                                                              that pertains to all Chartered Organizations. However, the terms and
                Saratoga Knights                                                                                 description of the channeling injunction afforded Contributing Chartered
                of       Columbus                                                                                Organizations have been supplemented in the Disclosure Statement. See
                (“Council                                                                                        Disclosure Statement, Article II.E.4.
                #246”);        and
                Knights          of
                Columbus,
                Father       Baker
                Council #2243
                (“Father Baker
                Council”),       as
                well as any and
                all other Knights
                of       Columbus
                councils, and or
                entities
                (collectively the
                “Knights         of
                Columbus
                entities”) [D.I.
                6041];
                [D.I. 3270]


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Argument No.       Objecting
                                                          Summary of Argument                                                             Debtors’ Response
& Description        Parties
                United Methodist   The Disclosure Statement offers no details as to the contributions a        The amount a Contributing Chartered Organization will contribute to the
                Ad           Hoc   Chartered Organization must make in order to become a                       Settlement Trust is particular to each Chartered Organization and based on
                Committee [D.I.    Contributing Chartered Organization, nor does it provide any                the liability associated with each such entity. There is no blanket amount
                3273]              specific terms regarding the protection the Contributing Chartered          that pertains to all Chartered Organizations. However, the terms and
                                   Organization’s will receive in exchange for their contribution. (Obj.       description of the channeling injunction afforded Contributing Chartered
                                   ¶ 7.)                                                                       Organizations have been supplemented in the Disclosure Statement. See
                                                                                                               Disclosure Statement, Article II.E.4.


                United    States   The financial disclosures should show: (1) The estimated or actual          The Disclosure Statement now attaches property valuations for all Local
                Trustee    [D.I.   contribution for each revenue source of the settlement trust; (2) the       Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                3581]              identities and amounts contributed by each protected party and              Disclosure Statement, Article V.N. The Disclosure Statement now also
                                   released party. . . (Obj. ¶ 18-19.)                                         provides balance sheets for the Local Councils showing their assets and
                                                                                                               liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.
                                   The Plan does not disclose the value of particular assets that will fund
                                   the Plan (i.e., artwork).                                                   Exhibit F to the Disclosure Statement contains charts listing the Abuse
                                                                                                               Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                                   There is no discussion on how BSA will fulfill the commitment to            Local Council and allegation type, and (iv) counts by Chartered
                                   raising $425 million from the Local Councils. (Obj. ¶ 17.)                  Organizations. See Disclosure Statement, Exhibit F.

                                                                                                               The objection concerning fulfilment of the Local Council Contribution has
                                                                                                               been mooted as the Plan has been amended and, as described in the
                                                                                                               Disclosure Statement, the Local Councils agreed to contribute $600 million
                                                                                                               to the Settlement Trust and all Local Councils will be deemed Protected
                                                                                                               Parties under the Plan. See Disclosure Statement, Article II.D. Each Local
                                                                                                               Council’s commitment to make its respective contribution to the Settlement
                                                                                                               Trust is dependent upon, among other things, an acceptable resolution of
                                                                                                               insurance and indemnity issues with respect to Chartered Organizations.
                                                                                                               Such commitment will be memorialized in letters of intent, substantially
                                                                                                               conforming to the form attached to the Disclosure Statement as Exhibit B.
                                                                                                               See Disclosure Statement, Exhibit B.

                                                                                                               A list of each Local Counsel’s total expected contribution, including a
                                                                                                               specific break-down between the (i) cash contribution and (ii) property
                                                                                                               contribution, is attached to the Disclosure Statement as Exhibit C. See
                                                                                                               Disclosure Statement, Exhibit C.

                Tort Claimants’    The Disclosure Statement contains no information about, or analysis         The Debtors have added information about the potential parties that could
                Committee [D.I.    of, the claims against, and assets and liabilities of, the Local Councils   be included in a release and the status of Contributing Charted
                3526]              and Chartered Organizations. (Obj. ¶ 34.)                                   Organizations, Participating Chartered Organizations, Settling Insurers and

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Argument No.       Objecting
                                                          Summary of Argument                                                            Debtors’ Response
& Description       Parties
                                                                                                              Local Councils. See Plan, Article X.J; Disclosure Statement, Articles II.D,
                                                                                                              II.E, V.R and VI.H.18.

                                                                                                              The Disclosure Statement now attaches property valuations for all Local
                                                                                                              Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                                                                                                              Disclosure Statement, Article V.N. The Disclosure Statement now also
                                                                                                              provides balance sheets for the Local Councils showing their assets and
                                                                                                              liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.

                                                                                                              Exhibit F to the Disclosure Statement contains charts listing the Abuse
                                                                                                              Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                                                                                                              Local Council and allegation type, and (iv) counts by Chartered
                                                                                                              Organizations. See Disclosure Statement, Exhibit F.

                                                                                                              A list of each Local Counsel’s total expected contribution, including a
                                                                                                              specific break-down between the (i) cash contribution and (ii) property
                                                                                                              contribution, is attached to the Disclosure Statement as Exhibit C. See
                                                                                                              Disclosure Statement, Exhibit C.

                Saunders       &    There is no information about the number of claims against each           Exhibit F to the Disclosure Statement contains charts listing the Abuse
                Walker              local council or chartered organization, or any estimate of the value     Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                Claimants   [D.I.   of such claims. To the extent that sexual abuse claims have not been      Local Council and allegation type, and (iv) counts by Chartered
                5366]               filed against a local council or chartered organization, the Debtors      Organizations. See Disclosure Statement, Exhibit F.
                                    should disclose whether they have any indemnification or
                                    contribution claims against each local council or chartered               As described in the Disclosure Statement, the Debtors’ Settlement Trust
                                    organization. (See, e.g., Obj. ¶ 7 [D.I. 2449].)                          Causes of Action are to be transferred to the Settlement Trust in accordance
                                                                                                              with Article IV.D of the Plan.

                Argonaut            Disclosure Statement fails to explain that no constituency in this case   The Disclosure Statement now indicates that with respect to Chartered
                Insurance           (besides the Debtors) supports the Plan. (Obj. ¶ 3.)                      Organizations and Settling Insurance Companies, as of this filing, there is
                Company     [D.I.                                                                             one Settling Insurance Company participating in the Plan and one
                3285]                                                                                         Contributing Chartered Organization. See Disclosure Statement, Article
                                                                                                              II.A and Article V.R.



3) Adequate     SUMMARY OF          The Disclosure Statement fails to sufficiently disclose the pooling       DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    ARGUMENTS           of Debtor and non-debtor Local Council assets and liabilities.
Third Party                         Some claimants have strong claims against financially strong or           The Disclosure Statement now provides information on contributions by
Contributions                       well-insured Local Councils or Chartered Organizations that               the BSA, Local Councils and Settling Insurance Companies to the
                                    have the ability to satisfy their claims in a greater measure than        Settlement Trust and Distributions to Survivors. See Disclosure Statement,
                                                                                          24
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Argument No.       Objecting
                                                         Summary of Argument                                                           Debtors’ Response
& Description       Parties
Utilization &                       they may receive under the TDP. The Plan does not account for           Article X.A.26. The Disclosure Statement also provides information about
Pooling                             such differences.                                                       the Trust Distribution Procedures that provide for the allowance, valuation
                                                                                                            and payment of Abuse Claims. See Disclosure Statement, Article VII.B.
                                                                                                            Source affected weighting is also described in VII.B.8.f of the Disclosure
                                                                                                            Statement.

                                                                                                            In regards to contributions by non-Debtors, the Disclosure Statement
                                                                                                            provides further information on the transfer of Settlement Trust Assets to
                                                                                                            the Settlement Trust. See Disclosure Statement, Article VII.A.3. The
                                                                                                            Disclosure Statement explains that the assets contributed to the Settlement
                                                                                                            Trust by non-Debtor entities will be administered by the Settlement Trustee
                                                                                                            and used to resolve Abuse Claims in accordance with the Settlement Trust
                                                                                                            Documents, including the Settlement Trust Agreement and the Trust
                                                                                                            Distribution Procedures. See Disclosure Statement, Article II.D; see also
                                                                                                            Plan, Exhibit A, Trust Distribution Procedures and Plan, Exhibit B,
                                                                                                            Settlement Trust Agreement. A list of each Local Council’s total expected
                                                                                                            contribution, including a specific break-down between the (i) cash
                                                                                                            contribution and (ii) property contribution, is attached to the Disclosure
                                                                                                            Statement as Exhibit C. See Disclosure Statement, Exhibit C.

                Saunders       &    The Disclosure Statement fails to explain . . . how the contributions   The Disclosure Statement now provides information on contributions by
                Walker              of each council will be utilized, including whether the contributions   the BSA, Local Councils and Settling Insurance Companies to the
                Claimants   [D.I.   of a council will be used to compensate abuse survivors who do not      Settlement Trust and Distributions to Survivors. See Disclosure Statement,
                5366]               have a claim against that council. (See, e.g., Obj. ¶ 8.)               Article X.A.26. The Disclosure Statement also provides information about
                                                                                                            the Trust Distribution Procedures that provide for the allowance, valuation
                                                                                                            and payment of Abuse Claims. See Disclosure Statement, Article VII.B.
                                                                                                            Source affected weighting is also described in VII.B.8.f of the Disclosure
                                                                                                            Statement.

                                                                                                            In regards to contributions by non-Debtors, the Disclosure Statement
                                                                                                            provides further information on the transfer of Settlement Trust Assets to
                                                                                                            the Settlement Trust. See Disclosure Statement, Article VII.A.3. The
                                                                                                            Disclosure Statement explains that the assets contributed to the Settlement
                                                                                                            Trust by non-Debtor entities will be administered by the Settlement Trustee
                                                                                                            and used to resolve Abuse Claims in accordance with the Settlement Trust
                                                                                                            Documents, including the Settlement Trust Agreement and the Trust
                                                                                                            Distribution Procedures. See Disclosure Statement, Article II.D; see also
                                                                                                            Plan, Exhibit A, Trust Distribution Procedures and Plan, Exhibit B,
                                                                                                            Settlement Trust Agreement. A list of each Local Council’s total expected
                                                                                                            contribution, including a specific break-down between the (i) cash


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Argument No.       Objecting
                                                          Summary of Argument                                                            Debtors’ Response
& Description       Parties
                                                                                                              contribution and (ii) property contribution, is attached to the Disclosure
                                                                                                              Statement as Exhibit C. See Disclosure Statement, Exhibit C.

                Plaintiff   Law     The Debtors need to disclose the pooling of Debtor and non-debtor         The Disclosure Statement now provides information on contributions by
                Firms [D.I. 5955    Local Council assets and liabilities. Some claimants have strong          the BSA, Local Councils and Settling Insurance Companies to the
                et al.]             claims against financially strong or well-insured Local Councils or       Settlement Trust and Distributions to Survivors. See Disclosure Statement,
                                    Chartered Organizations that have the ability to satisfy their claims     Article X.A.26. The Disclosure Statement also provides information about
                                    in a greater measure than they may receive under the TDP. The Plan        the Trust Distribution Procedures that provide for the allowance, valuation
                                    destroys the right of claimants with strong claims to pursue solvent,     and payment of Abuse Claims. See Disclosure Statement, Article VII.B.
                                    well-insured entities and compels them to share the contribution          Source affected weighting is also described in VII.B.8.f of the Disclosure
                                    from the released entity with claimants who had no such right. The        Statement.
                                    Plan ignores the range of nonbankruptcy outcomes against the non-
                                    debtors and effects a substantive consolidation of the Debtor and         In regards to contributions by non-Debtors, the Disclosure Statement
                                    Local Councils, sharing assets they are contributing pro rata among       provides further information on the transfer of Settlement Trust Assets to
                                    all claimants, without regard to the entity against which the claimants   the Settlement Trust. See Disclosure Statement, Article VII.A.3. The
                                    actually has claims. (See, e.g., Obj. ¶¶ 13-14 [D.I. 5964]).              Disclosure Statement explains that the assets contributed to the Settlement
                                                                                                              Trust by non-Debtor entities will be administered by the Settlement Trustee
                                                                                                              and used to resolve Abuse Claims in accordance with the Settlement Trust
                                                                                                              Documents, including the Settlement Trust Agreement and the Trust
                                                                                                              Distribution Procedures. See Disclosure Statement, Article II.D; see also
                                                                                                              Plan, Exhibit A, Trust Distribution Procedures and Plan, Exhibit B,
                                                                                                              Settlement Trust Agreement. A list of each Local Council’s total expected
                                                                                                              contribution, including a specific break-down between the (i) cash
                                                                                                              contribution and (ii) property contribution, is attached to the Disclosure
                                                                                                              Statement as Exhibit C. See Disclosure Statement, Exhibit C.

                Herman      Law     Claimants’ state law rights against Local Councils and Chartered          The Disclosure Statement now provides information on contributions by
                Claimants   [D.I.   Organizations vary significantly. The Plan ignores the range of non-      the BSA, Local Councils and Settling Insurance Companies to the
                6032]               bankruptcy outcomes against the non-debtors, and effects a                Settlement Trust and Distributions to Survivors. See Disclosure Statement,
                                    substantive consolidation of the Debtors and the Local Councils,          Article X.A.26. The Disclosure Statement also provides information about
                                    sharing the assets they are contributing pro rata among all claimants,    the Trust Distribution Procedures that provide for the allowance, valuation
                                    without regard to the entity against which the claimant actually has      and payment of Abuse Claims. See Disclosure Statement, Article VII.B.
                                    claims. The Amended Disclosure Statement fails to contain adequate        Source affected weighting is also described in VII.B.8.f of the Disclosure
                                    information regarding this sharing and the equities involved, which       Statement.
                                    is necessary for differently situated claimants to evaluate the Plan.
                                    (Obj. ¶ 5).                                                               In regards to contributions by non-Debtors, the Disclosure Statement
                                                                                                              provides further information on the transfer of Settlement Trust Assets to
                                                                                                              the Settlement Trust. See Disclosure Statement, Article VII.A.3. The
                                                                                                              Disclosure Statement explains that the assets contributed to the Settlement
                                                                                                              Trust by non-Debtor entities will be administered by the Settlement Trustee
                                                                                                              and used to resolve Abuse Claims in accordance with the Settlement Trust
                                                                                          26
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Argument No.     Objecting
                                                 Summary of Argument                                                          Debtors’ Response
& Description     Parties
                                                                                                  Documents, including the Settlement Trust Agreement and the Trust
                                                                                                  Distribution Procedures. See Disclosure Statement, Article II.D; see also
                                                                                                  Plan, Exhibit A, Trust Distribution Procedures and Plan, Exhibit B,
                                                                                                  Settlement Trust Agreement. A list of each Local Council’s total expected
                                                                                                  contribution, including a specific break-down between the (i) cash
                                                                                                  contribution and (ii) property contribution, is attached to the Disclosure
                                                                                                  Statement as Exhibit C. See Disclosure Statement, Exhibit C.

4) Adequate     SUMMARY OF   The Disclosure Statement Liquidation Analysis is flawed because      DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    ARGUMENTS    it does not explain the factual or legal basis for the Debtors’ or
Liquidation                  Local Councils’ belief that certain assets of Local Councils are     The Debtors have clarified that the Liquidation Analysis assumes that only
Analysis                     restricted, or indicate how much each Local Council will             unrestricted assets are available to satisfy the claims of creditors in a
                             contribute from their unrestricted assets.                           hypothetical liquidation. See Disclosure Statement, Exhibit D. In addition,
                                                                                                  the Debtors have added Exhibit E-1 to the Disclosure Statement which
                                                                                                  summarizes the assets the Debtors determined were restricted. Finally, the
                                                                                                  Liquidation Analysis contains information concerning the assets that were
                                                                                                  considered in formulating the Liquidation Analysis, including Local
                                                                                                  Council properties and balance sheets. See Disclosure Statement, Exhibit E,
                                                                                                  Financial Projections Analysis; see also Disclosure Statement Articles III.C
                                                                                                  and IX.E.
                                                                                                       The Debtors have clarified that the Liquidation Analysis assumes
                                                                                                           that only unrestricted assets are available to satisfy the claims of
                                                                                                           creditors in a hypothetical liquidation. See Disclosure Statement,
                                                                                                           Exhibit D. In addition, the Debtors have added Exhibit E-1 to the
                                                                                                           Disclosure Statement which summarizes the assets the Debtors
                                                                                                           view as restricted. Finally, the Liquidation Analysis and Financial
                                                                                                           Projections Analysis contain an extensive description of the assets
                                                                                                           that are included in the Liquidation Analysis and those that are not
                                                                                                           included. See Disclosure Statement, Exhibit E, Financial
                                                                                                           Projections Analysis; see also Disclosure Statement Articles III.C
                                                                                                           and IX.E.
                                                                                                       The Debtors have amended the Liquidation Analysis to include a
                                                                                                           hypothetical liquidation of the Local Councils. See Disclosure
                                                                                                           Statement, Exhibit D, Liquidation Analysis.
                                                                                                       The Debtors believe the liquidation process in the Local Council
                                                                                                           charters would have little impact on the Liquidation Analysis,
                                                                                                           assuming such provisions are enforceable. Nevertheless, the
                                                                                                           Debtors have added a provision to the hypothetical liquidation of
                                                                                                           the Local Councils to account for this scenario. See Disclosure
                                                                                                           Statement, Exhibit D, Liquidation Analysis.

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Argument No.    Objecting
                                     Summary of Argument                                             Debtors’ Response
& Description    Parties
                                                                                  The Debtors have added disclosure concerning the value of the
                                                                                   artwork, real estate and other assets to be contributed. See
                                                                                   Disclosure Statement, Exhibit D, Liquidation Analysis; Disclosure
                                                                                   Statement, Article II.D.
                                                                                  The Debtors have added disclosure concerning the basis for their
                                                                                   assumption of a six month liquidation timeframe. See Disclosure
                                                                                   Statement, Exhibit D, Liquidation Analysis.
                                                                                  The Debtors have added disclosure concerning avoidance action
                                                                                   recoveries and recoveries from the Debtors’ insurance policies.
                                                                                   See Disclosure Statement, Exhibit D, Liquidation Analysis.
                                                                                  The Debtors believe they have provided sufficient information on
                                                                                   how the estimated recovery percentages were derived and no
                                                                                   further disclosure is necessary. See Disclosure Statement, Article
                                                                                   II.H.
                                                                                  The Debtors have added disclosure concerning the application of
                                                                                   the Bates White estimation, impact of statute of limitations and
                                                                                   effect on values. See Disclosure Statement, Article V.N.
                                                                                  The Debtors believe they have provided sufficient disclosure of
                                                                                   the basis for the wind-down costs, chapter 7 trustee fees and
                                                                                   chapter 7 professional fees. See Disclosure Statement, Exhibit D,
                                                                                   Liquidation Analysis.

                                                                          The Disclosure Statement now attaches property valuations for all Local
                                                                          Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                                                                          Disclosure Statement, Article V.N. The Disclosure Statement now also
                                                                          provides balance sheets for the Local Councils showing their assets and
                                                                          liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.

                                                                          The Disclosure Statement now attaches property valuations for all Local
                                                                          Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                                                                          Disclosure Statement, Article V.N. The Disclosure Statement now also
                                                                          provides balance sheets for the Local Councils showing their assets and
                                                                          liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.

                                                                          The Debtors have clarified that the Liquidation Analysis assumes that only
                                                                          unrestricted assets are available to satisfy the claims of creditors in a
                                                                          hypothetical liquidation. See Disclosure Statement, Exhibit D. In addition,
                                                                          the Debtors have added Exhibit E-1 to the Disclosure Statement which
                                                                          summarizes the assets the Debtors determined were restricted. Finally, the
                                                                          Liquidation Analysis contains information concerning the assets that were
                                                                          considered in formulating the Liquidation Analysis, including Local
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Argument No.       Objecting
                                                          Summary of Argument                                                             Debtors’ Response
& Description       Parties
                                                                                                               Council properties and balance sheets. See Disclosure Statement, Exhibit E,
                                                                                                               Financial Projections Analysis; see also Disclosure Statement Articles III.C
                                                                                                               and IX.E.

                                                                                                               The Disclosure Statement explains that the Debtors are unable to estimate
                                                                                                               the recovery amount for Indirect Abuse Claims under the Plan and
                                                                                                               hypothetical chapter 7 liquidation since they are unliquidated and
                                                                                                               contingent and subject to objection under section 502(e) of the Bankruptcy
                                                                                                               Code. However, to the extent the Indirect Abuse Claims become liquidated
                                                                                                               in the future, Indirect Abuse Claimants have the ability, pursuant to the
                                                                                                               Plan, to bring a claim for reconsideration under section 502(j) of the
                                                                                                               Bankruptcy Code and may be able to recover, on account of such claim,
                                                                                                               against the Settlement Trust Assets. See Disclosure Statement, Article IX.D
                                                                                                               and Article II.H, n.40.
                Saunders       &    The liquidation analysis does not include the properties of the local      The Disclosure Statement now attaches property valuations for all Local
                Walker              councils. (See, e.g., Obj. ¶ 3 [D.I. 2449].)                               Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                Claimants   [D.I.                                                                              Disclosure Statement, Article V.N. The Disclosure Statement now also
                5366]                                                                                          provides balance sheets for the Local Councils showing their assets and
                                                                                                               liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.
                Plaintiff   Law     The Disclosure Statement Liquidation Analysis is flawed because it         The Disclosure Statement now attaches property valuations for all Local
                Firms [D.I. 5955    does not explain the factual or legal basis for the Debtors’ or Local      Councils. See Disclosure Statement, Exhibit D-2, Liquidation Analysis;
                et al.]             Councils’ belief that certain assets of Local Councils are restricted,     Disclosure Statement, Article V.N. The Disclosure Statement now also
                                    or indicate how much each Local Council will contribute from their         provides balance sheets for the Local Councils showing their assets and
                                    unrestricted assets. (See, e.g., Obj. ¶ 20 [D.I. 5964]).                   liabilities. See Disclosure Statement, Exhibit D-1, Liquidation Analysis.

                                    The liquidation analysis does not include the properties of the local      The Debtors have clarified that the Liquidation Analysis assumes that only
                                    councils. (See, e.g., Obj. ¶ 3 [D.I. 2449].)                               unrestricted assets are available to satisfy the claims of creditors in a
                                                                                                               hypothetical liquidation. See Disclosure Statement, Exhibit D. In addition,
                                                                                                               the Debtors have added Exhibit E-1 to the Disclosure Statement which
                                                                                                               summarizes the assets the Debtors determined were restricted. Finally, the
                                                                                                               Liquidation Analysis contains information concerning the assets that were
                                                                                                               considered in formulating the Liquidation Analysis, including Local
                                                                                                               Council properties and balance sheets. See Disclosure Statement, Exhibit E,
                                                                                                               Financial Projections Analysis; see also Disclosure Statement Articles III.C
                                                                                                               and IX.E

                Herman      Law     The Disclosure Statement’s purported “liquidation analysis,” Dkt.          The Debtors have clarified that the Liquidation Analysis assumes that only
                Claimants   [D.I.   5485 at Ex. D, is fatally flawed because it does not explain the factual   unrestricted assets are available to satisfy the claims of creditors in a
                6032]               or legal basis for the Debtors’ (or Local Councils’) belief that certain   hypothetical liquidation. See Disclosure Statement, Exhibit D. In addition,
                                    assets of the Local Councils are restricted, or indicate how much each     the Debtors have added Exhibit E-1 to the Disclosure Statement which
                                                                                                               summarizes the assets the Debtors determined were restricted. Finally, the
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Argument No.         Objecting
                                                            Summary of Argument                                                             Debtors’ Response
& Description         Parties
                                      Local Council will contribute from their (admittedly unrestricted)       Liquidation Analysis contains information concerning the assets that were
                                      assets. (Obj. ¶ 11).                                                     considered in formulating the Liquidation Analysis, including Local
                                                                                                               Council properties and balance sheets. See Disclosure Statement, Exhibit E,
                                                                                                               Financial Projections Analysis; see also Disclosure Statement Articles III.C
                                                                                                               and IX.E.
                 Certain Insurers89   The Liquidation Analysis is fundamentally flawed because it depicts      While the Debtors agree that, as non-debtors, the disclosure of the Local
                                      distributions and retention of property under a hypothetical chapter     Councils liquidation analyses is not required, the Debtors chose to include
                                      7 liquidation of the Local Councils, and not the retention of claims     the Local Councils Liquidation Analyses to provide further information to
                                      against Local Councils in a hypothetical chapter 7 liquidation of the    holders of Claims in determining whether to vote to accept the Plan.
                                      Debtors. (Obj. ¶ 41).
                                                                                                               The Liquidation Analysis assumes a reallocation to BSA for further
                                                                                                               distribution to creditors of certain excess funds from Local Councils that
                                                                                                               would flow up to BSA upon a liquidation of the Local Councils. See
                                                                                                               Disclosure Statement, Ex. D. In the updated model, excess funds from
                                                                                                               individual Local Councils flow up to the consolidated Liquidation Analysis
                                                                                                               (Debtors + Related Non-Debtors + Local Councils), reallocating the
                                                                                                               “residual interest” to the Debtors’ creditors.
                 Tort Claimants’      The Liquidation Analysis is deficient as it:                             The Debtors understand that certain parties in this case may challenge
                 Committee [D.I.           Fails to include the liquidation value, value, or an inventory     confirmation of the Plan on the basis that the Plan fails to meet the best
                 3526]                        of Restricted Assets and non-Restricted Assets                   interests of creditors test. The Debtors’ proposed confirmation schedule
                                           Does not “i) account for the value of a Survivor’s claims          contemplates the exchange of expert witness reports in connection with any
                                              against the applicable Local Council and Chartered               such disputes. The Debtors expect that many issues raised in connection
                                              Organization(s) which would not be released under a              with the Liquidation Analysis will be addressed by the expert witnesses and
                                              chapter 7 scenario and (ii) demonstrate that a dissenting        at the hearing to consider confirmation of the Plan.
                                              Survivor would receive more under the Plan than from (x)
                                              a recovery from the Debtors’ chapter 7 liquidation plus (y)               The Debtors have clarified that the Liquidation Analysis assumes
                                              recoveries from the unreleased claims against the Local                    that only unrestricted assets are available to satisfy the claims of
                                              Councils and Chartered Organizations that are Participating                creditors in a hypothetical liquidation. See Disclosure Statement,
                                              Parties”                                                                   Exhibit D. In addition, the Debtors have added Exhibit E-1 to the
                                           “Does not address the liquidation process set forth in the                   Disclosure Statement which summarizes the assets the Debtors
                                              Local Councils’ charters and the impact that would have on                 view as restricted. Finally, the Liquidation Analysis and Financial
                                              recoveries in a liquidation scenario”                                      Projections Analysis contain an extensive description of the assets
                                           Fails to provide a valuation for the Artwork, real estate or                 that are included in the Liquidation Analysis and those that are not
                                              other assets to be contributed to the Settlement Trust by                  included. See Disclosure Statement, Exhibit E, Financial
                                              BSA.

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     The AIG Companies, The Continental Insurance Company and Columbia Casualty Company, Old Republic Insurance Company, Indian Harbor Insurance Company, on behalf of itself and as
     successor in interest to Catlin Specialty Insurance Company, Clarendon America Insurance Company, Maryland Casualty Company, Maryland American General Group, American General Fire
     & Casualty Company, Travelers Casualty and Surety Company, Inc. (f/k/a Aetna Casualty & Surety Company), St. Paul Surplus Lines Insurance Company and Gulf Insurance Company, Arrowood
     Indemnity Company, Munich Reinsurance America, Inc., formerly known as American Re-Insurance Company (collectively, “Certain Insurers”) [D.I. 6052].
 9   The following parties have joined in this objection: (a) Arch Insurance Company [D.I. 6035]; (b) Allianz Insurers [D.I. 6055]; and (c) Liberty [D.I. 6057].
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Argument No.       Objecting
                                                          Summary of Argument                                                              Debtors’ Response
& Description       Parties
                                           Does not describe “the basis for assuming that a six month                   Projections Analysis; see also Disclosure Statement Articles III.C
                                            liquidation timeframe is appropriate”                                        and IX.E.
                                        Does not include avoidance action recoveries and D&O                        The Debtors have amended the Liquidation Analysis to include a
                                            insurance policies                                                           hypothetical liquidation of the Local Councils. See Disclosure
                                        Fails to discuss how the estimated recovery percentages                         Statement, Exhibit D, Liquidation Analysis.
                                            were derived                                                             The Debtors believe the liquidation process in the Local Council
                                        Fails to discuss the potential reduction of claims based on                     charters would have little impact on the Liquidation Analysis,
                                            statute of limitations defenses, nor any assignment of values                assuming such provisions are enforceable. Nevertheless, the
                                            based on type of Direct Abuse Claim (as described above in                   Debtors have added a provision to the hypothetical liquidation of
                                            connection with the TDP)                                                     the Local Councils to account for this scenario. See Disclosure
                                        Provides no basis for the estimate of expenses of a chapter                     Statement, Exhibit D, Liquidation Analysis.
                                            7 trustee                                                                The Debtors have added disclosure concerning the value of the
                                   (Obj. ¶ 37.)                                                                          artwork, real estate and other assets to be contributed. See
                                                                                                                         Disclosure Statement, Exhibit D, Liquidation Analysis; Disclosure
                                                                                                                         Statement, Article II.D.
                                                                                                                     The Debtors have added disclosure concerning the basis for their
                                                                                                                         assumption of a six month liquidation timeframe. See Disclosure
                                                                                                                         Statement, Exhibit D, Liquidation Analysis.
                                                                                                                     The Debtors have added disclosure concerning avoidance action
                                                                                                                         recoveries and recoveries from the Debtors’ insurance policies.
                                                                                                                         See Disclosure Statement, Exhibit D, Liquidation Analysis.
                                                                                                                     The Debtors believe they have provided sufficient information on
                                                                                                                         how the estimated recovery percentages were derived and no
                                                                                                                         further disclosure is necessary. See Disclosure Statement, Article
                                                                                                                         II.H.
                                                                                                                     The Debtors have added disclosure concerning the application of
                                                                                                                         the Bates White estimation, impact of statute of limitations and
                                                                                                                         effect on values. See Disclosure Statement, Article V.N.
                                                                                                                     The Debtors believe they have provided sufficient disclosure of
                                                                                                                         the basis for the wind-down costs, chapter 7 trustee fees and
                                                                                                                         chapter 7 professional fees. See Disclosure Statement, Exhibit D,
                                                                                                                         Liquidation Analysis.
                United    States   The liquidation analysis fails to account for insurance rights              As discussed in the Disclosure Statement, recoveries in a hypothetical
                Trustee    [D.I.   belonging to BSA that are a part of the BSA settlement trust                chapter 7 liquidation do not include recoveries on BSA’s Insurance Policies
                3581]              contribution. It is also unclear if the artwork portfolio is included and   as such recoveries are uncertain and are expected to be lower in a liquidation
                                   what assets are included in the line item “land, building, and              due to the difficulty of obtaining insurance recoveries in such a scenario
                                   equipment.” (Obj. ¶ 21.)                                                    because, in large part, many of the BSA’s Insurance Policies are subject to
                                                                                                               the rights of co-insured, non-debtors, including Local Councils, under those
                                                                                                               policies and because obtaining recoveries would likely require significant
                                                                                                               litigation. Article IX.D.

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Argument No.      Objecting
                                                   Summary of Argument                                                            Debtors’ Response
& Description      Parties
                                                                                                      Moreover, the Artwork is included in the Liquidation Analysis. See
                                                                                                      Disclosure Statement, Exhibit D.

5) Adequate      SUMMARY OF   The Disclosure Statement must include information about                 DEBTORS HAVE ADDED DISCLOSURE
Disclosure –     ARGUMENTS    recoveries for holders of Direct Abuse Claims against non-
Best Interests                Debtors released by the Plan as part of the best interests test.        Although the Debtors maintain their position that nonprofit organizations
Test                          (See, e.g., Obj. ¶ 5 [D.I. 5964]). In addition, under the best          are not required to satisfy the best interest test, the Debtors have provided
                              interests of the creditors test, each claimant is entitled to receive   Liquidation Analyses, including Local Council liquidations which show
                              value under the Plan that is at least equal to its rights in            that the Plan satisfies the “Best Interests of Creditors” test. See Disclosure
                              liquidation. § 1129(a)(7). (See, e.g., Obj. ¶ 19 [D.I. 5964]).          Statement, Exhibit D, Liquidation Analysis.

                                                                                                      The Debtors’ believe that the best interest test, if it applies at all, only
                                                                                                      applies to the Debtors. However, to the extent that the Debtors are required
                                                                                                      to demonstrate that the Plan will satisfy the best interests test with respect
                                                                                                      to non-Debtors, the Debtors will do so at confirmation. The Disclosure
                                                                                                      Statement now provides information about the liquidation value of Abuse
                                                                                                      Claims. See Disclosure Statement, Exhibit D, Liquidation Analysis. The
                                                                                                      Disclosure Statement includes an explanation of how the recovery
                                                                                                      percentages to holders of Abuse Claims were calculated. See Disclosure
                                                                                                      Statement, Article II.H and Article V.N. The Disclosure Statement also
                                                                                                      discloses information regarding the best interests of creditors. See
                                                                                                      Disclosure Statement, Article IX.D.

                                                                                                      The Disclosure Statement provides information about the discovery and
                                                                                                      claims review process proposed by the Debtors in connection with
                                                                                                      confirmation. See Disclosure Statement, Article VI.A.23.

                                                                                                      The Disclosure Statement now provides balance sheets for the Local
                                                                                                      Councils showing their assets and liabilities. See Disclosure Statement,
                                                                                                      Exhibit D-1, Liquidation Analysis. In addition, as more fully described in
                                                                                                      the Disclosure Statement, additional discussion has been added with respect
                                                                                                      to the estimation of values of claims against Local Councils and Chartered
                                                                                                      Organizations. See Disclosure Statement, Article V.N. The Disclosure
                                                                                                      Statement shows the Local Councils’ expected contribution amounts to the
                                                                                                      Settlement Trust. See Disclosure Statement, Exhibit C.

                                                                                                      Exhibit F to the Disclosure Statement contains charts listing the Abuse
                                                                                                      Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                                                                                                      Local Council and allegation type, and (iv) counts by Chartered
                                                                                                      Organizations. See Disclosure Statement, Exhibit F.

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Argument No.          Objecting
                                                              Summary of Argument                                                                Debtors’ Response
& Description          Parties
                                                                                                                     Additionally, the best interests test objections are premature and such
                                                                                                                     objections should be considered at the proper time–plan confirmation. A
                                                                                                                     more fulsome response is set forth in the Debtors’ Omnibus Reply at §
                                                                                                                     II.A.6.

                  Plaintiff   Law      The Disclosure Statement must include information about the                   The Debtors’ believe that the best interest test, if it applies at all, only
                  Firms [D.I. 5955     liquidation value of direct abuse claims against non-debtors released         applies to the Debtors. However, to the extent that the Debtors are required
                  et al.]              by the Plan to assess the best interests of the creditors test. (See, e.g.,   to demonstrate that the Plan will satisfy the best interests test with respect
                                       Obj. ¶ 5 [D.I. 5964]). In addition, under the best interests of the           to non-Debtors, the Debtors will do so at confirmation. See Debtors’
                                       creditors test, each claimant is entitled to receive value under the Plan     Omnibus Reply at § II.A.6. The Disclosure Statement now provides
                                       that is at least equal to its rights in liquidation. § 1129(a)(7). (See,      information about the liquidation value of Abuse Claims. See Disclosure
                                       e.g., Obj. ¶ 19 [D.I. 5964]).                                                 Statement, Exhibit D, Liquidation Analysis. The Disclosure Statement
                                                                                                                     includes an explanation of how the recovery percentages to holders of
                                       Because claimants’ rights against Local Councils differ, the                  Abuse Claims were calculated. See Disclosure Statement, Article II.H and
                                       Disclosure Statement must address . . . claimants’ estimated recovery         Article V.N. The Disclosure Statement also discloses information
                                       against each Local Council (without regard to insurance shared with           regarding the best interests of creditors. See Disclosure Statement, Article
                                       the Debtors); . . .. Claimants need that information to determine             IX.D.
                                       whether or not to accept the less favorable treatment under the Plan,
                                       release Local Councils, and forego claims under nonbankruptcy law.
                                       (See, e.g., Obj. ¶ 18 [D.I. 5964]).
                  Herman       Law     The Disclosure Statement must incorporate adequate information                As more fully described in the Disclosure Statement, additional discussion
                  Claimants    [D.I.   about liquidation value of direct abuse claims against non-debtors            has been added with respect to the estimation of values of claims against
                  6032]                released by the Plan so individual claimants may assess whether the           Local Councils and Chartered Organizations. See Disclosure Statement,
                                       Debtors satisfy the best interests of the creditors test for a                Article V.N.
                                       confirmable plan. (Obj. ¶3).
                                                                                                                     Additionally, the best interests test objections are premature and such
                                       The Disclosure Statement must address at a minimum. . . Claimants’            objections should be considered at the proper time–plan confirmation. A
                                       estimated recovery against each Local Council (without regard to              more fulsome response is set forth in the Debtors’ Omnibus Reply at §
                                       insurance shared with the Debtors); (Obj. ¶ 9).                               II.A.6.

                  The Church of        The Disclosure Statement fails to disclose the risk that the Plan             The Debtors believe that the best interests test is met with respect to all
                  Jesus Christ of      would not satisfy the “best interests” test with respect to holders of        applicable holders of Claims as demonstrated in the Liquidation Analysis,
                  Latter-day Saints    Indirect Abuse Claims. In a Chapter 7 liquidation, Chartered                  which provides for recoveries to holders of all Abuse Claims, including
                  [D.I. 6009]10        Organizations would retain the right to directly pursue claims                Indirect Abuse Claims. See Disclosure Statement, IX.D. Additionally, the
                                       against the insurance companies, and therefore stand to recover               Debtors have added a disclosure regarding risks in Article X of the
                                       greater value than they would under the Plan. The liquidation                 Disclosure Statement. See Disclosure Statement,X.A.33.
                                       analysis does not take into consideration the Chartered
                                       Organizations’ rights under the historical insurance policies in a

 10   The following parties have joined in this supplemental objection: (a) Episcopal Church [D.I. 6014]; and (b) The Roman Catholic Archbishop of Los Angeles and its related BSA-Chartered
      Organizations, and the Roman Catholic Diocese of Brooklyn, New York [D.I. 6044].
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Argument No.       Objecting
                                                           Summary of Argument                                                              Debtors’ Response
& Description       Parties
                                     hypothetical Chapter 7 liquidation, nor is there any discussion of
                                     the best interests test in Article X of the Disclosure Statement,
                                     therefore rendering the Disclosure Statement inadequate. (Obj. ¶
                                     38).
                Tort Claimants’      The Disclosure Statement lacks an accurate description of Local            The Disclosure Statement now provides balance sheets for the Local
                Committee [D.I.      Councils’ assets and liabilities, which is essential to analysis of        Councils showing their assets and liabilities. See Disclosure Statement,
                3526]                whether the Plan satisfies the “Best Interests of Creditors” test.         Exhibit D-1, Liquidation Analysis. In addition, as more fully described in
                                     (Obj. ¶ 92.).                                                              the Disclosure Statement, additional discussion has been added with respect
                                                                                                                to the estimation of values of claims against Local Councils and Chartered
                                                                                                                Organizations. See Disclosure Statement, Article V.N.

                                                                                                                The Disclosure Statement shows the Local Councils’ expected contribution
                                                                                                                amounts to the Settlement Trust. See Disclosure Statement, Exhibit C.

                                                                                                                The Disclosure Statement does not include valuations of Abuse Claims with
                                                                                                                respect to each individual Local Council and Chartered Organization
                                                                                                                because, as explained further in the Disclosure Statement, performing such
                                                                                                                an exercise would not likely establish reliable estimates due to the data
                                                                                                                currently available. See Disclosure Statement, Article V.N; Exhibit F.

                                                                                                                Exhibit F to the Disclosure Statement contains charts listing the Abuse
                                                                                                                Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                                                                                                                Local Council and allegation type, and (iv) counts by Chartered
                                                                                                                Organizations. See Disclosure Statement, Exhibit F.

                Lujan & Wolff        The Disclosure Statement fails to disclose the assets of local             The Disclosure Statement now provides balance sheets for the Local
                LLP Claimants        councils, which would become property of BSA if their charters are         Councils showing their assets and liabilities. See Disclosure Statement,
                [D.I. 6039]; [D.I.   not renewed or BSA liquidates, so claimants do not have adequate           Exhibit D-1, Liquidation Analysis.
                3231]                information to vote on the Plan or raise a “Best Interests of Creditors”
                                     objection. (D.I. 3231 - Obj. ¶¶ 4, 19.)

                United States        The liquidation analysis presumes debtors do not need to satisfy the       Although the Debtors maintain their position that nonprofit organizations
                Trustee [D.I.        “Best Interests of Creditors” test because they are non-profit. The        are not required to satisfy the best interest test, the Debtors have provided
                3581]                Debtors should explain the legal basis and authority for the               Liquidation Analyses, including Local Council liquidations which show
                                     contention that the best interest test does not apply to non-profit        that the Plan satisfies the “Best Interests of Creditors” test. See Disclosure
                                     debtors. Alternatively, the Disclosure Statement should show what          Statement, Exhibit D, Liquidation Analysis.
                                     would be available for distribution under a liquidation and compare
                                     the Liquidation Analysis to the proposed plan to demonstrate how
                                     the Plan satisfies the “Best Interests of Creditors” test. (Obj. ¶ 21.)



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Argument No.          Objecting
                                                              Summary of Argument                                                             Debtors’ Response
& Description           Parties
                   The Church of        The liquidation analysis does not take into consideration the            As explained in the Liquidation Analysis, the recoveries estimated therein
                   Jesus Christ of      Chartered Organizations’ rights under the historical insurance           exclude any proceeds from insurance or from recoveries from any
                   Latter-day Saints    policies in a hypothetical Chapter 7 liquidation. (Obj. ¶ 38).           contribution claims against Chartered Organizations, on the basis that
                   [D.I. 6009]11                                                                                 recoveries from such proceeds are assumed to be materially the same or
                                                                                                                 greater under a plan of reorganization that provides for a global resolution
                                                                                                                 of Abuse Claims than under a chapter 7 liquidation. See Disclosure
                                                                                                                 Statement, Exhibit D, Liquidation Analysis.


6) Adequate        Lujan & Wolff        The Disclosure Statement fails to disclose that certain chartered        DEBTORS HAVE ADDED DISCLOSURE
Disclosure –       LLP Claimants        organizations are debtors in their own bankruptcy cases,
Third Party        [D.I. 6039]; [D.I.   including the Archbishop of Agana, and fails to explain how the          The Disclosure Statement now discloses that no Chartered Organization
Bankruptcies       3231]                Hartford Settlement, Insurance Entity Injunction and Trust               that is a debtor in bankruptcy, including the Archbishop of Agaña, shall be
                                        Distribution Procedures do not violate the automatic stay                treated as a Participating Chartered Organization unless it advises Debtors’
                                        imposed by these other bankruptcy cases. The Disclosure                  counsel in writing that it wishes to make the Chartered Organization
                                        Statement fails to disclose the specific exceptional treatment of        Insurance Assignment. See Disclosure Statement, Article II.E.3 and Article
                                        debtor chartered organizations, which BSA claimed in a                   VI.H.18.
                                        separate filing in the Archbishop of Agana bankruptcy case
                                        would receive such an exception. (D.I. 6039 - Obj. ¶ 5).
7) Adequate        SUMMARY OF           The Disclosure Statement fails to disclose sufficient facts to           DEBTORS HAVE ADDED DISCLOSURE
Disclosure -       ARGUMENTS            determine whether a Chartered Organization’s potential
Protected                               contribution will be “substantial,” and the assets of and claims         The Disclosure Statement now includes further disclosure with respect to
Parties &                               against each Chartered Organization. The Disclosure Statement            the Channeling Injunction, including information regarding how a
Channeling                              also fails to disclose how the Chartered Organizations can obtain        Chartered Organization may become a Protected Party. See Disclosure
Injunction                              the benefit of the proposed Channeling Injunction, and the               Statement, Article II.E and Article VI.Q.2. The Disclosure Statement also
                                        insurance and litigation risks of the Plan. The Disclosure               discloses various risk factors that may be associated with the Channeling
                                        Statement fails to include the protocol by which a Chartered             Injunction. See Disclosure Statement, Article X. Moreover, the Disclosure
                                        Organization can become a Contributing Chartered                         Statement now provides information concerning insurance rights of
                                        Organization and obtain the benefits of the Channeling                   Chartered Organizations. See Disclosure Statement, Article III F.3.
                                        Injunction. The Disclosure Statement fails to contain adequate
                                        information regarding Chartered Organizations’ potential                 The Disclosure Statement now also includes further disclosure with respect
                                        exposure to Abuse lawsuits. The Disclosure Statement does not            to the treatment of Chartered Organizations under the Plan. See Disclosure
                                        contain adequate information regarding the Debtors’ insurance            Statement, Article II.E and Article VI.H.18.
                                        policies that Chartered Organizations are additional insureds
                                        under.                                                                   The Disclosure Statement now includes the number of claims against
                                                                                                                 certain Chartered Organizations, including their nature. Exhibit F to the
                                                                                                                 Disclosure Statement includes charts listing the Abuse Claims (i) by
                                                                                                                 allegation type, (ii) counts by Local Council, (iii) counts by Local Council

  11   The following parties have joined in this supplemental objection: (a) Episcopal Church [D.I. 6014]; and (b) The Roman Catholic Archbishop of Los Angeles and its related BSA-Chartered
       Organizations, and the Roman Catholic Diocese of Brooklyn, New York [D.I. 6044].
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Argument No.       Objecting
                                                           Summary of Argument                                                             Debtors’ Response
& Description       Parties
                                                                                                              and allegation type, and (iv) counts by Chartered Organizations. Bates
                                                                                                              White’s estimated valuation range does not include valuations of Abuse
                                                                                                              Claims with respect to each individual Chartered Organization because, as
                                                                                                              explained further in the Disclosure Statement, performing such an exercise
                                                                                                              would not likely establish reliable estimates due to the data currently
                                                                                                              available, except in the case of certain Chartered Organizations where data
                                                                                                              becomes available and is sufficient such that the Debtors can determine the
                                                                                                              potential valuations of Abuse Claims with respect to such Chartered
                                                                                                              Organization. See Disclosure Statement, Article V.N; Exhibit F.

                                                                                                              The Disclosure Statement now provides clear notice of the consequences of
                                                                                                              a vote to accept or reject the Plan as it pertains to Article X.J.4 of the Plan.
                                                                                                              See Disclosure Statement, Article V.R.2.d and Article II.A.

                Lujan & Wolff        The DS fails to disclose current and former Chartered Organizations      The Disclosure Statement now includes information about the potential
                LLP Claimants        which may receive nondebtor releases and channeling injunctions. .       parties that could be included in a release and the status of Contributing
                [D.I. 6039]; [D.I.   . (D.I. 6039 - Obj. ¶ 8).                                                Chartered Organizations, Participating Chartered Organizations, Settling
                3231]                                                                                         Insurers and Local Councils. See Disclosure Statement, Article II.G.
                                     The DS fails to disclose the authority and standards by which the
                                     Settlement Trustee may settle with nondebtors and make these              Additionally, the Disclosure Statement discusses potential risks regarding
                                     nondebtors Protected Parties entitled to releases and channeling         the approval of the releases, exculpation and the Channeling Injunction
                                     injunctions. (Obj. ¶ 11). The DS fails to disclose what claims against   proposed in the Plan. See Disclosure Statement, Article X.A.
                                     chartered organizations may be released post-confirmation by the
                                     Settlement Trustee, as well the authority by which such claims may       Additionally, as described in Article II.G and in accordance with the Plan,
                                     be settled. (D.I. 6039 - Obj. ¶ 12).                                     any Chartered Organization that is not a Contributing Chartered
                                                                                                              Organization as of the Effective Date may become a Protected Party after
                                     The DS fails to explain why survivors are not given an opportunity       the Effective Date if the Bankruptcy Court, after notice and an opportunity
                                     to opt-out from receiving compensation from nondebtor Protected          for parties in interest to be heard, approves a settlement agreement between
                                     Parties through the Settlement Trust and instead to pursue their         such Chartered Organization and the Settlement Trustee. Likewise, any
                                     claims in court against nondebtor Protected Parties. (D.I. 6039 - Obj.   Chartered Organization that is not a Participating Chartered Organization
                                     ¶ 13).                                                                   as of the Effective Date may become a Participating Chartered Organization
                                                                                                              after the Effective Date by agreement with the Settlement Trustee and
                                     The DS fails to disclose adequate information concerning the             without further order of the Bankruptcy Court; provided, however, that the
                                     previously proposed BSA Toggle Plan. Given the BSA Toggle Plan,          Settlement Trustee shall file a notice with the Bankruptcy Court within
                                     Debtors also need to disclose how nondebtor releases and channeling      thirty (30) days of entering into any agreement with a Chartered
                                     injunctions are necessary as the BSA Toggle Plan appears to negate       Organization that deems such Chartered Organization to be a Limited
                                     nondebtor releases. (D.I. 6039 - Obj. ¶ 14).                             Protected Party, together with an amendment to Exhibit K of the Plan
                                                                                                              removing such Chartered Organization from the list of Chartered
                                                                                                              Organizations that are not Participating Chartered Organizations.



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Argument No.          Objecting
                                                                 Summary of Argument                                                                Debtors’ Response
& Description          Parties
                                                                                                                      After the Effective Date, any Insurance Company that is a Non-Settling
                                                                                                                      Insurance Company as of the Effective Date may become a Protected Party
                                                                                                                      if the Bankruptcy Court, after notice and an opportunity for parties in
                                                                                                                      interest to be heard, approves a settlement agreement between such
                                                                                                                      Insurance Company and the Settlement Trustee.

                                                                                                                      The Objector’s complaint regarding an opt-out is, at heart, an objection to
                                                                                                                      the releases and Channeling Injunction with respect to non-debtors that
                                                                                                                      become Protected Parties. As explained in the Disclosure Statement, the
                                                                                                                      Plan provides for non-Debtor releases and benefits of the Channeling
                                                                                                                      Injunction in exchange for substantial contributions. See Disclosure
                                                                                                                      Statement, Article II.G and Article VI.Q.2.

                                                                                                                      The BSA Toggle Plan has been removed and is no longer proposed to be
                                                                                                                      solicited. Therefore, information regarding the BSA Toggle Plan is
                                                                                                                      irrelevant and not included in the Disclosure Statement. The Plan, as
                                                                                                                      described in the Disclosure Statement, provides a superior means of
                                                                                                                      reorganizing, and allows the Debtors to achieve the dual objectives that the
                                                                                                                      Debtors set out to accomplish at the outset of these cases: (a) to timely and
                                                                                                                      equitably compensate survivors of Abuse in Scouting and (b) ensure that
                                                                                                                      the BSA emerges from bankruptcy with the ability to continue its vital
                                                                                                                      charitable mission.

                   The       Roman       The DS also fails to disclose how the Chartered Organizations can            The Disclosure Statement now includes further disclosure with respect to
                   Catholic      and     obtain the benefit of the proposed Channeling Injunction, and the            the Channeling Injunction, including information regarding how a
                   United Methodist      insurance and litigation risks of the Plan. (Obj. ¶ 16). The DS fails        Chartered Organization may become a Protected Party or Limited Protected
                   Ad            Hoc     to include the protocol by which a Chartered Organization can                Party. See Disclosure Statement, Article II.E and Article VI.Q.2.
                   Committees (the       become a Contributing Chartered Organization and obtain the
                   “Catholic     and     benefits of the Channeling Injunction. (Obj. ¶ 17). The DS fails to          Moreover, the Disclosure Statement now provides information concerning
                   Methodist             contain adequate information regarding Chartered Organizations’              insurance rights of Chartered Organizations. Article III F.3.
                   Committees”)          potential exposure to abuse lawsuits, such as number and type of
                   [D.I. 6067]12         abuse claims against each Chartered Organization that might justify          The Disclosure Statement now includes the number of claims against
                                         becoming a Contributing Chartered Organization. (Obj. ¶ 18). The             certain Chartered Organizations, including their nature. Exhibit F to the
                                         DS does not contain adequate information regarding the Debtors’              Disclosure Statement includes charts listing the Abuse Claims (i) by
                                         insurance policies that Chartered Organizations are additional               allegation type, (ii) counts by Local Council, (iii) counts by Local Council
                                         insureds under. (Obj. ¶ 19).                                                 and allegation type, and (iv) counts by Chartered Organizations. Bates
                                                                                                                      White’s estimated valuation range does not include valuations of Abuse
                                                                                                                      Claims with respect to each individual Chartered Organization because, as

 12   The following parties have joined in this objection: (a) Archbishop of Agana [D.I. 6070]; (b) Buffalo Diocese [D.I. 6071]; (c) Ogdenburg Diocese [D.I. 6072]; (d) Rochester Diocese [D.I. 6073];
      (e) Syracuse Diocese [D.I. 6074]; and (f) Norwich Diocese [D.I. 6075].
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Argument No.       Objecting
                                                         Summary of Argument                                                              Debtors’ Response
& Description       Parties
                                                                                                              explained further in the Disclosure Statement, performing such an exercise
                                                                                                              would not likely establish reliable estimates due to the data currently
                                                                                                              available. See Disclosure Statement, Article V.N; Exhibit F.



                Tort Claimants’    The Disclosure Statement does not provide adequate information             The Disclosure Statement now includes further disclosure with respect to
                Committee [D.I.    regarding the Chartered Organizations, the number or nature of the         the Channeling Injunction, including information regarding how a
                3526]              claims against each of them and their participation under the Plan as      Chartered Organization may become a Protected Party or Limited Protected
                                   beneficiaries of the non-consensual third-party releases and a             Party. See Disclosure Statement, Article II.E and Article VI.Q.2.
                                   channeling injunction. There is no description of a mechanism for a
                                   Chartered Organizations to become eligible to receive a non-               Moreover, the Disclosure Statement now provides information concerning
                                   consensual third-party release of claims or channeling injunction.         insurance rights of Chartered Organizations. Article III F.3.
                                   (Obj. ¶ 110.)
                                                                                                              The Disclosure Statement now includes the number of claims against
                                                                                                              certain Chartered Organizations, including their nature. Exhibit F to the
                                                                                                              Disclosure Statement includes charts listing the Abuse Claims (i) by
                                                                                                              allegation type, (ii) counts by Local Council, (iii) counts by Local Council
                                                                                                              and allegation type, and (iv) counts by Chartered Organizations. Bates
                                                                                                              White’s estimated valuation range does not include valuations of Abuse
                                                                                                              Claims with respect to each individual Chartered Organization because, as
                                                                                                              explained further in the Disclosure Statement, performing such an exercise
                                                                                                              would not likely establish reliable estimates due to the data currently
                                                                                                              available. See Disclosure Statement, Article V.N; Exhibit F.

                Century            The Disclosure Statement does not disclose the necessity and basis         The Disclosure Statement addresses the risk factors associated with the
                Indemnity          for the breadth of the channeling injunction and the risk associated       Channeling Injunction. See Disclosure Statement, Article X.28. Moreover,
                Company [D.I.      with its inclusion in the Plan. (D.I. 3856 - Obj. at 24.)                  the necessity of the breadth of the Channeling Injunction is discussed in
                6065];     [D.I.                                                                              Article II.G of Disclosure Statement.
                5214];     [D.I.
                3856]
                United    States   It is difficult to ascertain which causes of action will or will not be    The Disclosure Statement now provides a discussion of the Channeling
                Trustee    [D.I.   subject to a release or the channeling injunction. (Obj. ¶ 3.) Because     Injunction and. See Article II.G. Specifically, the parties that vote to accept
                3581]              the ability of creditors to opt out of the Plan’s section X.J.4 release    or reject the Plan may opt out of the release provisions in Article X.K.4 of
                                   is conditioned on their decision to vote for or against the plan, the      the Plan.
                                   effect of these releases should be clarified prior to Plan solicitation.
                                   The right of accepting creditors to opt out of releases should not be
                                   restricted unless the Disclosure Statement is amended to more clearly
                                   advise creditors of the consequences of their vote to accept. (Obj. ¶¶
                                   24, 33.)

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Argument No.       Objecting
                                                         Summary of Argument                                                             Debtors’ Response
& Description       Parties
                Aylstock,         The Disclosure Statement and the accompanying solicitation                  The Disclosure Statement now includes further disclosure with respect to
                Witkin, Kreis &   procedures fail to notify creditors, including the AWKO Claimants,          the Channeling Injunction, including information regarding how a
                Overholtz, PLLC   which Local Council and/or Chartered Organization is associated             Chartered Organization may become a Protected Party. See Disclosure
                Claimants [D.I.   with their Abuse, whether any such entity will receive a release, and       Statement, Article II.E and Article VI.Q.2. The Disclosure Statement also
                3274]             if so, the terms of the release. (Obj. ¶ 3.)                                discloses various risk factors that may be associated with the Channeling
                                                                                                              Injunction. See Disclosure Statement, Article X. Moreover, the Disclosure
                                  The Disclosure Statement fails to explain what contribution the             Statement now provides information concerning insurance rights of
                                  insurers, their non-Debtor insureds, Local Councils and/or Chartered        Chartered Organizations. Article III F.3.
                                  Organizations will make in order to receive a release. (Obj. ¶ 4.)
                Heman       Law   The identity of any non-debtor Chartered Organization designated a          The Disclosure Statement now includes further disclosure with respect to
                Claimants         Protected Party under the Plan, its potential liability to claimants, and   the Channeling Injunction, including information regarding how a
                [D.I. 6032]       the contribution being made to obtain the protection of this Court’s        Chartered Organization may become a Protected Party. See Disclosure
                                  Channeling Injunction, must be disclosed before the Channeling              Statement, Article II.E and Article VI.Q.2. The Disclosure Statement also
                                  Injunction can be issued by the Court. (Obj. ¶3).                           discloses various risk factors that may be associated with the Channeling
                                                                                                              Injunction. See Disclosure Statement, Article X. Moreover, the Disclosure
                                                                                                              Statement now provides information concerning insurance rights of
                                                                                                              Chartered Organizations. Article III F.3.

8) Adequate     SUMMARY OF        The Disclosure Statement does not provide adequate                          DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    ARGUMENTS         information regarding the treatment of indemnity claims and
Chartered                         insurance rights held by Chartered Organizations, the                       The Disclosure Statement now also includes further disclosure with respect
Organization                      subordination of Indirect Abuse Claims, or whether the Plan                 to the treatment of Chartered Organizations under the Plan. See Disclosure
Treatment                         satisfies the best interest test.                                           Statement, Article II.E and Article VI.H.18.

                                  The Disclosure Statement fails to disclose the lack of res judicata         The Disclosure Statement now provides further disclosure on the Trust
                                  and evidentiary protections for the Chartered Organizations                 Distribution Procedures including the treatment of “Indirect Abuse
                                  under the Plan, and fails to disclose any such risks associated             Indemnity Claims. See Disclosure Statement, Article VII.B. The treatment
                                  with the impact of determinations made by the Settlement                    of Indirect Abuse Indemnity Claims under the Plan pursuant to the TDP has
                                  Trustee.                                                                    been amended so that Indirect Abuse Claims are no longer subordinated to
                                                                                                              Direct Abuse Claims.
                                  The Disclosure Statement fails to disclose that the Plan would
                                  release the claims of non-debtor insureds against the insurance             The Disclosure Statement now includes further disclosure with respect to
                                  companies, and thus adjudicate the state law property rights of             the Channeling Injunction, including information regarding how a party
                                  such parties, in abrogation of parties’ due process rights.                 may become a Protected Party or Limited Protected Party. See Disclosure
                                                                                                              Statement, Article II.E and Article VI.Q.2.
                                  The Disclosure Statement fails to disclose how a Chartered
                                  Organization might become a Contributing Chartered
                                  Organization, what the cost might be (if any), or how becoming
                                  a Contributing Chartered Organization would impact a
                                  Chartered Organization’s right to indemnification and/or
                                  defense under applicable insurance policies.
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Argument No.       Objecting
                                                           Summary of Argument                                                              Debtors’ Response
& Description       Parties


                The Church of        The Disclosure Statement does not provide adequate information             The Disclosure Statement now provides further disclosure on the Trust
                Jesus Christ of      regarding the treatment of indemnity claims and insurance rights           Distribution Procedures including the treatment of “Indirect Abuse
                Latter-day Saints    held by Chartered Organizations, the subordination of Indirect Abuse       Indemnity Claims. See Disclosure Statement, Article VII.B. The treatment
                [D.I. 6009]; [D.I.   Claims, or whether the Plan satisfies the best interest test. (D.I. 6009   of Indirect Abuse Indemnity Claims under the Plan pursuant to the TDP has
                3263]                - Obj. ¶ 4).                                                               been amended so that Indirect Abuse Claims are no longer subordinated to
                                                                                                                Direct Abuse Claims.
                                     The Disclosure Statement fails to disclose that the Plan would release
                                     the claims of non-debtor insureds against the insurance companies,         The Plan now provides a mechanism by which other Chartered
                                     and thus adjudicate the state law property rights of such parties, in      Organizations can become Participating Chartered Organizations (unless
                                     abrogation of parties’ due process rights. The Disclosure Statement        they elect not to or are chapter 11 debtors) through the assignment and
                                     is misleading in that it states that holders of Indirect Abuse Claims      transfer to the Settlement Trust of all of the post-1975 insurance rights of
                                     will have unspecified “insurance rights.” See Disclosure Statement §       such Participating Chartered Organization in exchange for inclusion as a
                                     II.G, p. 22. The Disclosure Statement should make clear that non-          Limited Protected Party under the Plan, thereby providing the potential for
                                     debtor insureds with claims against the insurance policies would be        substantial recoveries to holders of Abuse Claims. The mechanism also
                                     released under the Plan, and that such insureds would be left without      includes a pathway for other Chartered Organizations to make further
                                     recourse to access the proceeds of the insurance policies or pursue        substantial contributions to the Settlement Trust to resolve Abuse Claims
                                     claims against the insurance companies. (Obj. ¶ 34).                       that may be asserted against them related to Abuse that arose in connection
                                                                                                                with their sponsorship of one or more Scouting units, including those that
                                     The Disclosure Statement fails to disclose that the TDP extinguish         arose prior to January 1, 1976, in exchange for being included as a Protected
                                     the indemnity claims of potentially tens of thousands of Chartered         Party under the Plan and receiving the benefits of the Channeling
                                     Organizations, who are left to fend for themselves in the tort system      Injunction, thereby becoming “Contributing Chartered Organizations”
                                     without recourse against the Settlement Trust or the BSA. The              under the Plan. Thus, Chartered Organizations insurance rights, to the
                                     Disclosure Statement does not disclose the reality that in order to        extent they hold them, will not be transferred to the Settlement Trust
                                     have a compensable claim at all, holders of Indirect Abuse Claims          without consent of such Chartered Organization. See Disclosure Statement,
                                     are required to settle direct claims on behalf of the Settlement Trust     Article II.E and Article VI.Q.2.
                                     (including Protected Parties) in the tort system, with the expectation
                                     that they could recover some fraction of what the direct claimant          The Plan has been amended, as described in the Disclosure Statement, that
                                     could have recovered under the TDP. (D.I. 6009 - Obj. ¶ 35).               Under the Plan, all rights and obligations under or with respect to Insurance
                                                                                                                Policies (but not the policies themselves) will be assigned and transferred
                                     The Disclosure Statement fails to disclose the lack of res judicata and    to the Settlement Trust as of the Effective Date. The Insurance Assignment
                                     evidentiary protections for the Chartered Organizations under the          described in the foregoing sentence does not, however, divest the Church
                                     Plan, and fails to disclose any such risks associated with the impact      (or any other Person with rights under the Insurance Policies) of the value
                                     of determinations made by the Settlement Trustee. The Disclosure           attributable to the insurance coverage and related rights. Rather, the Church
                                     Statement fails to disclose that the TDP were revised such that            may assert against the Settlement Trust any Indirect Abuse Claim that, but
                                     protections in place for non-settling parties were explicitly stricken,    for the Insurance Assignment, the Church could have asserted under an
                                     with the result that determinations by the Settlement Trustee may          Insurance Policy. As set forth in the Disclosure Statement, the Debtors
                                     subsequently be admissible as evidence in, binding in, or have res         project that holders of certain Indirect Abuse Claims may recover up to the
                                     judicata or other preclusive effect in any lawsuit or other proceeding     full amount of such Claims from the Settlement Trust. See Disclosure
                                     against nonsettling third parties in the tort system. The removal of       Statement, Article II.H. The Disclosure Statement provides that pursuant to

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Argument No.       Objecting
                                                           Summary of Argument                                                             Debtors’ Response
& Description       Parties
                                     such protections leaves non-settling third parties, like the Church,       the Trust Distribution Procedures, recoveries on account of Indirect Abuse
                                     vulnerable to the risk that determinations by the Settlement Trust will    Claims are the same as Direct Abuse Claims. See Disclosure Statement,
                                     be used against the Church in a highly prejudicial manner. The fact        Article II.H. The treatment of indirect abuse indemnity claims under the
                                     that such protections have been completely removed and that such           plan pursuant to the TDP has been amended so that Indirect Abuse Claims
                                     removal and the attendant risks have not been disclosed renders the        are no longer subordinated to Direct Abuse Claims.
                                     Disclosure Statement inadequate. (D.I. 6009 - Obj. ¶ 37).
                                                                                                                The Disclosure Statement now also includes further disclosure with respect
                                     The value the Church would retain—the value attributable to                to the treatment of Chartered Organizations under the Plan. See Disclosure
                                     retaining coverage and related rights under various insurance              Statement, Article II.E and Article VI.H.18.
                                     policies—in a chapter 7 liquidation is greater than what it would
                                     receive under the Plan. (D.I. 3263 - Obj. ¶ 19.)                           The Disclosure Statement now provides further disclosure on the Trust
                                                                                                                Distribution Procedures including the treatment of “Indirect Abuse
                                                                                                                Indemnity Claims.” See Disclosure Statement, Article VII.B.
                Knights        of    The Disclosure Statement does not provide adequate information for         The Disclosure Statement now includes further disclosure with respect to
                Columbus             Chartered Organizations, such as the Knights of Columbus Entities,         the Channeling Injunction, including information regarding how a party
                Entities     [D.I.   to make an informed decision. The Disclosure Statement fails to            may become a Protected Party or Limited Protected Party. See Disclosure
                6041]; [D.I 3270]    disclose how a Chartered Organization might become a Contributing          Statement, Article II.E and Article VI.Q.2.
                                     Chartered Organization, what the cost might be (if any), or how
                                     becoming a Contributing Chartered Organization would impact a
                                     Chartered Organization’s right to indemnification and/or defense
                                     under applicable insurance policies. (D.I. 6041 - Obj. at 1-5).
                Catholic    and      The Disclosure Statement fails to disclose that the TDP were               The Disclosure Statement now provides further disclosure on the Trust
                Methodist            negotiated to eliminate any protections for non-settling parties, with     Distribution Procedures including the treatment of “Indirect Abuse
                Committees [D.I.     the result that determinations may be admissible as evidence in,           Indemnity Claims See Disclosure Statement, Article VII.B.
                6067]                binding in, or have res judicata or other preclusive effect in any law
                                     suit or other proceeding against non-settling third parties in the tort    The Disclosure Statement also discloses information regarding the best
                                     system. The Disclosure Statement fails to disclose the risk that the       interests of creditors. See Disclosure Statement, Article IX.D; see also
                                     Plan would not satisfy the “best interests” test with respect to holders   Disclosure Statement, Liquidation Analysis, Exhibit D.
                                     of Indirect Abuse Claims, as they would retain the right to directly
                                     pursue claims against insurance companies and stand to recover
                                     greater value in a hypothetical chapter 7 liquidation. (Obj. ¶ 25).
                The       Roman      RCALA, the ADLA Chartered Organizations, and RCDB have                     The Plan now provides a mechanism by which other Chartered
                Catholic             Indirect Abuse Claims that are subjected to vague and indeterminate        Organizations can become Participating Chartered Organizations (unless
                Archbishop     of    procedures for allowance and payment. RCALA, the ADLA                      they elect not to or are chapter 11 debtors) through the assignment and
                Los Angeles, a       Chartered Organizations, and RCDB have rights as insureds under            transfer to the Settlement Trust of all of the post-1975 insurance rights of
                corporation sole,    certain of the BSA’s and Local Councils’ insurance policies that are       such Participating Chartered Organization in exchange for inclusion as a
                and its related      proposed to be assigned to the Settlement Trust under the Plan, which      Limited Protected Party under the Plan, thereby providing the potential for
                BSA-Chartered        rights would be effectively cut off by the proposed Insurance Entity       substantial recoveries to holders of Abuse Claims. The mechanism also
                Organizations,       Injunction. The Plan is patently unconfirmable in its current form. . .    includes a pathway for other Chartered Organizations to make further
                and The Roman        (Obj. ¶¶ 1-3).                                                             substantial contributions to the Settlement Trust to resolve Abuse Claims
                Catholic Diocese                                                                                that may be asserted against them related to Abuse that arose in connection
                                                                                           41
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Argument No.       Objecting
                                                          Summary of Argument                                                             Debtors’ Response
& Description        Parties
                of      Brooklyn,                                                                             with their sponsorship of one or more Scouting units, including those that
                New York                                                                                      arose prior to January 1, 1976, in exchange for being included as a Protected
                [D.I. 6044]                                                                                   Party under the Plan and receiving the benefits of the Channeling
                                                                                                              Injunction, thereby becoming “Contributing Chartered Organizations”
                                                                                                              under the Plan. Thus, Chartered Organizations insurance rights, to the
                                                                                                              extent they hold them, will not be transferred to the Settlement Trust
                                                                                                              without consent of such Chartered Organization. See Disclosure Statement,
                                                                                                              Article II.E and Article VI.Q.2.

9) Adequate     SUMMARY OF          The Disclosure Statement fails to disclose insurance coverage             DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    ARGUMENTS           risks.
Insurance                                                                                                     The Disclosure Statement provides further information regarding insurance
Coverage Risk                                                                                                 coverage for Abuse Claims, including the Debtors’ insurance coverage for
                                                                                                              the Local Councils, the Chartered Organizations’ rights under the Debtors’
                                                                                                              Insurance Policies, as well as the insurance coverage defenses asserted by
                                                                                                              Insurance Companies. See Disclosure Statement, Article III.F.

                                                                                                              The Disclosure Statement includes further disclosure with respect to risk
                                                                                                              factors associated with insurance coverage. See Disclosure Statement,
                                                                                                              Articles X.A.21–X.A.25.
                Saunders       &    The Disclosure Statement fails to disclose insurance coverage risks.      The Disclosure Statement includes further disclosure with respect to risk
                Walker              (See, e.g., Obj. ¶ 16.)                                                   factors associated with insurance coverage. See Disclosure Statement,
                Claimants   [D.I.                                                                             Articles X.A.21–X.A.25.
                5366]

                Plaintiff   Law     The Disclosure Statement must disclose risks from coverage                The Disclosure Statement provides further information regarding insurance
                Firms [D.I. 5955    positions asserted by liability insurers for the Debtors and non-         coverage for Abuse Claims, including the Debtors’ insurance coverage for
                et al.]             debtors that could limit or eliminate insurer contributions and reduce    the Local Councils, the Chartered Organizations’ rights under the Debtors’
                                    amount claimants could recover. (See, e.g., Obj. ¶ 5 [D.I. 5964]).        Insurance Policies, as well as the insurance coverage defenses asserted by
                                                                                                              Insurance Companies. See Disclosure Statement, Article III.F.
                                    The agreement of Local Councils to resolve their liability without the
                                    insurers’ involvement and to transfer their insurance rights to the       The Disclosure Statement includes further disclosure with respect to risk
                                    Trust triggers additional coverage defenses that could further            factors associated with insurance coverage. See Disclosure Statement,
                                    diminish recovery. (See, e.g., Obj. ¶ 24 [D.I. 5964]).                    Articles X.A.21–X.A.25.

                                    The Disclosure Statement fails to disclose insurance coverage risks.
                                    (See, e.g., Obj. ¶ 15 [D.I. 2449].)
                Herman      Law     The Disclosure Statement must incorporate adequate information            The Disclosure Statement provides further information regarding insurance
                Claimants   [D.I.   about the material risks arising from coverage positions asserted by      coverage for Abuse Claims, including the Debtors’ insurance coverage for
                6032]               liability insurers for the Debtors and non-debtors that, if successful,   the Local Councils, the Chartered Organizations’ rights under the Debtors’
                                    in whole or in part, could substantially limit or eliminate insurer
                                                                                          42
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Argument No.       Objecting
                                                            Summary of Argument                                                            Debtors’ Response
& Description       Parties
                                      contributions and significant reduce amounts claimants could              Insurance Policies, as well as the insurance coverage defenses asserted by
                                      recover from the Trust. These key issues are:                             Insurance Companies. See Disclosure Statement, Article III.F.
                                            The agreement of the Local Council to resolve their liability
                                               without the applicable insurers’ involvement and the             The Disclosure Statement includes further disclosure with respect to risk
                                               transfer of the Local Council’s insurances rights to the Trust   factors associated with insurance coverage. See Disclosure Statement,
                                               could trigger additional coverage defenses that could            Articles X.A.21–X.A.25.
                                               further diminish the recovery from the insurers from what a
                                               claimant could achieve today. (Obj. ¶13).
                                            Some insurers contend that pursuing a bankruptcy to
                                               address the abuse liabilities and negotiate a proposed
                                               settlement, without first obtaining insurer consent, violates
                                               the cooperation obligations of the policyholders and results
                                               in the forfeiture of coverage. (Obj. ¶14).
                                            The insurers also challenge the assignment of insurance
                                               policies to the Trust as violative of the insurance contracts.
                                               If successful, they could deprive the Trust of billions of
                                               dollars of insurance assets otherwise available to the non-
                                               debtors to cover their liabilities to abuse victims. (Obj.
                                               ¶15).
                Zuckerman             The Disclosure Statement fails to discuss the insurance coverage          The Disclosure Statement provides further information regarding insurance
                Spaeder   LLP         defenses or provide any assessment of the risks of insurers’ defenses.    coverage for Abuse Claims, including the Debtors’ insurance coverage for
                Claimants [D.I.       (D.I. 6043)                                                               the Local Councils, the Chartered Organizations’ rights under the Debtors’
                6043];    [D.I.                                                                                 Insurance Policies, as well as the insurance coverage defenses asserted by
                3277]                                                                                           Insurance Companies. See Disclosure Statement, Article III.F.

                                                                                                                The Disclosure Statement includes further disclosure with respect to risk
                                                                                                                factors associated with insurance coverage. See Disclosure Statement,
                                                                                                                Articles X.A.21–X.A.25.
                Liberty Mutual        The Disclosure Statement does not explain risks related to the            The Disclosure Statement provides further information regarding insurance
                Insurance             Insurance Companies’ coverage defenses. Debtors neglect to                coverage for Abuse Claims, including the Debtors’ insurance coverage for
                Company,              evaluate risks associated with insurers asserting coverage defenses.      the Local Councils, the Chartered Organizations’ rights under the Debtors’
                together with its     (D.I. 3578 - Obj. ¶ 7.)                                                   Insurance Policies, as well as the insurance coverage defenses asserted by
                affiliates     and                                                                              Insurance Companies. See Disclosure Statement, Article III.F.
                subsidiaries
                (collectively,                                                                                  The Disclosure Statement includes further disclosure with respect to risk
                “Liberty”) [D.I.                                                                                factors associated with insurance coverage. See Disclosure Statement,
                6057];        [D.I.                                                                             Articles X.A.21–X.A.25.
                3578]

                Century               The Disclosure Statement fails to disclose insurance coverage risks.      The Disclosure Statement provides further information regarding insurance
                Indemnity             There is no discussion on the risks associated with Debtors’              coverage for Abuse Claims, including the Debtors’ insurance coverage for
                                                                                            43
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Argument No.       Objecting
                                                          Summary of Argument                                                             Debtors’ Response
& Description       Parties
                Company [D.I.       prepetition conduct, and the risk associated with the proposed             the Local Councils, the Chartered Organizations’ rights under the Debtors’
                6065];      [D.I.   assignment of all the insurance rights of the Debtors, the Local           Insurance Policies, as well as the insurance coverage defenses asserted by
                5214];      [D.I.   Councils, and the Contributing Chartered Organizations to a trust,         Insurance Companies. See Disclosure Statement, Article III.F.
                3856]               including the risk related to the enforcement of anti-assignment
                                    clauses in many of those policies. (D.I. 3856 - Obj. at 25-26.)            The Disclosure Statement includes further disclosure with respect to risk
                                                                                                               factors associated with insurance coverage. See Disclosure Statement,
                                    The Disclosure Statement does not acknowledge Debtors fail to              Articles X.A.21–X.A.25.
                                    cooperate with insurers, the risk of coverage due to the expedited
                                    distribution option, and the risk that the TDP’s claim matrix that
                                    would allow claims barred by the applicable statute of limitations or
                                    failure to timely file a proof of claim. (D.I. 3856 - Obj. at 26.)

                AIG Companies       The Disclosure Statement should disclose that the AIG Companies            The Disclosure Statement provides further information regarding insurance
                [D.I. 3523]         and other Insurance Companies have meritorious coverage defenses           coverage for Abuse Claims, including the Debtors’ insurance coverage for
                                    that may substantially reduce the amount of available coverage and         the Local Councils, the Chartered Organizations’ rights under the Debtors’
                                    that coverage will be subject to expensive and time-consuming              Insurance Policies, as well as the insurance coverage defenses asserted by
                                    litigation in which any Non-Settling Insurance Companies could             Insurance Companies. See Disclosure Statement, Article III.F.
                                    raise significant coverage defenses, such as exhaustion of underlying
                                    limits. (Obj. ¶¶ 30-31).                                                   The Disclosure Statement includes further disclosure with respect to risk
                                                                                                               factors associated with insurance coverage. See Disclosure Statement,
                                    The Disclosure Statement does not have enough disclosures                  Articles X.A.21–X.A.25.
                                    regarding the various insurance coverage risks and contains
                                    misleading information about the AIG policies. (Obj. ¶¶ 39-41).

                                    Debtors should describe the risks associated with (a) their proposed
                                    treatment of self-insured retentions and allocation of deductibles and
                                    (b) their attempts to transfer policy coverage to the Settlement Trust
                                    in the face of anti-assignment provisions. (Obj. ¶ 31.) The Disclosure
                                    Statement should also disclose that the Insurance Assignment may
                                    violate any anti-assignment provisions in those policies, resulting in
                                    a diminished corpus of the Settlement Trust. (Obj. ¶ 36.). It is unclear
                                    whether federal preemption of anti-assignment provisions can or
                                    should apply in any context other than where section 524(g) of the
                                    Bankruptcy Code is applicable. (Obj. ¶ 36.)

                                    AIG disputes the alleged lost policies and the Disclosure Statement
                                    needs to clarify that the settlement trust may be reduced as a result.
                                    (Obj. ¶ 47).




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Argument No.       Objecting
                                                           Summary of Argument                                                            Debtors’ Response
& Description       Parties

                Edward               There is a failure to explain the likelihood of defeating the insurers’   The Disclosure Statement includes further disclosure with respect to risk
                Marcelino,           coverage defenses or the insurance companies’ ability to pay abuse        factors associated with insurance coverage. See Disclosure Statement,
                George Burgos,       claims that total billions of dollars. (Obj. ¶ 3.)                        Articles X.A.21–X.A.25.
                William       F.
                Tompkins     III,
                and Richard G.
                Dunn [D.I. 2960]
                Tort Claimants’      The Disclosure Statement “should provide more in-depth disclosure         The Disclosure Statement provides further information regarding insurance
                Committee [D.I.      regarding the carriers with substantial coverage exposure, e.g.,          coverage for Abuse Claims, including the Debtors’ insurance coverage for
                3526]                Century and Hartford at a minimum” – the Disclosure Statement             the Local Councils, the Chartered Organizations’ rights under the Debtors’
                                     lacks adequate information regarding coverage under Century and           Insurance Policies, as well as the insurance coverage defenses asserted by
                                     Hartford policies in certain years. (Obj. ¶ 65.). The Disclosure          Insurance Companies. See Disclosure Statement, Article III.F.
                                     Statement does not disclose risks that certain insurers may not have
                                     the ability to pay per policy limits, which may limit payment per         The Disclosure Statement includes further disclosure with respect to risk
                                     occurrence to $500,000, which is not adequate compensation. (Obj.         factors associated with insurance coverage. See Disclosure Statement,
                                     ¶ 66.)                                                                    Articles X.A.21–X.A.25.

                                     The Disclosure Statement does not disclose that certain insurance
                                     policies have been exhausted. (Obj. ¶ 72.) The Disclosure Statement
                                     does not disclose the risks that certain insurers may not have the
                                     ability to pay per policy limits. (Obj. ¶ 73.)

                                     The Disclosure Statement does not disclose insurance coverage risks
                                     regarding assignment of Local Councils’ insurance policies in
                                     contravention of anti-assignment provisions. (Obj. ¶ 109.)

                Allianz Global       Debtors have not disclosed the risks related to insurance coverage        The Disclosure Statement includes further disclosure with respect to risk
                Risks          US    defenses. (Obj. ¶ 5.)                                                     factors associated with insurance coverage. See Disclosure Statement,
                Insurance                                                                                      Articles X.A.21–X.A.25.
                Company,
                National Surety
                Corporation, and
                Interstate Fire &
                Casualty
                Company
                (collectively, the
                “Allianz




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Argument No.           Objecting
                                                                 Summary of Argument                                                                Debtors’ Response
& Description            Parties
                    Insurers”) [D.I.
                    3549]13
10) Adequate        SUMMARY OF           The Disclosure Statement fails to disclose how insurance                     DEBTORS HAVE ADDED DISCLOSURE
Disclosure –        ARGUMENTS            proceeds assigned to the trust will be utilized or the risks
Insurance                                associated with it.                                                          The Plan provides for the assignment and transfer to the Settlement Trust
Utilization                                                                                                           of all of the insurance rights of all of the BSA, Local Councils,Contributing
                                                                                                                      Chartered Organizations and certain insurance rights of Participating
                                                                                                                      Chartered Organizations under insurance policies of the Debtors, Local
                                                                                                                      Councils, Participating Chartered Organizations, and such Contributing
                                                                                                                      Chartered Organizations, thereby providing the potential for substantial
                                                                                                                      insurance recoveries to holders of Direct Abuse Claims. See Disclosure
                                                                                                                      Statement, Article II.D. To facilitate the Insurance Assignment, protect the
                                                                                                                      Settlement Trust, and preserve the Settlement Trust Assets, pursuant to the
                                                                                                                      equitable jurisdiction and power of the Bankruptcy Court and the District
                                                                                                                      Court under section 105(a) of the Bankruptcy Code, the Bankruptcy Court
                                                                                                                      shall issue the Insurance Entity Injunction set forth in Article X.H of the
                                                                                                                      Plan. See Disclosure Statement, Article VI.Q.4.
                                                                                                                      The Disclosure Statement explains that the assets contributed to the
                                                                                                                      Settlement Trust will be administered by the Settlement Trustee and used
                                                                                                                      to resolve Abuse Claims in accordance with the Settlement Trust
                                                                                                                      Documents, including the Settlement Trust Agreement and the Trust
                                                                                                                      Distribution Procedures. See Disclosure Statement, Article II.D; see also
                                                                                                                      Plan, Exhibit A, Trust Distribution Procedures and Plan, Exhibit B,
                                                                                                                      Settlement Trust Agreement.

                                                                                                                      The Trust Agreement provides that the Settlement Trust Assets, which
                                                                                                                      include the Insurance Policies, shall be used to pay Abuse Claims as well
                                                                                                                      as compensate the Trustee and reimburse expenses of the Trustee. See Plan,
                                                                                                                      Exhibit B, Settlement Trust Agreement, Article II.

                                                                                                                      The Disclosure Statement now includes further disclosure with respect to
                                                                                                                      risk factors associated with insurance coverage. See Disclosure Statement,
                                                                                                                      Articles X.A.21–X.A.25

                    Saunders        &    The Disclosure Statement fails to disclose how insurance policies            The Disclosure Statement explains that the assets contributed to the
                    Walker               assigned to the trust will be utilized, including whether the proceeds       Settlement Trust will be administered by the Settlement Trustee and used
                    Claimants    [D.I.   of a policy that covers a Claimant’s claim is being used to pay              to resolve Abuse Claims in accordance with the Settlement Trust
                    5366]                administrative expenses, to pay trust administrative and legal               Documents, including the Settlement Trust Agreement and the Trust

  13   The following parties join in this objection: (a) Clarendon National Insurance Company [D.I. 3558]; (b) Continental Insurance Company [D.I. 3582]; (c) Arch Insurance Company [D.I. 6053]; and
       (d) General Star Indemnity Company [D.I. 3740]
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Argument No.       Objecting
                                                          Summary of Argument                                                            Debtors’ Response
& Description       Parties
                                    expenses, or to compensate others who do not have a claim covered         Distribution Procedures. See Disclosure Statement, Article II.D; see also
                                    under the same policy. (See, e.g., Obj. ¶¶ 16-18.)                        Plan, Exhibit A, Trust Distribution Procedures and Plan, Exhibit B,
                                                                                                              Settlement Trust Agreement.

                                                                                                              The Trust Agreement provides that the Settlement Trust Assets, which
                                                                                                              include the Insurance Policies, shall be used to pay Abuse Claims as well
                                                                                                              as compensate the Trustee and reimburse expenses of the Trustee. See Plan,
                                                                                                              Exhibit B, Settlement Trust Agreement, Article II.
                Plaintiff   Law     The Disclosure Statement fails to disclose how insurance policies         The Disclosure Statement explains that the assets contributed to the
                Firms [D.I. 5955    assigned to the trust will be utilized, including whether the proceeds    Settlement Trust will be administered by the Settlement Trustee and used
                et al.]             of a policy that covers a Claimant’s claim is being used to pay           to resolve Abuse Claims in accordance with the Settlement Trust
                                    administrative expenses, to pay trust administrative and legal            Documents, including the Settlement Trust Agreement and the Trust
                                    expenses, or to compensate others who do not have a claim covered         Distribution Procedures. See Disclosure Statement, Article II.D; see also
                                    under the same policy. (See, e.g., Obj. ¶¶ 16-18 [D.I. 2449].)            Plan, Exhibit A, Trust Distribution Procedures and Plan, Exhibit B,
                                                                                                              Settlement Trust Agreement.

                                                                                                              The Trust Agreement provides that the Settlement Trust Assets, which
                                                                                                              include the Insurance Policies, shall be used to pay Abuse Claims as well
                                                                                                              as compensate the Trustee and reimburse expenses of the Trustee. See Plan,
                                                                                                              Exhibit B, Settlement Trust Agreement, Article II.
                Century             The Disclosure Statement fails to disclose how insurance proceeds         The Disclosure Statement explains that the assets contributed to the
                Indemnity           assigned to the trust will be utilized or the risks associated with it.   Settlement Trust will be administered by the Settlement Trustee and used
                Company     [D.I.   The Disclosure Statement should disclose if insurance proceeds go         to resolve Abuse Claims in accordance with the Settlement Trust
                6065];      [D.I.   toward compensating claimants who do not have a claim under the           Documents, including the Settlement Trust Agreement and the Trust
                5214];      [D.I.   same policy or if the proceeds go solely toward the named insured.        Distribution Procedures. See Disclosure Statement, Article II.D; see also
                3856]               The Disclosure Statement should disclose whether insurance                Plan, Exhibit A, Trust Distribution Procedures and Plan, Exhibit B,
                                    proceeds would pay administrative, trust, and legal expenses. (Obj.       Settlement Trust Agreement.
                                    at 27-28.)
                                                                                                              The Trust Agreement provides that the Settlement Trust Assets, which
                                                                                                              include the Insurance Policies, shall be used to pay Abuse Claims as well
                                                                                                              as compensate the Trustee and reimburse expenses of the Trustee. See Plan,
                                                                                                              Exhibit B, Settlement Trust Agreement, Article II.

                                                                                                              The Disclosure Statement now includes further disclosure with respect to
                                                                                                              risk factors associated with insurance coverage. See Disclosure Statement,
                                                                                                              Articles X.A.21–X.A.25
11) Adequate    SUMMARY OF          The Disclosure Statement fails to disclose the contribution of            DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    ARGUMENTS           insurers and their insureds in order to receive a release.
Insurance                                                                                                     The Disclosure Statement now indicates that with respect to Settling
Contribution                                                                                                  Insurance Companies, as of this filing, there is one Settling Insurance
                                                                                                              Company participating in the Plan. See Disclosure Statement, Article II.A
                                                                                          47
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Argument No.       Objecting
                                                          Summary of Argument                                                           Debtors’ Response
& Description       Parties
                                                                                                             and Article V.R. The settlement and contribution to be made by Hartford
                                                                                                             is described in the Disclosure Statement, including Article V.R.3 of the
                                                                                                             Disclosure Statement.

                                                                                                             The Debtors have added information about the potential parties that could
                                                                                                             be included in a release and the status of Contributing Charted
                                                                                                             Organizations, Settling Insurers and Local Councils. See Plan, Article X.J;
                                                                                                             Disclosure Statement, Articles II.E, II.G, V.R and VI.Q.
                Saunders       &    The Disclosure Statement fails to disclose the contribution of           The Disclosure Statement now indicates that with respect to Settling
                Walker              insurers and their insureds in order to receive a release. (See, e.g.,   Insurance Companies, as of this filing, there is one Settling Insurance
                Claimants   [D.I.   Obj. ¶ 20.)                                                              Company participating in the Plan. See Disclosure Statement, Article II.A
                5366]                                                                                        and Article V.R. The settlement and contribution to be made by Hartford
                                                                                                             is described in the Disclosure Statement, including Article V.R.3 of the
                                                                                                             Disclosure Statement.

                                                                                                             The Debtors have added information about the potential parties that could
                                                                                                             be included in a release and the status of Contributing Charted
                                                                                                             Organizations, Settling Insurers and Local Councils. See Plan, Article X.J;
                                                                                                             Disclosure Statement, Articles II.E, II.G, V.R and VI.Q.
                Aylstock,           The Disclosure Statement fails to explain what contribution the          The Disclosure Statement now indicates that with respect to Settling
                Witkin, Kreis &     insurers, their non-Debtor insureds, Local Councils and/or Chartered     Insurance Companies, as of this filing, there is one Settling Insurance
                Overholtz, PLLC     Organizations will make in order to receive a release. (Obj. ¶ 4.)       Company participating in the Plan. See Disclosure Statement, Article II.A
                Claimants [D.I.                                                                              and Article V.R. The settlement and contribution to be made by Hartford
                3274]                                                                                        is described in the Disclosure Statement, including Article V.R.3 of the
                                                                                                             Disclosure Statement.

                                                                                                             The Debtors have added information about the potential parties that could
                                                                                                             be included in a release and the status of Contributing Charted
                                                                                                             Organizations, Settling Insurers and Local Councils. See Plan, Article X.J;
                                                                                                             Disclosure Statement, Articles II.E, II.G, V.R and VI.Q.
                Plaintiff   Law     The Disclosure Statement fails to disclose the contribution of           The Disclosure Statement now indicates that with respect to Settling
                Firms [D.I. 5955    insurers and their insureds in order to receive a release. (See, e.g.,   Insurance Companies, as of this filing, there is one Settling Insurance
                et al.]             Obj. ¶ 19 [D.I. 2449].)                                                  Company participating in the Plan. See Disclosure Statement, Article II.A
                                                                                                             and Article V.R. The settlement and contribution to be made by Hartford
                                                                                                             is described in the Disclosure Statement, including Article V.R.3 of the
                                                                                                             Disclosure Statement.

                                                                                                             The Debtors have added information about the potential parties that could
                                                                                                             be included in a release and the status of Contributing Charted
                                                                                                             Organizations, Settling Insurers and Local Councils. See Plan, Article X.J;
                                                                                                             Disclosure Statement, Articles II.E, II.G, V.R and VI.Q.
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Argument No.       Objecting
                                                          Summary of Argument                                                             Debtors’ Response
& Description        Parties
                Edward              There is a failure to explain what contribution the insurers and their     The Disclosure Statement now indicates that with respect to Settling
                Marcelino,          non-Debtor insureds will make in order to receive a release. (Obj. ¶       Insurance Companies, as of this filing, there is one Settling Insurance
                George Burgos,      6.)                                                                        Company participating in the Plan. See Disclosure Statement, Article II.A
                William       F.                                                                               and Article V.R. The settlement and contribution to be made by Hartford
                Tompkins     III,                                                                              is described in the Disclosure Statement, including Article V.R.3 of the
                and Richard G.                                                                                 Disclosure Statement.
                Dunn [D.I. 2960]
                                                                                                               The Debtors have added information about the potential parties that could
                                                                                                               be included in a release and the status of Contributing Charted
                                                                                                               Organizations, Settling Insurers and Local Councils. See Plan, Article X.J;
                                                                                                               Disclosure Statement, Articles II.E, II.G, V.R and VI.Q.
12) Adequate    SUMMARY OF          The insurers argue that the assignment of insurance policies to            DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    ARGUMENTS           the Settlement Trust violates insurance contracts. The
Insurance                           Disclosure Statement does not provide adequate information to              The Disclosure Statement now provides further information on insurance
Assignment                          allow a reasonable claimant to appreciate the material risks of            assignment risks. See Disclosure Statement, Article X.A.24.
                                    insurers’ positions on these key issues.

                Plaintiff   Law     The insurers argue that the assignment of insurance policies to the        The Disclosure Statement now provides further information on insurance
                Firms [D.I. 5955    Settlement Trust violates insurance contracts. If successful in the        assignment risks. See Disclosure Statement, Articles III.F.6 and X.A.24.
                et al.]             anti-assignment arguments, insurers would deprive the Settlement
                                    Trust of billions of dollars. The Disclosure Statement does not
                                    provide adequate information to allow a reasonable claimant to
                                    appreciate the material risks of insurers’ positions on these key
                                    issues. (See, e.g., Obj. ¶ 25 [D.I. 5964]).
                Herman      Law     The insurers challenge the assignment of insurance policies to the         The Disclosure Statement now provides further information on insurance
                Claimants   [D.I.   Settlement Trust as violative of the insurance contracts. If successful,   assignment risks. See Disclosure Statement, Articles III.F.6 and X.A.24.
                6032]               they could deprive the Settlement Trust of billions of dollars of
                                    insurance assets otherwise available to the non-debtors to cover their
                                    liabilities to abuse victims. (Obj. ¶15).
                Zuckerman           The Disclosure Statement fails to discuss any risks associated with        The Disclosure Statement now provides further information on insurance
                Spaeder   LLP       the proposed assignment of insurance policies to a trust and any risks     assignment risks. See Disclosure Statement, Articles III.F.6 and X.A.24.
                Claimants [D.I.     that the insurance provisions would effectively cap the insurers’
                6043];    [D.I.     contributions or that the Trust Distribution Procedures would not be
                3277]               binding on the insurers. (D.I. 6043 - Obj. ¶ 5).
13) Adequate    SUMMARY OF          The Disclosure Statement does not disclose the insurers’                   DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    ARGUMENTS           argument that the TDP values are not binding on the insurers
TDP Binding                         and that their duty to indemnify their insureds may be capped at           The Disclosure Statement provides additional disclosure regarding the risk
Effect on                           the amounts their insureds paid into the Trust. The Disclosure             factors associated with distributions under the Trust Distribution
Insurance                           Statement must disclose that the law remains unsettled and that            Procedures. See Disclosure Statement Articles X.A.13; III.F.6
Parties                             if the TDP awards are not binding, and if the exposure of the

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Argument No.       Objecting
                                                           Summary of Argument                                                               Debtors’ Response
& Description       Parties
                                    insurers are capped at their contribution, an abuse claimant may
                                    receive a fraction of the amount of their claim.
                Plaintiff   Law     The Disclosure Statement does not disclose the insurers’ argument           The Disclosure Statement provides additional disclosure regarding the risk
                Firms [D.I. 5955    that the TDP values are not binding on the insurers and that their duty     factors associated with distributions under the Trust Distribution
                et al.]             to indemnify their insureds may be capped at the amounts their              Procedures. See Disclosure Statement Articles X.A.13; III.F.6
                                    insureds paid into the Trust (citing Fuller-Austin Insulation Co. v.
                                    Highlands Ins. Co., 135 Cal. App. 4th 958 (Cal. Ct. App. 2006); UNR
                                    Indus., Inc. v. Continental Casualty Co., 942 F.2d 1101 (7th Cir.
                                    1991); National Union Fire Ins. Co. of Pittsburgh v. Porter Hayden
                                    Co., 2012 U.S. Dist. LEXIS 29568 (D. Md. Mar. 6, 2012)). The
                                    Disclosure Statement must disclose that the law remains unsettled
                                    and that if the TDP awards are not binding, and if the exposure of the
                                    insurers are capped at their contribution, an abuse claimant may
                                    receive a fraction of the amount of their claim. (See, e.g., Obj. ¶ 26
                                    [D.I. 5964]).
                Herman      Law     The Debtors proclaim that the TDP may result in creditors                   The Disclosure Statement provides additional disclosure regarding the risk
                Claimants   [D.I.   receiving up to 100% of the value assigned to their claim under the         factors associated with distributions under the Trust Distribution
                6032]               TDP, but they fail to disclose or discuss the insurers’ argument that       Procedures. See Disclosure Statement Articles X.A.13; III.F.6.
                                    those values are not binding on the insurers and that their duty to
                                    indemnify their insureds may be capped at the amounts their insureds
                                    paid into the Trust. The law is unsettled and conflicting and the
                                    Amended Disclosure Statement must disclose the material risk that
                                    the trust distribution awards are not binding and exposure of the
                                    insurers may be capped at the contribution of their insureds. (Obj.
                                    ¶16).
14) Adequate                        Though language was added to the Disclosure Statement to address            DEBTORS HAVE AMENDED THE PLAN
Disclosure –    Liberty     [D.I.   Liberty’s Original Objection – "Neither any provision in the Plan nor
Insurance       6057];      [D.I.   the occurrence of the Effective Date shall alter, amend, or otherwise       The Plan has been updated to reflected with respect to letters of credit rights.
Setoff          3578]               impair the rights and obligations of BSA, JPM, or any applicable            See Plan, Article V.V.h.
                                    Insurance Company holding one or more Insurer LCs." Disclosure
                                    Statement, Article III.F.7 – such language remains missing from the
                                    Plan. The Disclosure Statement and Plan contain contradictory
                                    language providing that the only recourse Liberty may have to satisfy
                                    any amounts that come due under the LM Policies is to assert an
                                    Indirect Abuse Claim against the Settlement Trust. See DS, Art.
                                    VI.Q.2.a. (Obj. ¶ 12). The Debtors must address this inconsistency
                                    by either (i) if the intent is to leave unaffected Liberty’s right to set
                                    off claims against its Security, the Disclosure Statement and the Plan,
                                    must make that point explicit; or (ii) if the intent is to eliminate such
                                    recourse, the Disclosure Statement must be amended to clarify that
                                    point and to explain both the legal justification for such action and
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Argument No.        Objecting
                                                         Summary of Argument                                                            Debtors’ Response
& Description        Parties
                                   how the Plan can be insurance neutral in the face of such a provision.
                                   (Obj. ¶ 13).
15) Adequate     SUMMARY OF        The Disclosure Statement provides misleading, incorrect, and              DEBTORS HAVE ADDED DISCLOSURE
Disclosure –     ARGUMENTS         incomplete information concerning the effect of uncapped, per-
Insurance                          occurrence self-insured retentions (“SIRs”)                               The Disclosure Statement now includes further disclosure with respect to
Coverage Issue                                                                                               the BSA’s insurance program, which addresses the disputes between certain
Dispute                            The Disclosure Statement must explain why a claim for payment             carriers and the BSA, including SIRs. See Disclosure Statement, Article
                                   of a deductible or SIR is being treated as a subordinated Indirect        III.F.1.
                                   Abuse Claim and not as a breach of contract claim, as well as
                                   why the Settlement Trust cannot satisfy deductibles and SIRs or,          Adequate information regarding self-insured retentions, including relevant
                                   if the Debtors are simply choosing not to satisfy such amounts,           risk factors related to insurance, is now set forth in the Disclosure
                                   the Disclosure Statement should explain that such anticipatory            Statement. See the Disclosure Statement, Article III.F.1, and Article
                                   breach jeopardizes insurance coverage.                                    X.A.23.

                 Liberty   [D.I.   The Disclosure Statement fails to explain the legal bases for (i)         The Disclosure Statement now includes further disclosure with respect to
                 6057];    [D.I.   shifting onto Liberty and the other Insurance Companies the               the BSA’s insurance program, which addresses the disputes between certain
                 3578]             obligation to satisfy any deductible or SIRs; (ii) treating a claim for   carriers and the BSA, including SIRs. See Disclosure Statement, Article
                                   payment of a deductible or SIR as a subordinated Indirect Abuse           III.F.1.
                                   Claim and not as a breach of contract claim; (iii) subordinating such
                                   claims to payment in full of Direct Abuse Claims; and (iv)                Adequate information regarding self-insured retentions, including relevant
                                   terminating Liberty’s right to seek payment of a deductible or SIR        risk factors related to insurance, is now set forth in the Disclosure
                                   from non-debtor entities, such as the Local Councils and Chartered        Statement. See the Disclosure Statement, Article III.F.1, and Article
                                   Organizations. (Obj. ¶ 14).                                               X.A.23.

                                   Although the Plan and Disclosure Statement no longer explicitly
                                   require Liberty to satisfy any deductible or SIR, deductible is still
                                   included in the definition of Indirect Abuse Claim. Disclosure
                                   Statement Art. VII.B.3.b., Article II.G. If the intent is to require
                                   Liberty to satisfy such amounts, the Disclosure Statement must
                                   explain why a claim for payment of a deductible or SIR is being
                                   treated as a subordinated Indirect Abuse Claim and not as a breach
                                   of contract claim, as well as why the Settlement Trust cannot satisfy
                                   deductibles and SIRs or, if the Debtors are simply choosing not to
                                   satisfy such amounts, the Disclosure Statement should explain that
                                   such anticipatory breach jeopardizes insurance coverage under the
                                   LM Policies. (Obj. ¶¶ 22-24).
                 American Zurich   The Disclosure Statement provides misleading, incorrect, and              The Disclosure Statement now includes further disclosure with respect to
                 Insurance         incomplete information concerning the effect of uncapped, per-            the BSA’s insurance program, which addresses the disputes between certain
                 Company,          occurrence self-insured retentions (“SIRs”) applicable to the excess      carriers and the BSA. See Disclosure Statement, Article III.F.1.
                 American          policies issued by the Insurers to the BSA and most other policies
                 Guarantee and     issued to BSA in 1986 or later. (Obj. at 2).
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Argument No.        Objecting
                                                            Summary of Argument                                                           Debtors’ Response
& Description        Parties
                Liability             Absent a clear disclosure that insurance coverage for Abuse Claims       Adequate information regarding self-insured retentions, including relevant
                Insurance             will be reduced or negated by the Debtors’ (or the Trust’s) failure to   risk factors related to insurance, is now set forth in the Disclosure
                Company,              satisfy applicable SIRs, Abuse Claimants could be falsely lulled into    Statement. See the Disclosure Statement, Article III.F.1 and Article
                Steadfast             accepting a Plan that may provide little benefit for them. (Obj. at 4-   X.A.23.
                Insurance             5).
                Company, The
                Continental           The Disclosure Statement confusingly muddles the issues by
                Insurance             attempting to conflate deductibles contained in the primary layer of
                Company,              coverage with the SIRs contained in policies above the primary layer.
                Columbia              Unlike deductibles, SIRs function as conditions precedent to
                Casualty              coverage; an insured must satisfy, or pay, the full amount of any
                Company,              applicable SIRs as a pre-condition to accessing coverage sitting
                Allianz Global        above the SIRs. (Obj. at 8-10).
                Risks           US
                Insurance             The Disclosure Statement is affirmatively misleading in describing
                Company,              the Settlement Trust’s responsibility with respect to SIRs because it
                National Surety       suggests that excess insurers will have to pay SIR amounts and then
                Corporation,          assert Indirect Abuse Claims against the Settlement Trust to recover
                Interstate Fire &     their SIR payments. This suggestion is contrary to law. See In re
                Casualty              Amatex Corp., 107 B.R. 856, 859 (E.D. Pa. 1989), aff’d, 908 F.2d
                Company,              961 (3d. Cir. 1990), (holding that Stonewall was entitled to withhold
                Clarendon             the ‘self-insured retention’ sum, rather than paying over this amount
                America               and then filing a claim for it. (Obj. at 14-15).
                Insurance
                Company,
                General        Star
                Indemnity
                Company, and
                Arrowood
                Indemnity
                Company
                (collectively, the
                “Insurers”) [D.I.
                6062]
                Century               The Disclosure Statement fails to explain how either proposed Plan       The Disclosure Statement now includes further disclosure with respect to
                Indemnity             will treat SIRs and the risks with failing to properly treat SIRs. If    the BSA’s insurance program, which addresses the disputes between certain
                Company [D.I.         Debtors will transform SIRs into indirect abuse claims to be paid by     carriers and the BSA. See Disclosure Statement, Article III.F.1.
                6065];        [D.I.   the settlement trust, they must explain this decision. The Disclosure
                5214];        [D.I.   Statement should explain whether the Plan permits Century to pursue      Adequate information regarding self-insured retentions, including relevant
                3856]                 its SIR claims against Local Councils and if not, the basis. (Obj. at    risk factors related to insurance, is now set forth in the Disclosure
                                      31-32).

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Argument No.           Objecting
                                                                 Summary of Argument                                                                Debtors’ Response
& Description           Parties
                                                                                                                      Statement.     See the Disclosure Statement, Article III.F.1, and Article
                                                                                                                      X.A.23.

                                                                                                                      Pursuant to the Plan, Indirect Abuse Claims include SIRs. See Disclosure
                                                                                                                      Statement, Article III.F.1; see also Plan, Article IV.V.

                    American Zurich      Disclosure Statement fails to notify Abuse Claimants and other               The Disclosure Statement now includes further disclosure with respect to
                    Insurance            parties in interest that much of the excess insurance coverage               the BSA’s insurance program, which addresses the disputes between certain
                    Company,             purchased by the BSA (particularly policies purchased in 1986 and            carriers and the BSA. See Disclosure Statement, Article III.F.1.
                    American             thereafter) is subject to self-insured retentions (“SIRs”) of at least $1
                    Guarantee and        million that either must be satisfied before coverage can be accessed        Adequate information regarding self-insured retentions, including relevant
                    Liability            under those policies or, possibly, withheld from any payments                risk factors related to insurance, is now set forth in the Disclosure
                    Insurance            otherwise owed by excess insurers to Abuse Claimants. (Obj. at 1.)           Statement. See the Disclosure Statement, Article III.F.1, and Article
                    Company, and                                                                                      X.A.23
                    Steadfast            The existence of SIRs in Debtors’ coverage is barely acknowledged
                    Insurance            in the Plan and the Disclosure Statement. The Disclosure Statement
                    Company              is completely silent on issues that would be important for Abuse
                    (collectively, the   Claimants to consider (i.e., whether excess insurance coverage
                    “Zurich              would or might be available to pay his claim, if allowed; whether his
                    Insurers”)           recovery will be reduced by the amount of applicable SIRs; the
                    [D.I. 3478]14        projected amount of trust funds that would be expended to satisfy
                                         SIRs). (Obj. at 4-5.)

                                         The Disclosure Statement is misleading in describing the Settlement
                                         Trust’s responsibility with respect to SIRs; the suggestion that excess
                                         insurers will have to pay SIR amounts and then assert Indirect Abuse
                                         Claims against the Settlement Trust to recover their SIR payments is
                                         contrary to law. (Obj. at 6.)

                                         The “risk factors” must be modified to add a discussion of the risk
                                         that the excess insurers will successfully assert that their payment
                                         obligations are limited or eliminated by the SIRs, which would affect
                                         the potential insurance recoveries of Abuse Claimants. (Obj. at 5.)
16) Adequate        SUMMARY OF           The Disclosure Statement lacks any substantive discussion                    DEBTORS HAVE ADDED DISCLOSURE
Disclosure –        ARGUMENTS            regarding the number of Abuse Claims and types of Abuse.
Public                                                                                                                The Disclosure Statement provides adequate information regarding Abuse
Information on                                                                                                        Claims. The Debtors retained Bates White to evaluate Abuse Claims. See
Abuser, Type                                                                                                          Disclosure Statement, Article V.D. The Disclosure Statement provides a

  14   The following parties join in this objection: (a) Arrowood Indemnity Company [D.I. 5208]; (b) Clarendon National Insurance [D.I. 3558]; (c) Continental Insurance Company [D.I. 3582]; and (d)
       Arch Insurance Company [D.I. 6053]
                                                                                                  53
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Argument No.        Objecting
                                                          Summary of Argument                                                           Debtors’ Response
 & Description       Parties
of Abuse and                                                                                                 thorough discussion of Bates White’s estimate as to the range of value of
Number of                                                                                                    Abuse Claims.
Abused
                                                                                                             The Disclosure Statement now contains additional statistical information
                                                                                                             about the Abuse Claims, including severity and applicable Local Council,.
                                                                                                             See Disclosure Statement, Article V.N.

                                                                                                             Exhibit F to the Disclosure Statement contains charts listing the Abuse
                                                                                                             Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                                                                                                             Local Council and allegation type, and (iv) counts by Chartered
                                                                                                             Organizations. See Disclosure Statement, Exhibit F, Abuse List Claims
                                                                                                             Composite.

                                                                                                             Bates White’s estimated valuation range does not include valuations of
                                                                                                             Abuse Claims with respect to each individual Local Council and Chartered
                                                                                                             Organization because, as explained further in the Disclosure Statement,
                                                                                                             performing such an exercise would not likely establish reliable estimates
                                                                                                             due to the data currently available. See Disclosure Statement, Article V.N.



                 Pro Se Claimant    There is no public statistical information about which portion of        The Disclosure Statement provides adequate information regarding Abuse
                 242 [D.I. 6027];   claimants allege abuse in the Cub Scout program; or the Boy Scout        Claims The Debtors retained Bates White to evaluate Abuse Claims. See
                 [D.I. 2386]        program; or older-youth programs such as Exploring and Sea Scouts;       Disclosure Statement, Article V.D. The Disclosure Statement provides a
                                    or only allege abuse by a person who was or purported to be a Scout      thorough discussion of Bates White’s estimate as to the range of value of
                                    leader, but in a non-Scout setting; or who have not even specified       Abuse Claims. The Disclosure Statement now contains additional statistical
                                    details sufficient to distinguish between those cases in their claims.   information about the Abuse Claims, including severity and applicable
                                    (D.I. 6027 - Obj. at 4).                                                 Local Council,. See Disclosure Statement, Article V.N.

                                                                                                             Exhibit F to the Disclosure Statement contains charts listing the Abuse
                                                                                                             Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                                                                                                             Local Council and allegation type, and (iv) counts by Chartered
                                                                                                             Organizations. See Disclosure Statement, Exhibit F, Abuse List Claims
                                                                                                             Composite.

                 Tort Claimants’    The Disclosure Statement lacks any “substantive discussion               The Disclosure Statement provides adequate information regarding Abuse
                 Committee [D.I.    regarding the number or type of claims and a range of values of the      Claims The Debtors retained Bates White to evaluate Abuse Claims. See
                 3526]              childhood sexual abuse claims”, which should include, at a               Disclosure Statement, Article V.D. The Disclosure Statement provides a
                                    minimum: the number of unique claims, the state or jurisdiction          thorough discussion of Bates White’s estimate as to the range of value of
                                    claims arose by abuse category and number, year or years in which        Abuse Claims. The Disclosure Statement now contains additional statistical
                                    claims arose by abuse category and number, description of claims by
                                                                                         54
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Argument No.       Objecting
                                                           Summary of Argument                                                            Debtors’ Response
& Description       Parties
                                     type of abuse, Local Councils and Chartered Organizations                 information about the Abuse Claims, including severity and applicable
                                     implicated by abuse category and number, and the extent of the            Local Council. See Disclosure Statement, Article V.N.
                                     undercount in the foregoing categories resulting from the Boy
                                     Scouts’ electronic review of the claims that does not reflect             Exhibit F to the Disclosure Statement contains charts listing the Abuse
                                     information that may be in the proof of claim but not in the “correct”    Claims (i) by allegation type, (ii) counts by Local Council, (iii) counts by
                                     data field, e.g. the date of the abuse is in a narrative but not in the   Local Council and allegation type, and (iv) counts by Chartered
                                     data field for the date of the abuse. (Obj. ¶¶ 41, 44.)                   Organizations. See Disclosure Statement, Exhibit F, Abuse List Claims
                                                                                                               Composite.


17) Adequate    SUMMARY OF           The Disclosure Statement fails to provide an estimate of the number       DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    ARGUMENTS            of future and unknown claims and is unclear regarding their
Future Claims                        treatment.                                                                The Disclosure Statement explains that under the Plan, Direct Abuse Claims
                                                                                                               include Future Abuse Claims and their treatment under the Plan is the same.
                                                                                                               See Disclosure Statement, Article IV.A.

                                                                                                               The Disclosure Statement also explains that the Settlement Trust
                                                                                                               Agreement shall provide for the continuation of the Future Claimants’
                                                                                                               Representative to represent the interests of holders of Future Abuse Claims.
                                                                                                               The initial Future Claimants’ Representative shall be James L. Patton, Jr.
                                                                                                               so long as he is the Future Claimants’ Representative in the Chapter 11
                                                                                                               Cases as of the Effective Date. See Disclosure Statement, Article VII.A.23.
                                                                                                               The Future Claimant’s Representative supports the Plan and the treatment
                                                                                                               of holders of Future Abuse Claims in accordance with the Plan and Trust
                                                                                                               Distribution Procedures.

                                                                                                               The Disclosure Statement now articulates that Future Abuse Claims are
                                                                                                               within the definition of Direct Abuse Claims under the Plan and treated as
                                                                                                               such. See Disclosure Statement, Article IV.A.
                                     The Disclosure Statement fails to provide an estimate of the number       The Disclosure Statement explains that under the Plan, Direct Abuse Claims
                Lujan & Wolff        of future and unknown claims of Debtors, each local council, each         include Future Abuse Claims and their treatment under the Plan is the same.
                LLP Claimants        chartered organization, and each insurer, as well as the amount of        See Disclosure Statement, Article IV.A.
                [D.I. 6039]; [D.I.   money set aside to compensate such claims, and fails to identify the
                3231]                future claimants’ representative for future and unknown claimants         The Disclosure Statement also explains that the Settlement Trust
                                     with claims against nondebtors. (D.I. 6039 - Obj. ¶ 9).                   Agreement shall provide for the continuation of the Future Claimants’
                                                                                                               Representative to represent the interests of holders of Future Abuse Claims.
                                     The Disclosure Statement fails to identify what unknown claimants         The initial Future Claimants’ Representative shall be James L. Patton, Jr.
                                     would qualify as future claimants entitled to compensation under the      so long as he is the Future Claimants’ Representative in the Chapter 11
                                     Plan. There is also no estimate of the total amount of money that         Cases as of the Effective Date. See Disclosure Statement, Article VII.A.21.
                                     would be set aside or paid for future claimants. (D.I. 3231 - Obj. ¶      The Future Claimant’s Representative supports the Plan and the treatment
                                     16.)
                                                                                           55
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Argument No.       Objecting
                                                           Summary of Argument                                                               Debtors’ Response
& Description       Parties
                                                                                                                of holders of Future Abuse Claims in accordance with the Plan and Trust
                                                                                                                Distribution Procedures.
                United      States   The Plan’s treatment of “Future Claims” is unclear. (Obj. ¶ 23.)           The Disclosure Statement now articulates that Future Abuse Claims are
                Trustee                                                                                         within the definition of Direct Abuse Claims under the Plan and treated as
                [D.I. 3581]                                                                                     such. See Disclosure Statement, Article IV.A.
18) Adequate    Lujan & Wolff        The Disclosure Statement continues to lack adequate information            DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    LLP Claimants        regarding claims against Debtors’ estate to allow creditors to have
Claims          [D.I. 6039]; [D.I.   notice and meaningful opportunity to be heard with respect to rights       The Disclosure Statement provides information regarding bar dates and the
Objection       3231]                under Federal Rule of Bankruptcy Procedure 3007. (D.I. 6039 - Obj.         body of claims. See Disclosure Statement, Article V.M. Pursuant to the
                                     ¶ 16)                                                                      Plan, as of the Effective Date, the objections are limited to settlement trustee
                                                                                                                bringing an objection as is customary. See Plan, Exhibit B, Settlement Trust
                                                                                                                Agreement, Section 2.1.
19) Adequate    SUMMARY OF           The Disclosure Statement does not clarify that the distributions           DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    ARGUMENTS            to claimants may be subject first to deductions by counsel, which
Attorneys’                           should be explained. The Disclosure Statement fails to explain             The Disclosure Statement now contains further disclosure regarding
Fees                                 the Debtors’ professional fees.                                            payment of Coalition Restructuring Expenses. See Disclosure Statement,
                                                                                                                Article VI.H.19.

                                                                                                                Fees that the Court has determined are reasonable and customary for the
                                                                                                                services provided have been and will be paid subject to notice and hearing
                                                                                                                pursuant to applicable retention orders unrelated to this Disclosure
                                                                                                                Statement.

                                                                                                                The Disclosure Statement includes information concerning the Debtors’
                                                                                                                and Estate professional fees incurred to date as well as estimates of future
                                                                                                                Estate professional fees. See Disclosure Statement, Article VI.C.
                Century              The disclosure provided about potential payout to claimants is             The Disclosure Statement now contains further disclosure regarding
                Indemnity            misleading, as it provides no information about the monies that are        payment of Coalition Restructuring Expenses. See Disclosure Statement,
                Company      [D.I.   to be paid to lawyers as opposed to claimants. There must be clear         Article VI.H.19.
                6065];       [D.I.   disclosure that the Coalition preserves the right to seek fees in excess
                5214];       [D.I.   of the RSA amounts from the Settlement Trust and that a majority of
                3856]                the governing body of the Settlement Trust consists of Coalition
                                     plaintiff firms. There is also no disclosure of the fact that
                                     distributions to claimants may be subject first to deductions by
                                     counsel or the scale of these deductions. The Disclosure Statement
                                     should contain an explanation of these deductions and a simple pie
                                     chart that sets out the reductions and their source. (D.I. 6065 - Obj.
                                     at 33-34).

                                     The Disclosure Statement does not disclose demands made by the
                                     Coalition for payments to their professionals and state court counsel,
                                                                                           56
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Argument No.        Objecting
                                                            Summary of Argument                                                           Debtors’ Response
& Description        Parties
                                      assurances given, or impact on formation of Plan. (D.I. 3856 - Obj.
                                      at 35.)

                 Zalkin Law Firm      The Debtors should provide disclosure regarding their professional       The Disclosure Statement includes information concerning the Debtors’
                 Claimants [D.I.      fees. (Obj. ¶ 23.)                                                       and Estate professional fees incurred to date as well as estimates of future
                 3276]                                                                                         Estate professional fees. See Disclosure Statement, Article VI.C.
20) Adequate     Century              Disclosure Statement contains misstatements about the nature of           RESOLVED
Disclosure –     Indemnity            Claimant support for the Plan. Given the numerous deficiencies with
Claimant         Company [D.I.        the Coalition and other law firms’ purported representation of a large   The Disclosure Statement no longer contains the specific language Century
Representative   6065];     [D.I.     proportion of abuse claimants [See, e.g., D.I. 1975 at 12–15], the       with which takes issue. See Disclosure Statement, Article II.A
s                5214];     [D.I.     assertion in the Confirmation Hearing Notice and elsewhere that
                 3856]                “every single major creditor constituency” supports the Plan is
                                      misleading. Under the RSA, certain lawyers signed the RSA and only
                                      committed to recommend to their clients to vote in favor of the Plan.
                                      In addition, even if one assumes the clients represented by those
                                      lawyers will vote in favor of the Plan, “major” claimant groups
                                      oppose the Plan. Objections from claimants to the Disclosure
                                      Statement have been filed almost every day(D.I. 6065 - Obj. at 39-
                                      42).
21) Adequate     SUMMARY OF           The Disclosure Statement lacks adequate information regarding            DEBTORS HAVE ADDED DISCLOSURE
Disclosure –     ARGUMENTS            the First Encounter Agreement.
First                                                                                                          The Disclosure Statement has been revised to address the disagreement
Encounter                                                                                                      between the Debtors and certain parties regarding the applicability of the
Agreement                                                                                                      First Encounter Agreement to non-parties. See Disclosure Statement,
                                                                                                               Article III.F.4.

                 Lujan & Wolff        The Disclosure Statement lacks adequate information regarding the        The Disclosure Statement has been revised to address the disagreement
                 LLP Claimants        First Encounter Agreement reached in 1996 between BSA and                between the Debtors and certain parties regarding the applicability of the
                 [D.I. 6039]; [D.I.   Century, including whether it can be enforced as to non-parties. (D.I.   First Encounter Agreement to non-parties. See Disclosure Statement,
                 3231]                6039 - Obj. ¶ 15).                                                       Article III.F.4.

                 The Church of        The Disclosure Statement states that the First Encounter Agreement       The Disclosure Statement has been revised to address the disagreement
                 Jesus Christ of      (“FEA”) governs policies issued by “several of the BSA’s []              between the Debtors and certain parties regarding the applicability of the
                 Latter-day Saints    Insurance Companies[.]” See Disclosure Statement, Article                First Encounter Agreement to non-parties. See Disclosure Statement,
                 [D.I. 6009]; [D.I.   VIII.F.3(D.I. 3263 - Obj. ¶ 32.).                                        Article III.F.4.
                 3263]

22) Adequate     SUMMARY OF           The Disclosure Statement lacks adequate information on the               DEBTORS HAVE ADDED DISCLOSURE
Disclosure –     ARGUMENTS            Hartford Settlement and Debtors’ interest in the valuable
Hartford                              Hartford insurance policies. The Disclosure Statement fails to           The Disclosure Statement now provides additional information regarding a
Settlement                                                                                                     modified Hartford settlement, attached to the Plan as Exhibit I-1 (the
                                                                                           57
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Argument No.       Objecting
                                                           Summary of Argument                                                             Debtors’ Response
& Description       Parties
                                     disclose how the Debtors will allocate the Hartford Settlement            “Hartford Insurance Settlement Agreement”) that will, if approved.
                                     funds.                                                                    supersede the Initial Hartford Settlement Agreement. See Disclosure
                                                                                                               Statement, Article II.A and Article V.R.3. In exchange for Hartford’s $787
                                                                                                               million cash contribution to the Settlement Trust, the Debtors will sell to
                                                                                                               Hartford all liability insurance policies issued by Hartford to the BSA as the
                                                                                                               first named insured, free and clear of all interest in such policies. See id.
                                                                                                               Hartford will be designated as a Settling Insurance Company and a
                                                                                                               Protected Party under the Plan. The Hartford Settlement Contribution is not
                                                                                                               subject to reduction based on any contingency.

                                                                                                               The Hartford Insurance Settlement Agreement provides the following with
                                                                                                               respect to Chartered Organizations’ rights: the Debtors, the Coalition, the
                                                                                                               Future Claimants’ Representative and the Settlement Trust shall secure an
                                                                                                               assignment to the Settlement Trust of, or otherwise resolve to Hartford’s
                                                                                                               satisfaction, Chartered Organizations’ rights or claims to coverage under
                                                                                                               Abuse Insurance Policies issued by Hartford. The Debtors, the Coalition
                                                                                                               and the Future Claimants’ Representative shall use their best efforts to settle
                                                                                                               with the Chartered Organizations. Article V.R.3.h

                                                                                                               The Disclosure Statement includes disclosure regarding that some holders
                                                                                                               of Abuse Claims have objected to the Plan on the basis that, in certain
                                                                                                               jurisdictions, claimants have direct action rights against the BSA Insurance
                                                                                                               Companies, and the BSA cannot sell or dispose of direct actions claimants’
                                                                                                               rights to pursue the BSA Insurance Policies. The Debtors believe that the
                                                                                                               Bankruptcy Court approve an injunction barring derivative claims against
                                                                                                               third party insurers. The Bankruptcy Court has the power to enjoin direct
                                                                                                               action claims and channel those claims to a trust, into which the proceeds
                                                                                                               from insurance policies are channeled. See Disclosure Statement, Article
                                                                                                               III.F.8. Additionally, disclosure has been added concerning risks related to
                                                                                                               challenges to the assignment of Insurance Policies and related rights. Article
                                                                                                               X.A.24


                Lujan & Wolff        The Disclosure Statement fails to disclose whether it still has an        The Disclosure Statement now provides additional information regarding a
                LLP Claimants        interest in Hartford insurance policies for 1976 and 1977 as it appears   modified Hartford settlement, attached to the Plan as Exhibit I-1 (the
                [D.I. 6039]; [D.I.   to have settled these policies with Hartford. [See D.I. 3526 ¶ 8]. If     “Hartford Insurance Settlement Agreement”) that will, if approved.
                3231]                such policies are not property of the estate, there is no argument to     supersede the Initial Hartford Settlement Agreement. See Disclosure
                                     enjoin direct action claimants and coinsureds from asserting rights       Statement, Article II.A and Article V.R.3. In exchange for Hartford’s $787
                                     against these policies, and must be no Insurance Entity Injunction as     million cash contribution to the Settlement Trust, the Debtors will sell to
                                     to these years. Even if these policies are property of the estate, the    Hartford all liability insurance policies issued by Hartford to the BSA as the
                                     Lujan Claimants’ direct action rights and the rights of chartered         first named insured, free and clear of all interest in such policies. See id.
                                                                                           58
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Argument No.    Objecting
                                                 Summary of Argument                                                           Debtors’ Response
& Description    Parties
                            organizations cannot be settled without each of their consent. (D.I.   Hartford will be designated as a Settling Insurance Company and a
                            6039 - Obj. ¶ 10).                                                     Protected Party under the Plan. The Hartford Settlement Contribution is not
                                                                                                   subject to reduction based on any contingency.

                                                                                                   The Hartford Insurance Settlement Agreement provides the following with
                                                                                                   respect to Chartered Organizations’ rights: the Debtors, the Coalition, the
                                                                                                   Future Claimants’ Representative and the Settlement Trust shall secure an
                                                                                                   assignment to the Settlement Trust of, or otherwise resolve to Hartford’s
                                                                                                   satisfaction, Chartered Organizations’ rights or claims to coverage under
                                                                                                   Abuse Insurance Policies issued by Hartford. The Debtors, the Coalition
                                                                                                   and the Future Claimants’ Representative shall use their best efforts to settle
                                                                                                   with the Chartered Organizations. Article V.R.3.h

                                                                                                   The Disclosure Statement includes disclosure regarding that some holders
                                                                                                   of Abuse Claims have objected to the Plan on the basis that, in certain
                                                                                                   jurisdictions, claimants have direct action rights against the BSA Insurance
                                                                                                   Companies, and the BSA cannot sell or dispose of direct actions claimants’
                                                                                                   rights to pursue the BSA Insurance Policies. The Debtors believe that the
                                                                                                   Bankruptcy Court approve an injunction barring derivative claims against
                                                                                                   third party insurers. The Bankruptcy Court has the power to enjoin direct
                                                                                                   action claims and channel those claims to a trust, into which the proceeds
                                                                                                   from insurance policies are channeled. See Disclosure Statement, Article
                                                                                                   III.F.8. Additionally, disclosure has been added concerning risks related to
                                                                                                   challenges to the assignment of Insurance Policies and related rights. Article
                                                                                                   X.A.24

                                                                                                   As described in the Disclosure statement, a Settling Insurance Company
                                                                                                   must make a substantial contribution to the Settlement Trust to resolve the
                                                                                                   Abuse Claims that may be asserted against them in exchange for being
                                                                                                   included as a Protected Party under the Plan and receiving the benefits of
                                                                                                   the Channeling Injunction. Article. II.D. As described in Article II.I of the
                                                                                                   Disclosure Statement, on the Effective Date of the Plan, the Settlement
                                                                                                   Trust will be established for the benefit of holders of Abuse Claims. From
                                                                                                   and after the Effective Date, all Abuse Claims shall be channeled to the
                                                                                                   Settlement Trust, which will be funded by the Settlement Trust Assets. As
                                                                                                   further described in Article VII of this Disclosure Statement, the Settlement
                                                                                                   Trust will administer the Settlement Trust Assets and process, liquidate, and
                                                                                                   pay Abuse Claims in accordance with the applicable Trust Distribution
                                                                                                   Procedures.



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Argument No.       Objecting
                                                          Summary of Argument                                                              Debtors’ Response
& Description       Parties
                                                                                                               The Disclosure Statement includes an explanation regarding the
                                                                                                               justification for entering into the Hartford Insurance Settlement Agreement.
                                                                                                               Article V.R.3

                                                                                                               Additionally, the disclosure statement includes information regarding the
                                                                                                               Hartford Adversary proceeding. Article V.II.2. Moreover, pursuant to the
                                                                                                               Hartford Insurance Settlement Agreement certain claims against the
                                                                                                               Debtors held by Hartford are being released.
                Tort Claimants’     The Disclosure Statement lacks adequate information on the                 The Disclosure Statement now provides additional information regarding a
                Committee [D.I.     Hartford Settlement. (Obj. ¶ 51.)                                          modified Hartford settlement, attached to the Plan as Exhibit I-1 (the
                3526]                                                                                          “Hartford Insurance Settlement Agreement”) that will, if approved.
                                    The Disclosure Statement also fails to explain the implications of the     supersede the Initial Hartford Settlement Agreement. See Disclosure
                                    Hartford settlement for the Hartford coverage sold to the Debtors in       Statement, Article II.A and Article V.R.3. In exchange for Hartford’s $787
                                    1976 and 1977. (Obj. ¶ 70.)                                                million cash contribution to the Settlement Trust, the Debtors will sell to
                                                                                                               Hartford all liability insurance policies issued by Hartford to the BSA as the
                                                                                                               first named insured, free and clear of all interest in such policies. See id.
                                                                                                               Hartford will be designated as a Settling Insurance Company and a
                                                                                                               Protected Party under the Plan. The Hartford Settlement Contribution is not
                                                                                                               subject to reduction based on any contingency.

                Gordon        &     Disclosure Statement fails to disclose how the Debtors will allocate       The Disclosure Statement now provides additional information regarding a
                Partners,   P.A.    the Hartford settlement funds and fails to explain how much each           modified Hartford settlement, attached to the Plan as Exhibit I-1 (the
                Claimants   [D.I.   claimant may receive as a result of the settlement with Hartford,          “Hartford Insurance Settlement Agreement”) that will, if approved.
                2739]               whether each claimant would be forced to release any of their claims       supersede the Initial Hartford Settlement Agreement. See Disclosure
                                    in order to effectuate the settlement, including claims they have          Statement, Article II.A and Article V.R.3. In exchange for Hartford’s $787
                                    against non-Debtor entities, and whether any party, including              million cash contribution to the Settlement Trust, the Debtors will sell to
                                    Hartford and non-Debtor entities, would receive a channeling               Hartford all liability insurance policies issued by Hartford to the BSA as the
                                    injunction as a result of the settlement. (Obj. ¶ 30.)                     first named insured, free and clear of all interest in such policies. See id.
                                                                                                               Hartford will be designated as a Settling Insurance Company and a
                                                                                                               Protected Party under the Plan. The Hartford Settlement Contribution is not
                                                                                                               subject to reduction based on any contingency.
                                    The Disclosure Statement fails s to explain whether all current and
                                    future claims against the insured(s), including non-Debtor entities,       As described in the Disclosure statement, a Settling Insurance Company
                                    will have to be released in order to effectuate the Hartford settlement,   must make a substantial contribution to the Settlement Trust to resolve the
                                    and if so, the value of those claims and why a claimant should agree       Abuse Claims that may be asserted against them in exchange for being
                                    to such a release if the insured has substantial assets, including other   included as a Protected Party under the Plan and receiving the benefits of
                                    insurance, that should be used to compensate the claimant. (Obj. ¶¶        the Channeling Injunction. Article. II.D. As described in Article II.I of the
                                    32-33.)                                                                    Disclosure Statement, on the Effective Date of the Plan, the Settlement
                                                                                                               Trust will be established for the benefit of holders of Abuse Claims. From
                                                                                                               and after the Effective Date, all Abuse Claims shall be channeled to the
                                                                                                               Settlement Trust, which will be funded by the Settlement Trust Assets. As
                                                                                          60
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Argument No.       Objecting
                                                          Summary of Argument                                                            Debtors’ Response
& Description       Parties
                                                                                                             further described in Article VII of this Disclosure Statement, the Settlement
                                                                                                             Trust will administer the Settlement Trust Assets and process, liquidate, and
                                                                                                             pay Abuse Claims in accordance with the applicable Trust Distribution
                                                                                                             Procedures.

                Hurley McKenna      The Disclosure Statement fails to explain, regarding the Hartford        The Disclosure Statement includes an explanation regarding the
                & Mertz, P.C.       Settlement, why BSA chose to settle with Hartford.(Obj. at 7.)           justification for entering into the Hartford Insurance Settlement Agreement.
                Claimants [D.I.                                                                              Article V.R.3
                3284]
                                                                                                             The Disclosure Statement now provides additional information regarding a
                                                                                                             modified Hartford settlement, attached to the Plan as Exhibit I-1 (the
                                                                                                             “Hartford Insurance Settlement Agreement”) that will, if approved.
                                                                                                             supersede the Initial Hartford Settlement Agreement. See Disclosure
                                                                                                             Statement, Article II.A and Article V.R.3. In exchange for Hartford’s $787
                                                                                                             million cash contribution to the Settlement Trust, the Debtors will sell to
                                                                                                             Hartford all liability insurance policies issued by Hartford to the BSA as the
                                                                                                             first named insured, free and clear of all interest in such policies. See id.
                                                                                                             Hartford will be designated as a Settling Insurance Company and a
                                                                                                             Protected Party under the Plan. The Hartford Settlement Contribution is not
                                                                                                             subject to reduction based on any contingency.

                Century             There is no disclosure of the risks associated with the decisions that   The Disclosure Statement now provides additional information regarding a
                Indemnity           are the subject of Count I of the adversary proceeding complaint         modified Hartford settlement, attached to the Plan as Exhibit I-1 (the
                Company     [D.I.   against Hartford. (D.I. 3856 - Obj. at 27.)                              “Hartford Insurance Settlement Agreement”) that will, if approved.
                6065];      [D.I.                                                                            supersede the Initial Hartford Settlement Agreement. See Disclosure
                5214];      [D.I.   The Disclosure Statement fails to explain the Judgment Reduction         Statement, Article II.A and Article V.R.3. In exchange for Hartford’s $787
                3856]               Clause in the Hartford settlement or to quantify its impact. The         million cash contribution to the Settlement Trust, the Debtors will sell to
                                    Disclosure Statement must quantify or explain the impact of this         Hartford all liability insurance policies issued by Hartford to the BSA as the
                                    clause on the Debtors and the settlement trust. The Disclosure           first named insured, free and clear of all interest in such policies. See id.
                                    Statement must explain the monetary impact of those clause on the        Hartford will be designated as a Settling Insurance Company and a
                                    other policies. Each of BSA’s excess carriers have cross claims for      Protected Party under the Plan. The Hartford Settlement Contribution is not
                                    contribution against the Local Councils so the availability of the       subject to reduction based on any contingency.
                                    judgment reduction clause serves to reduce the value of the coverage
                                    for those claims. Debtors must acknowledge the likelihood that other     Additionally, the disclosure statement includes information regarding the
                                    insurers will claim reduction based on contribution and cross claims     Hartford Adversary proceeding. Article V.II.2. Moreover, pursuant to the
                                    relating to Hartford policies issued to Local Councils.                  Hartford Insurance Settlement Agreement certain claims against the
                                                                                                             Debtors held by Hartford are being released.

                                                                                                             The Debtors have disclosed the argument raised by certain Insurance
                                                                                                             Companies with respect to the judgment reduction provision as set forth in
                                                                                                             the Disclosure Statement. Article V.R.3.
                                                                                         61
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Argument No.       Objecting
                                                      Summary of Argument                                                             Debtors’ Response
& Description        Parties
                Argonaut        The Disclosure Statement does not describe the impact of the              The Disclosure Statement now provides additional information regarding a
                Insurance       Hartford settlement on claims that may be covered by Hartford or          modified Hartford settlement, attached to the Plan as Exhibit I-1 (the
                Company [D.I.   which have contributions rights as to Hartford. (Obj. ¶ 2.)               “Hartford Insurance Settlement Agreement”) that will, if approved.
                3285]                                                                                     supersede the Initial Hartford Settlement Agreement. See Disclosure
                                                                                                          Statement, Article II.A and Article V.R.3. In exchange for Hartford’s $787
                                                                                                          million cash contribution to the Settlement Trust, the Debtors will sell to
                                                                                                          Hartford all liability insurance policies issued by Hartford to the BSA as the
                                                                                                          first named insured, free and clear of all interest in such policies. See id.
                                                                                                          Hartford will be designated as a Settling Insurance Company and a
                                                                                                          Protected Party under the Plan. The Hartford Settlement Contribution is not
                                                                                                          subject to reduction based on any contingency.

                                                                                                          The Debtors have disclosed the argument raised by certain Insurance
                                                                                                          Companies with respect to the judgment reduction provision as set forth in
                                                                                                          the Disclosure Statement. Moreover, the Debtors have made the following
                                                                                                          disclosure: Certain parties contend that the Hartford Insurance Settlement
                                                                                                          Agreement impairs other of the BSA’s Insurance Companies’ contribution
                                                                                                          rights; the BSA disagrees. For the vast majority of the years Hartford
                                                                                                          provided the BSA Insurance Coverage, the Insurance Companies will not
                                                                                                          have contribution claims against Hartford as Hartford provided both the
                                                                                                          primary and excess Insurance Policies that would be implicated by the
                                                                                                          Abuse Claims. Article V.R.3.

23) Adequate    SUMMARY OF      The Plan summary should not be approved because it oversimplifies         THE DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    ARGUMENTS       key provisions of the Plan, and, at worst, is intentionally misleading.
Plan Summary                         Although the Plan Summary states “more than 18,000                  The Plan Summary is not a Plan document and has been proposed by the
                                        sexual abuse survivors…signed affirmative consents to             Coalition and Future Claimants’ Committee. The Plan Summary
                                        being part of the Coalition,” the Disclosure Statement            encourages all holders of Claims entitled to vote to carefully review the Plan
                                        discloses that the Coalition is made up of approximately          and Disclosure Statement, which are expressly identified in the Plan
                                        11,875 abuse survivors having signed an affirmative               Summary.
                                        consent.
                                     Plan Summary does not disclose that the Local Council
                                        Settlement Contribution is uncertain because, according to
                                        counsel for the Ad Hoc Committee of Local Councils, the
                                        contributions are expressly contingent on a satisfactory
                                        resolution of the issues surrounding chartered
                                        organizations.
                                     The Plan Summary does not contain any specific
                                        disclosures about the litigation risk the Plan poses,
                                        meritorious coverage defenses that may reduce the amount

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Argument No.       Objecting
                                                         Summary of Argument                                                             Debtors’ Response
& Description       Parties
                                           of available coverage, and the various other coverage risks
                                           that are described in the Disclosure Statement.
                Certain Insurers   The Plan summary should not be approved because it oversimplifies         The Plan Summary is not a Plan document and has been proposed by the
                [D.I. 6052]        key provisions of the Plan, and, at worst, is intentionally misleading.   Coalition and Future Claimants’ Committee. The Plan Summary
                                                                                                             encourages all holders of Claims entitled to vote to carefully review the Plan
                                           Although the Plan Summary states that “more than 18,000          and Disclosure Statement, which are expressly identified in the Plan
                                            sexual abuse survivors…signed affirmative consents to            Summary.
                                            being part of the Coalition,” the Disclosure Statement
                                            discloses that the Coalition is made up of approximately
                                            11,875 abuse survivors having signed an affirmative
                                            consent.

                                           Plan Summary does not disclose that the Local Council
                                            Settlement Contribution is uncertain because, according to
                                            counsel for the Ad Hoc Committee of Local Councils, the
                                            contributions are expressly contingent on a satisfactory
                                            resolution of the issues surrounding chartered
                                            organizations.

                                           The Plan Summary does not contain any specific
                                            disclosures about the litigation risk the Plan poses,
                                            meritorious coverage defenses that may reduce the amount
                                            of available coverage, and the various other coverage risks
                                            that are described in the Disclosure Statement. (Obj. ¶¶ 53-
                                            55).
                Century            The TCC’s proposed “plain English” insertion should be rejected. As       The Plan Summary is not a Plan document and has been proposed by the
                Indemnity          the Moving Insurers’ objection observes, the TCC’s proposed insert        Coalition and Future Claimants’ Committee. The Plan Summary
                Company [D.I.      contains numerous statements that are at best oversimplified, and, in     encourages all holders of Claims entitled to vote to carefully review the Plan
                6065];    [D.I.    some cases, misleading. Century joins in that objection. (D.I. 6065 -     and Disclosure Statement, which are expressly identified in the Plan
                5214];    [D.I.    Obj. at 35).                                                              Summary.
                3856]
24) Adequate    Tort Claimants’    The Disclosure Statement does not provide an adequate description         DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    Committee [D.I.    of the Restricted Assets and justification for such restrictions. (Obj.
Restricted      3526]              ¶¶ 21, 25.)                                                               The Debtors have provided further disclosure with respect to the BSA’s
Assets                                                                                                       Restricted Property, which is detailed in Exhibit E-1 of the Disclosure
                                                                                                             Statement.
25) Adequate    SUMMARY OF         The Disclosure Statement fails to disclose how the Trust                  THE DEBTORS HAVE ADDED DISCLOSURES
Disclosure –    ARGUMENTS          Distribution Procedures weigh factors in valuing claims. The
Trust                              Disclosure Statement lacks information on the Settlement Trust,
Operation                          including what happens upon termination, who reviews the
                                   abuse claims once they are assigned to the settlement trust and
                                   does not identify any information on the settlement trustee, and
                                                                                    63
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Argument No.    Objecting
                                               Summary of Argument                                                       Debtors’ Response
& Description    Parties
                            the expense of operating the Settlement Trust. The Disclosure    The Disclosure Statement now provides additional information regarding
                            Statement does not disclose the Cooperation Agreement.           the Settlement Trust and the Trust Distribution Procedures. See Disclosure
                            Creditors. The Disclosure Statement does not describe how the    Statement, Article VII.
                            Settlement Trustee will be chosen or how a proposed Settlement
                            Trust Advisory Committee will be selected.                       The Trust Distribution Procedures provide for payment of administrative
                                                                                             and legal fees for the maintenance and administration of the Settlement
                                                                                             Trust. The fees and expenses are presumed to be commensurate with the
                                                                                             size of the Settlement Trust. See Plan, Exhibit A, Trust Distribution
                                                                                             Procedures.

                                                                                             The “Claims Matrix” and “Scaling Factors” described in Article VII.B of
                                                                                             the Disclosure Statement and in the Trust Distribution Procedures will be
                                                                                             used to assign a value to the Abuse Claim that will help determine the
                                                                                             distribution amount for such Claim. See Plan, Exhibit A, Article VII.

                                                                                             As explained in the Disclosure Statement, the Settlement Trustee shall
                                                                                             evaluate each Trust Claim Submission individually, and shall follow the
                                                                                             procedures and guidelines outlined in the Trust Distribution Procedures in
                                                                                             order to provide substantially the same treatment to holders of similar
                                                                                             Abuse Claims. After a review of the documentation provided by the Abuse
                                                                                             Claimant in his or her Trust Claim Submission, and any follow-up materials
                                                                                             or examinations (including, without limitation, any Trustee Interview), the
                                                                                             Settlement Trustee will either find the Abuse Claim to be legally valid or
                                                                                             invalid. For more information on the Trust Distribution Procedures, see
                                                                                             Disclosure Statement, Article VII.B. For the Trust Distribution Procedures,
                                                                                             see the Plan, Exhibits A. The Disclosure Statement adequately describes the
                                                                                             continued existence or dissolution of the Settlement Trust. Article VII.A.17
                                                                                             of the Disclosure Statement (Excess Assets in Settlement Trust) states that
                                                                                             “[t]o the extent any Settlement Trust Assets remain at such time as the
                                                                                             Settlement Trust is dissolved under the terms of the Settlement Trust
                                                                                             Documents, any remaining Settlement Trust Assets shall be distributed to
                                                                                             Reorganized BSA.”

                                                                                             A Settlement Trustee will appointed by the Bankruptcy Court. The
                                                                                             Settlement Trust Agreement enumerates the Settlement Trustee’s powers,
                                                                                             duties, and limitations. These include, among others: the power to distribute
                                                                                             assets of the Settlement Trust to holders of Abuse Claims pursuant to the
                                                                                             terms and conditions and the procedures for distributions established in the
                                                                                             Trust Distribution Procedures; to assist the Litigation Trustee prosecute
                                                                                             Settlement Trust Causes of Action, the Insurance Actions, and the Insurance
                                                                                             Coverage Actions on behalf of holders of Abuse Claims; to enforce the
                                                                           64
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Argument No.       Objecting
                                                         Summary of Argument                                                           Debtors’ Response
& Description       Parties
                                                                                                            Settlement Trust’s rights in the Settlement Trust Assets, including through
                                                                                                            judicial proceedings or bankruptcy/insolvency proceedings; and to make,
                                                                                                            sign, execute, acknowledge, and deliver any documents that may be
                                                                                                            necessary or appropriate to effectuate the purposes of the Settlement Trust
                                                                                                            or to maintain and administer the Settlement Trust. See Plan, Exhibit B,
                                                                                                            Settlement Trust Agreement, Article II.

                                                                                                            Trust Agreement provides that the Settlement Trust Assets shall be used to
                                                                                                            pay Abuse Claims as well as compensate the Trustee and reimburse
                                                                                                            expenses of the Trustee. See Plan, Exhibit B, Settlement Trust Agreement,
                                                                                                            Article II.

                                                                                                            The identity of the Settlement Trustee, Eric D. Green, is now included in
                                                                                                            the Disclosure Statement. See Disclosure Statement, Article VII.A.20.

                                                                                                            The Document Agreement, to be filed with the Plan Supplement, will
                                                                                                            provide the Settlement Trust with access to documents it needs to pursue
                                                                                                            insurance coverage. See Plan Article IV.R-S.

                                                                                                            The Disclosure Statement now states that the Debtors are assigning their
                                                                                                            rights and obligations under the FEA to the Settlement Trust. See
                                                                                                            Disclosure Statement, Article III.F.4.



                Tort Claimants’     The projected recovery does not include the expense of operating a      Trust Agreement provides that the Settlement Trust Assets shall be used to
                Committee [D.I.     settlement trust for the benefit of the 84,000 childhood sexual abuse   pay Abuse Claims as well as compensate the Trustee and reimburse
                3526]               Survivors and the Disclosure Statement does not provide any             expenses of the Trustee. See Plan, Exhibit B, Settlement Trust Agreement,
                                    information regarding such operating expenses. (Obj. ¶ 40.)             Article II.

                                                                                                            The Trust Distribution Procedures provide for payment of administrative
                                                                                                            and legal fees for the maintenance and administration of the Settlement
                                                                                                            Trust. The fees and expenses are presumed to be commensurate with the
                                                                                                            size of the Settlement Trust. See Plan, Exhibit A, Trust Distribution
                                                                                                            Procedures.


                Gordon        &     In regards to TDP, the Plan identifies factors to be used in valuing    The “Claims Matrix” and “Scaling Factors” described in Article VII.B of
                Partners,   P.A.    each claim, but neither the Plan nor the Disclosure Statement           the Disclosure Statement and in the Trust Distribution Procedures will be
                Claimants   [D.I.   discloses how much weight will be assigned to those factors. (Obj. ¶    used to assign a point value to the Abuse Claim that will help determine the
                2739]               19.)
                                                                                        65
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Argument No.       Objecting
                                                           Summary of Argument                                                            Debtors’ Response
& Description       Parties
                                                                                                               distribution amount for such Claim. See Plan, Exhibit A, Trust Distribution
                                     Neither the Plan nor the Disclosure Statement indicates whether the       Procedures, Article VII.
                                     claimant will have an opportunity to pursue discovery so that they
                                     can supplement their claim with missing information (i.e., full name      As set forth in the Disclosure Statement, the Trust Distribution Procedures
                                     of Scout leader) in order for their claim to not be reduced for lacking   provide for the submission, evaluation, and supplementing of Claims. See
                                     information. (Obj. ¶ 20.)                                                 Disclosure Statement, Article VII.

                Lujan & Wolff        The Disclosure Statement fails to adequately explain what will            The Disclosure Statement adequately describes the continued existence or
                LLP Claimants        happen after the Settlement Trust terminates. (D.I. 3231 -Obj. ¶ 20.)     dissolution of the Settlement Trust. See Disclosure Statement, Article
                [D.I. 6039]; [D.I.                                                                             VII.A.17 of the Disclosure Statement (Excess Settlement Trust Assets)
                3231]                                                                                          states that “[t]o the extent any Settlement Trust Assets remain at such time
                                                                                                               as the Settlement Trust is dissolved under the terms of the Settlement Trust
                                                                                                               Documents, any remaining Settlement Trust Assets shall be distributed to
                                                                                                               Reorganized BSA.”

                Century              The Disclosure Statement lacks information on who reviews the             Pursuant to the Trust Distribution Procedures, “Each Abuse Claimant that
                Indemnity            abuse claims once they are assigned to the settlement trust and does      does not make the Expedited Distribution Election and instead elects to
                Company [D.I.        not identify any information on the settlement trustee. (D.I. 3856 -      pursue recovery from the Settlement Trust pursuant to the Trust
                6065]; [D.I.         Obj. at 16-17.)                                                           Distribution Procedures must submit his or her Abuse Claim for allowance
                5214]; [D.I.                                                                                   and potential valuation and determination of insurance status by the
                3856]                The Disclosure Statement fails to explain the Cooperation                 Settlement Trustee pursuant to the requirements set forth herein.” See
                                     Agreement’s terms or risks. The Disclosure Statement fails to             Disclosure Statement, Article VII.B.6
                                     disclose how Debtors and potentially non-debtor third parties will be
                                     obligated to cooperate with the settlement trust. (D.I. 3856 - Obj. at    The identity of the Settlement Trustee, Eric D. Green, is now included in
                                     28-29.)                                                                   the Disclosure Statement. See Disclosure Statement, Article VII.A.20.

                                                                                                               The Disclosure Statement now states that the Debtors are assigning their
                                     The Disclosure Statement fails to confirm the Debtors will assign the     rights and obligations under the FEA to the Settlement Trust and provide
                                     First Encounter Agreement to the settlement trust and if they do not,     further information with respect to such agreement. See Disclosure
                                     the risks associated with the action/inaction. (D.I. 3856 - Obj. at 29-   Statement, Article III.F.4.
                                     31.)
                                                                                                               The Document Agreement, as is customary in similar cases, is to be filed
                                                                                                               with the Plan Supplement, and will provide the Settlement Trust with access
                                                                                                               to documents it needs to pursue insurance coverage. See Plan, Exhibit B,
                                                                                                               Settlement Trust Agreement, Article IV.L.

                Allianz Insurers     The Disclosure Statement does not disclose the Cooperation                The Document Agreement, to be filed with the Plan Supplement, will
                [D.I. 3549]          Agreement. (Obj. ¶ 6.)                                                    provide the Settlement Trust with access to documents it needs to pursue
                                                                                                               insurance coverage. See Plan, Exhibit B, Settlement Trust Agreement,
                                                                                                               Article IV.R-S.

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Argument No.       Objecting
                                                    Summary of Argument                                                           Debtors’ Response
& Description        Parties
                United States   The Disclosure Statement does not describe how the Settlement        The Disclosure Statement addresses the selection of the Settlement Trustee
                Trustee [D.I.   Trustee will be chosen or how a proposed Settlement Trust Advisory   and the establishment of the Settlement Advisory Committee (the
                3581]           Committee will be selected. (Obj. ¶ 20.)                             “STAC”). “The initial STAC shall be composed of seven (7) members, five
                                                                                                     (5) of which shall be selected by the Coalition and two (2) of which shall
                                                                                                     be selected by the Tort Claimants’ Committee, subject to discussion
                                                                                                     between and the consent of the Coalition and the Tort Claimants’
                                                                                                     Committee.” See Disclosure Statement, Article VII.A.21.

                                                                                                     The identity of the Settlement Trustee, Eric D. Green, is now included in
                                                                                                     the Disclosure Statement. See Disclosure Statement, Article VII.A.20.

26) Adequate    SUMMARY OF      The Disclosure Statement lacks adequate information on the           DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    ARGUMENTS       treatment and valuation of abuse claims. The Disclosure
Abuse Claims                    Statement requires more information on the proposed                  The Disclosure Statement provides adequate information regarding the
                                estimation of abuse claims.                                          estimated range of valuation of the Abuse Claims. As explained in the
                                                                                                     Disclosure Statement, during its claim reconciliation process, Bates White
                                                                                                     established that there are approximately 82,500 unique, timely Proofs of
                                                                                                     Claims seeking personal injury damages on account of Abuse. Bates White
                                                                                                     estimates the value of the Abuse Claims is between $2.4 billion and $7.1
                                                                                                     billion. To establish this value range, Bates White analyzed BSA’s
                                                                                                     historically resolved Abuse Claims, with a focus on four factors that have
                                                                                                     affected the Claims’ settlement value: (i) the possible monetary damages
                                                                                                     the Abuse Survivor could obtain in the tort system, (ii) the connection to
                                                                                                     Scouting during the alleged acts, (iii) certain legal considerations regarding
                                                                                                     the viability of the Claim, and (iv) the credibility of the Claim. Additionally,
                                                                                                     the Disclosure Statement now includes an expanded discussion about how
                                                                                                     the Bates White analysis was performed. See Disclosure Statement, Article
                                                                                                     V.N.

                                                                                                     The Disclosure Statement adequately describes the treatment and estimated
                                                                                                     recovery of all Claims, including Abuse Claims and Claims not related to
                                                                                                     Abuse under the Plan. The Disclosure Statement sets forth a chart
                                                                                                     estimating the amount and approximate percentage recovery for each Class
                                                                                                     of Claims. See Disclosure Statement, Article II.H. The Disclosure
                                                                                                     Statement also sets forth a chart comparing estimated recoveries under the
                                                                                                     Plan against a hypothetical chapter 7 liquidation. See Disclosure Statement,
                                                                                                     Article IX.D.

                                                                                                     The Disclosure statement further outlines the various settlements included
                                                                                                     in the Plan. See Disclosure Statement, Article V.R.

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Argument No.       Objecting
                                                          Summary of Argument                                                             Debtors’ Response
& Description       Parties
                                                                                                             In addition, the Disclosure Statement now adequately describes how the
                                                                                                             Trust Distribution Procedures utilize a scaling system to assign a value to a
                                                                                                             given Abuse Claim. Abuse Claims are assigned a value based on the
                                                                                                             “Claims Matrix” and “Scaling Factors” described in the Trust Distribution
                                                                                                             Procedures. See Disclosure Statement, Article VII.B.7; see also Plan,
                                                                                                             Exhibit A, Trust Distribution Procedures.

                Tort Claimants’      The Disclosure Statement lacks adequate information on the              The Disclosure Statement provides adequate information regarding the
                Committee [D.I.      valuation of childhood sexual abuse claims, including any discussion    estimated range of valuation of the Abuse Claims. As explained in the
                3526]                of how the $2.4 billion - $7.1 billion valuation range is determined.   Disclosure Statement, during its claim reconciliation process, Bates White
                                     (Obj. ¶ 42.)                                                            established that there are approximately 82,500 unique, timely Proofs of
                                                                                                             Claims seeking personal injury damages on account of Abuse. Bates White
                                     The Disclosure Statement must disclose that non-abuse claims, e.g.,     estimates the value of the Abuse Claims is between $2.4 billion and $7.1
                                     personal injury claims, are given preferential treatment over           billion. To establish this value range, Bates White analyzed BSA’s
                                     childhood sexual abuse claims. (Obj. ¶¶ 55-56.)                         historically resolved Abuse Claims, with a focus on four factors that have
                                                                                                             affected the Claims’ settlement value: (i) the possible monetary damages
                                                                                                             the Abuse Survivor could obtain in the tort system, (ii) the connection to
                                                                                                             Scouting during the alleged acts, (iii) certain legal considerations regarding
                                                                                                             the viability of the Claim, and (iv) the credibility of the Claim. Additionally,
                                                                                                             the Disclosure Statement now includes an expanded discussion about how
                                                                                                             the Bates White analysis was performed. See Disclosure Statement, Article
                                                                                                             V.N.

                                                                                                             The Disclosure Statement adequately describes the treatment and estimated
                                                                                                             recovery of all Claims, including Abuse Claims and Claims not related to
                                                                                                             Abuse under the Plan. The Disclosure Statement sets forth a chart
                                                                                                             estimating the amount and approximate percentage recovery for each Class
                                                                                                             of Claims. See Disclosure Statement, Article II.H. The Disclosure
                                                                                                             Statement also sets forth a chart comparing estimated recoveries under the
                                                                                                             Plan against a hypothetical chapter 7 liquidation. See Disclosure Statement,
                                                                                                             Article IX.D.



                Lujan & Wolff        The Disclosure Statement fails to explain how claimants abused in       The Disclosure Statement provides adequate information regarding the
                LLP Claimants        connection with scouting units will fare under the Plan .The            estimated range of valuation of the Abuse Claims. As explained in the
                [D.I. 6039]; [D.I.   Disclosure Statement fails to identify and adequately disclose          Disclosure Statement, during its claim reconciliation process, Bates White
                3231]                indirect abuse claims timely filed against Debtors. (D.I. 3231 - Obj.   established that there are approximately 82,500 unique, timely Proofs of
                                     ¶ 4.)                                                                   Claims seeking personal injury damages on account of Abuse. Bates White
                                                                                                             estimates the value of the Abuse Claims is between $2.4 billion and $7.1
                                                                                                             billion. To establish this value range, Bates White analyzed BSA’s
                                                                                         68
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Argument No.      Objecting
                                                     Summary of Argument                                                             Debtors’ Response
& Description      Parties
                                                                                                        historically resolved Abuse Claims, with a focus on four factors that have
                                                                                                        affected the Claims’ settlement value: (i) the possible monetary damages
                                                                                                        the Abuse Survivor could obtain in the tort system, (ii) the connection to
                                                                                                        Scouting during the alleged acts, (iii) certain legal considerations regarding
                                                                                                        the viability of the Claim, and (iv) the credibility of the Claim. Additionally,
                                                                                                        the Disclosure Statement now includes an expanded discussion about how
                                                                                                        the Bates White analysis was performed. See Disclosure Statement, Article
                                                                                                        V.N.

                                                                                                        The Disclosure Statement provides adequate information concerning
                                                                                                        Indirect Abuse Claims. In addition to Direct Abuse Claims, approximately
                                                                                                        16,600 contingent and unliquidated indemnification and contribution
                                                                                                        Claims have been filed against the Debtors, most of which would be
                                                                                                        included in the Class of Indirect Abuse Claims. The majority were filed by
                                                                                                        Chartered Organizations. Article V.N.

                                                                                                        The Disclosure Statement adequately describes the treatment and estimated
                                                                                                        recovery of all Claims, including Abuse Claims and Claims not related to
                                                                                                        Abuse under the Plan. The Disclosure Statement sets forth a chart
                                                                                                        estimating the amount and approximate percentage recovery for each Class
                                                                                                        of Claims. See Disclosure Statement, Article II.H. The Disclosure
                                                                                                        Statement also sets forth a chart comparing estimated recoveries under the
                                                                                                        Plan against a hypothetical chapter 7 liquidation. See Disclosure Statement,
                                                                                                        Article IX.D.

                DLG Claimants   Debtors do nothing more than assert that childhood sexual abuse         The Disclosure Statement provides adequate information regarding the
                [D.I. 2959]     claims will range in value from somewhere between $2.4 billion and      estimated range of valuation of the Abuse Claims. As explained in the
                                $7.1 billion. There is no discussion on how that value is determined.   Disclosure Statement, during its claim reconciliation process, Bates White
                                (Obj. at 4.)                                                            established that there are approximately 82,500 unique, timely Proofs of
                                                                                                        Claims seeking personal injury damages on account of Abuse. Bates White
                                With only $115 million available for sexual abuse survivors, the        estimates the value of the Abuse Claims is between $2.4 billion and $7.1
                                Disclosure Statement does not describe how recoveries will reach        billion. To establish this value range, Bates White analyzed BSA’s
                                8%, let alone up to 23% or 100%, when no other consideration has        historically resolved Abuse Claims, with a focus on four factors that have
                                been committed by any other party. (Obj. at 4.)                         affected the Claims’ settlement value: (i) the possible monetary damages
                                                                                                        the Abuse Survivor could obtain in the tort system, (ii) the connection to
                                                                                                        Scouting during the alleged acts, (iii) certain legal considerations regarding
                                                                                                        the viability of the Claim, and (iv) the credibility of the Claim. Additionally,
                                                                                                        the Disclosure Statement now includes an expanded discussion about how
                                                                                                        the Bates White analysis was performed. See Disclosure Statement, Article
                                                                                                        V.N.


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Argument No.       Objecting
                                                          Summary of Argument                                                             Debtors’ Response
& Description       Parties
                                                                                                             Footnote 39 of the Disclosure Statement now provides the components used
                                                                                                             in calculating the estimated recoveries. See Disclosure Statement Article
                                                                                                             II.H.

                                                                                                             The Disclosure Statement now discloses the consideration to be committed
                                                                                                             by other parties, rendering part of the objection moot. See Disclosure
                                                                                                             Statement, Exhibit C, Expected Local Council Settlement Trust
                                                                                                             Contributions, and Article II.D.



                Gordon        &     There is no discussion on how the $2.4 billion - $7.1 billion range is   The Disclosure Statement provides adequate information regarding the
                Partners,   P.A.    determined. (Obj. ¶ 10.)                                                 estimated range of valuation of the Abuse Claims. As explained in the
                Claimants   [D.I.                                                                            Disclosure Statement, during its claim reconciliation process, Bates White
                2739]               Under the Plan, the Debtors are the only parties that have offered any   established that there are approximately 82,500 unique, timely Proofs of
                                    consideration ($115 million) for the abuse claims. Assuming the          Claims seeking personal injury damages on account of Abuse. Bates White
                                    abuse claims are valued at $2.4 billion, the $115 million provides a     estimates the value of the Abuse Claims is between $2.4 billion and $7.1
                                    4.8% recovery, far less than the lower amount asserted by the            billion. To establish this value range, Bates White analyzed BSA’s
                                    Debtors. With only $115 million available for survivors, the             historically resolved Abuse Claims, with a focus on four factors that have
                                    Disclosure Statement does not describe how recoveries will reach         affected the Claims’ settlement value: (i) the possible monetary damages
                                    8%, let alone up to 23% or 100%, when no other consideration has         the Abuse Survivor could obtain in the tort system, (ii) the connection to
                                    been committed by any other party. (Obj. ¶ 10.)                          Scouting during the alleged acts, (iii) certain legal considerations regarding
                                                                                                             the viability of the Claim, and (iv) the credibility of the Claim. Additionally,
                                                                                                             the Disclosure Statement now includes an expanded discussion about how
                                                                                                             the Bates White analysis was performed. See Disclosure Statement, Article
                                                                                                             V.N.

                                                                                                             Footnote 39 of the Disclosure Statement now provides the components used
                                                                                                             in calculating the estimated recoveries. See Disclosure Statement Article
                                                                                                             II.H.

                                                                                                             The Disclosure Statement now discloses the consideration to be committed
                                                                                                             by other parties, rendering part of the objection moot. See Disclosure
                                                                                                             Statement, Exhibit C, Expected Local Council Settlement Trust
                                                                                                             Contributions, and Article II.D.




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Argument No.       Objecting
                                                       Summary of Argument                                                            Debtors’ Response
& Description        Parties
                Zalkin Law Firm   The Disclosure Statement lacks justification for the low values for    The Disclosure Statement provides adequate information regarding the
                Claimants [D.I.   Abuse Claims (Obj. ¶ 11, 14.)                                          estimated range of valuation of the Abuse Claims. As explained in the
                3276]                                                                                    Disclosure Statement, during its claim reconciliation process, Bates White
                                                                                                         established that there are approximately 82,500 unique, timely Proofs of
                                                                                                         Claims seeking personal injury damages on account of Abuse. Bates White
                                                                                                         estimates the value of the Abuse Claims is between $2.4 billion and $7.1
                                                                                                         billion. To establish this value range, Bates White analyzed BSA’s
                                                                                                         historically resolved Abuse Claims, with a focus on four factors that have
                                                                                                         affected the Claims’ settlement value: (i) the possible monetary damages
                                                                                                         the Abuse Survivor could obtain in the tort system, (ii) the connection to
                                                                                                         Scouting during the alleged acts, (iii) certain legal considerations regarding
                                                                                                         the viability of the Claim, and (iv) the credibility of the Claim. Additionally,
                                                                                                         the Disclosure Statement now includes an expanded discussion about how
                                                                                                         the Bates White analysis was performed. See Disclosure Statement, Article
                                                                                                         V.N.

                Pro se Claimant   The Debtors need to outline a definitive settlement amount to the      Information regarding the recoveries contemplated under the Plan is
                [D.I. 2470]       victims. (Obj. at 2.)                                                  included in the Disclosure Statement. See Disclosure Statement, Article
                                                                                                         II.H.

                Pro se Claimant   The BSA should add the amount of compensation that each level of       Information regarding the recoveries contemplated under the Plan is
                [D.I. 2533]       abuse will receive so that when survivors vote, survivors will know    included in the Disclosure Statement. See Disclosure Statement, Article
                                  what they are going to receive if the Disclosure Statement is          II.H.
                                  approved. (Obj. ¶ 3.)
                AIG Companies     The Disclosure Statement does not have enough information on the       The Disclosure Statement adequately describes how Abuse Claimants will
                [D.I. 3523]       proposed estimation of direct abuse claims. (Obj. ¶ 17.)               fare under the Plan. The Disclosure Statement sets forth a chart estimating
                                                                                                         the amount and approximate percentage recovery for direct and indirect
                                  The Disclosure Statement should disclose that various parties oppose   claims. See Disclosure Statement, Article II.H. The Disclosure Statement
                                  the aggressive estimation timeline proposed and that the Court may     also sets forth a chart comparing estimated recoveries under the Plan against
                                  impose an extended, more realistic timeline, which may be              a hypothetical chapter 7 liquidation. See Disclosure Statement, Article
                                  inconsistent with the Debtors’ expected timeline for confirmation.     IX.D
                                  (Obj. ¶ 18.)
                                                                                                         Additionally, the estimation motion timeline objection is moot as such
                                                                                                         timeline is no longer being pursued.




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 Argument No.       Objecting
                                                         Summary of Argument                                                            Debtors’ Response
 & Description       Parties
27) Adequate     Tort Claimants’   The Disclosure Statement fails to adequately describe the Boy            DEBTORS HAVE ADDED DISCLOSURE
Disclosure –     Committee [D.I.   Scouts’ insurance program. (Obj. ¶ 57.)
Insurance        3526]                                                                                      The Disclosure Statement provides adequate information regarding the
Coverage                           The BSA Insurance Policies and the Insurance Coverage “are one           BSA’s insurance program, which has been further supplemented, including
                                   and the same” as currently defined, so the definitions should be         a description of post-2013 insurance sharing between Abuse and Non-
                                   amended or the phrases should be consolidated. (Obj. ¶ 63.).             Abuse Claims. See Disclosure Statement, Article III.F.

                                   The Disclosure Statement should disclose that the Plan provides that     BSA Insurance Policies references the policies themselves while Insurance
                                   post-2013 coverage is being used to indemnify Insured Non-Abuse          Coverage references the rights, benefits or coverage under those policies. It
                                   Claims and prevent Abuse Claims from accessing this coverage.            is important to differentiate the two as the Debtors can assign Insurance
                                   (Obj. ¶ 76).                                                             Coverage to the Settlement Trust as opposed to the Insurance Policies
                                                                                                            themselves.




28) Adequate     Tort Claimants’   The Disclosure Statement does not discuss the Plan’s impact on           DEBTORS HAVE ADDED DISCLOSURE
Disclosure –     Committee [D.I.   claimants who have a direct right to sue the insurer of the BSA, Local
Direct           3526]             Councils, or Chartered Organizations, which is permitted under at        The Disclosure Statement adequately describes the process through which
Insurance                          least eight states. (Obj. ¶ 77-78.)                                      all Abuse Claims will be channeled to the Settlement Trust and liquidated
Claims                                                                                                      in accordance with the Trust Distribution Procedures regardless of whether
                                                                                                            such Claimant has a right to direct action. See Disclosure Statement, Article
                                                                                                            VII.

29) Adequate     SUMMARY OF        The Disclosure Statement does not provide meaningful                     DEBTORS HAVE ADDED DISCLOSURE
Disclosure –     ARGUMENTS         information regarding the Debtors’ pension obligations and does
BSA                                not disclose that the Retirement Plan is currently overfunded.           The Disclosure Statement now provides a fulsome description of the
Operations                         The Disclosure Statement does not contain adequate information           pension plans, as well as the Reorganized Debtors’ obligations under the
                                   regarding Debtors’ operations. The Disclosure Statement fails to         pension plan on the Effective Date. See Disclosure Statement, Article III.D
                                   identify which Local Councils are members of the BSA’s                   and Article VI.H.25.
                                   “controlled group.”
                                                                                                            The Disclosure Statement now includes adequate information regarding the
                                                                                                            Debtors’ operations (including revenue sources and assets), as well as risk
                                                                                                            factors affecting the Debtors’ operations. See Disclosure Statement, Article
                                                                                                            III and Article X.A.

                                                                                                            The Disclosure Statement adequately describes that liabilities are joint and
                                                                                                            several among the BSA and each Local Council that is a member of the
                                                                                                            BSA’s “controlled group” as the term is defined under 29 U.S.C. §§ 1082,
                                                                                                            1307, 1362. See Disclosure Statement, Article X.A.2. All members of
                                                                                        72
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Argument No.       Objecting
                                                           Summary of Argument                                                             Debtors’ Response
& Description       Parties
                                                                                                               Local Councils are part of controlled group. See Disclosure Statement,
                                                                                                               Exhibit D-2, Liquidation Analysis.

                Tort Claimants’      The Disclosure Statement does not provide meaningful information          The Disclosure Statement now provides a fulsome description of the
                Committee [D.I.      regarding the BSA pension obligations, and does not disclose that         pension plans, as well as the Reorganized Debtors’ obligations under the
                3526]                the Retirement Plan is currently overfunded. (Obj. ¶ 85.)                 pension plan on the Effective Date. See Disclosure Statement, Article III.D
                                                                                                               and Article VI.H.25.
                                     The Disclosure Statement does not contain adequate information
                                     regarding BSA operations, such as declining membership trends and         The Disclosure Statement now includes adequate information regarding the
                                     the impact thereof on ongoing operational needs (such as camps) that      Debtors’ operations (including revenue sources and assets), as well as risk
                                     may render the Plan infeasible to the extent it relies on the continued   factors affecting the Debtors’ operations. See Disclosure Statement, Article
                                     existence of BSA. Given that membership in the Boy Scouts ends on         III and Article X.A.
                                     December 31st for each calendar year, the Boy Scouts should
                                     disclose the current 2021 membership numbers. (Obj. ¶ 87.). The           The Disclosure Statement includes the current membership, which is
                                     Disclosure Statement does not adequately describe attendance of           762,000. See Disclosure Statement, Article II.B. Moreover, the Financial
                                     high adventure facilities or the revenues generated by high adventure     Projections include youth membership numbers as well as high adventure
                                     facilities, and does not address the impact a sale of high adventure      base numbers. See Disclosure Statement, Exhibit E, Financial Projections
                                     facilities could have on ongoing operations or potential recoveries.      Analysis. The Disclosure Statement also discusses risks related to declining
                                     (Obj. ¶ 89.)                                                              recruitment and membership as well as high adventure Base revenues.
                                                                                                               Article X.A.3.

                Lujan & Wolff        The Disclosure Statement fails to identify which Local Councils are       The Disclosure Statement adequately describes that liabilities are joint and
                LLP Claimants        members of the BSA’s “controlled group” and may be jointly and            several among the BSA and each Local Council that is a member of the
                [D.I. 6039]; [D.I.   severally liable with BSA on the Pension Benefit Guaranty                 BSA’s “controlled group” as the term is defined under 29 U.S.C. §§ 1082,
                3231]                Corporation’s $1,102,200,000 Unfunded Benefit Liability Claim,            1307, 1362. See Disclosure Statement, Article X.A.2. All members of
                                     Termination Premiums Claim including an amount of $51,862,500,            Local Councils are part of the controlled group. See Disclosure Statement,
                                     and Minimum Funding Contribution Claims. (D.I. 3231)                      Exhibit D-2, Liquidation Analysis.

30) Adequate    Tort Claimants’      The Disclosure Statement does not contain adequate information            DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    Committee [D.I.      regarding the release of avoidance actions, such as the number, type,
Avoidance       3526]                and potential value of “Avoidance Actions” being released. (Obj. ¶        The Disclosure Statement now indicates that the Debtors believe that
Actions                              90.)                                                                      pursuing potential avoidance actions under the Bankruptcy Code, including
                                                                                                               potential preference or fraudulent transfer actions would not yield a net
                                                                                                               return. See Disclosure Statement, Article II.D n.22.

31) Adequate    Andreozzi    +       The Disclosure Statement does not address how claims will be              DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    Foote Claimants      treated given pending statute of limitations reform in multiple
Statute of      [D.I. 3151]          jurisdictions. (Obj. ¶ 23.)                                               The Disclosure Statement now provides further disclosure on claim
Limitations                                                                                                    treatment with respect to pending statute of limitation reform, including the
                                     The Disclosure Statement and Plan do not address how claims will
                                     be treated in “window” states vs. non-“window” states or in
                                                                                           73
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Argument No.      Objecting
                                                   Summary of Argument                                                         Debtors’ Response
& Description      Parties
                              jurisdictions where “windows” are possible like Pennsylvania. (Obj.   option to defer determination for up to 12 months from the Effective Date
                              ¶ 33.)                                                                of the Plan. Article VII.B.6. See Disclosure Statement, Article IV.B.

                                                                                                    The Trust Distribution Procedures adequately addresses the evaluation
                                                                                                    procedures the Settlement Trustee will follow to assess claims. See, Plan,
                                                                                                    Exhibit A, Trust Distribution Procedures. Part of the claim evaluation
                                                                                                    process is determining whether a claim is barred by the statute of
                                                                                                    limitations. See Plan, Exhibit A, Trust Distribution Procedures.

                                                                                                    The Trust Distribution Procedures utilizes a system to assign a value to a
                                                                                                    given Abuse Claim. Abuse Claims are assigned a value based on the
                                                                                                    “Claims Matrix” and “Scaling Factors” described further in the Trust
                                                                                                    Distribution Procedures. See Plan, Exhibit A, Trust Distribution
                                                                                                    Procedures, Article VIII. For a full analysis on the Trust Distribution
                                                                                                    Procedures, see Disclosure Statement, Article VII.B.



32) Adequate    SUMMARY OF    The Disclosure Statement fails to describe prepetition                DEBTORS HAVE ADDED DISCLOSURES
Disclosure –    ARGUMENTS     settlements entered into by the Debtors and funding by insurers
Insurance                     of such settlements.                                                  The Disclosure Statement now provides information concerning prepetition
Program                                                                                             litigation concerning Abuse Claims and that, prior to the Petition Date, the
                                                                                                    BSA’s Insurance Companies generally defended and indemnified the BSA
                                                                                                    against Abuse Claims. In certain years in which the BSA’s Insurance
                                                                                                    Policies were exhausted, insolvent or settled, the BSA would fund the
                                                                                                    settlement of Abuse Claims. While the Insurance Companies reserved the
                                                                                                    right to do so with respect to many Abuse Claims, in the last four years the
                                                                                                    BSA’s Insurance Companies have only denied coverage in connection with
                                                                                                    a very limited number of underlying lawsuits. See Disclosure Statement
                                                                                                    Article III.F.5.

                                                                                                    The Disclosure Statement provides adequate information regarding the
                                                                                                    Debtors’ insurance program, which has been further supplemented in the
                                                                                                    Disclosure Statement. See Disclosure Statement, Article III.F. Adequate
                                                                                                    information relating to the FEA, prepetition insurance coverage actions, and
                                                                                                    Chartered Organization’s rights under the BSA insurance policies is
                                                                                                    included. See id.

                                                                                                    The Plan and Trust Distribution Procedures have been amended to describe
                                                                                                    how section 502(e) will operate in the context of the post-confirmation
                                                                                                    Settlement Trust, and that the rights of claimants to assert Indirect Abuse
                                                                                 74
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Argument No.       Objecting
                                                           Summary of Argument                                                           Debtors’ Response
& Description       Parties
                                                                                                              Claims as they become liquidated in the tort system will be preserved. See
                                                                                                              Plan, Article III.B.11; see also Disclosure Statement, Article II.H. and
                                                                                                              Article VII.

                Lujan & Wolff        The Disclosure Statement fails to state whether the Boy Scouts of        The Disclosure Statement provides adequate information regarding the
                LLP Claimants        America or its insurers funded prepetition settlements and whether       Debtors’ insurance program, which has been further supplemented in the
                [D.I. 6039]; [D.I.   and which insurers defended the Boy Scouts of America. (Obj. ¶ 7.)       Disclosure Statement. See Disclosure Statement, Article III.F. Moreover,
                3231]                There is no attempt to explain why the FEA only applies to sexual        the Disclosure Statement clarifies that, by its terms, the First Encounter
                                     molestation claims and not to other bodily injury claims. (D.I. 3231     Agreement specifically limits its application to Abuse Claims and neither
                                     - Obj. ¶ 10.)                                                            the BSA nor Century has contended otherwise. Article III.F. Adequate
                                                                                                              information relating to the FEA, prepetition insurance coverage actions, and
                                                                                                              Chartered Organization’s rights under the BSA insurance policies is
                                                                                                              included. See id.

                United Methodist     The Disclosure Statement fails to provide adequate information on        The Disclosure Statement provides adequate information regarding the
                Ad          Hoc      “policy year by policy year information on the BSA Insurance             Debtors’ insurance program, which has been further supplemented in the
                Committee [D.I.      Policies setting out the total amount of coverage purchased for each     Disclosure Statement. See Disclosure Statement, Article III.F. Adequate
                3273]                year.” (Obj. ¶ 5.)                                                       information relating to the FEA, prepetition insurance coverage actions, and
                                                                                                              Chartered Organization’s rights under the BSA insurance policies is
                                                                                                              included. See Disclosure Statement, Article III.F. Additionally as set for
                                                                                                              the in Disclosure Statement, policy by policy information and total coverage
                                                                                                              per year is too voluminous to include herein. Moreover, given that many of
                                                                                                              the policy years are per-occurrence, there is no way to provide the “total
                                                                                                              amount of coverage purchased” in those years. See Disclosure Statement,
                                                                                                              Article III.F.

33) Adequate    Century              The Disclosure Statement fails to adequately disclose the necessity      DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    Indemnity            and support for the broad releases granted to non-debtors and the
Sidley Claims   Company [D.I.        risks associated with them. The Plan broadly releases all abuse          This is an objection to the Plan and nonconsensual releases/injunctions.
                6065]; [D.I.         claims, defined to encompass anything concerning abuse. Debtors          Such objections are premature and not ripe for consideration. Objections to
                5214]; [D.I.         must disclose that the non-debtor release provision will likely render   the Plan and releases should be considered at the proper time– plan
                3856]                the Plan unconfirmable. The release includes attorneys of protected      confirmation. However, a more fulsome response is set forth in the Debtors’
                                     parties, providing no opt-out mechanism for Century. Century has         Omnibus Reply.
                                     claims against Sidley Austin related to Sidley’s pre-bankruptcy
                                     representation of BSA. The ballot and Disclosure Statement must be       Nevertheless, the Debtors have added disclosure regarding third party
                                     amended so Century is not forced to decide between voting to accept      consensual releases as well as more description of the support needed to
                                     and opting to preserve its claims against Sidley. (D.I. 3856 - Obj. at   confirm the Plan and related third party injunction. See Disclosure
                                     22-24.)                                                                  Statement, Articles II.A, V.R, and VI.Q.

                                                                                                              Additionally, the Plan had been amended to allow holders of Claims who
                                                                                                              vote to accept or reject the Plan can opt-out of the consensual releases,
                                                                                          75
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Argument No.       Objecting
                                                         Summary of Argument                                                            Debtors’ Response
& Description       Parties
                                                                                                            which are customary and acceptable. A description distinguishing them
                                                                                                            from the Channeling Injunction is now included in the Disclosure
                                                                                                            Statement. See Disclosure Statement, Articles II.G.

                                                                                                            The Plan has been amended to reflect that nothing in the Plan or the release
                                                                                                            set forth in Article X.J.4 therein shall, or shall be construed to, release any
                                                                                                            claims or Causes of Action asserted by Century Indemnity Company
                                                                                                            against Sidley Austin LLP (“Sidley”) related to Sidley’s representation of
                                                                                                            the Debtors prior to the Petition Date. See Plan Articles X.J and X.K.

34) Adequate    SUMMARY OF         The Disclosure Statement fails to explain the treatment of certain       DEBTORS HAVE ADDED DISCLOSURES
Disclosure –    ARGUMENTS          insurer claims and their letters of credit. The claims should be
Letter of                          classified as Class 2 “Other Secured Claims.” The Disclosure             Agreed language has been added to the Disclosure Statement to fully
Credit                             Statement does not explain whether the letters of credit will be         resolve these objections. See Disclosure Statement, Article III.F.7.
Treatment                          assumed and drawn on the Effective Date.




                Century            The Disclosure Statement fails to explain the treatment of Century’s     Agreed language has been added to the Disclosure Statement to fully
                Indemnity          secured claim. Century’s claim should be classified as a Class 2         resolve these objections. See Disclosure Statement, Article III.F.7.
                Company [D.I.      ‘other secured claim’ but the Plan and Disclosure Statement do not
                6065]; [D.I.       confirm the treatment. The Disclosure Statement does not explain
                5214]; [D.I.       whether the Century letter of credit will be one the Debtors assume
                3856]              will be drawn on the effective date. The Disclosure Statement must
                                   explain how Debtors will treat letters of credit issued. (D.I. 3856 -
                                   Obj. at 32-33.)

                Liberty    [D.I.   The Disclosure Statement fails to account for treatment of the Liberty   Agreed language has been added to the Disclosure Statement to fully
                6057];     [D.I.   Claim and the Liberty Letter of Credit (“Liberty LC”). The Claim         resolve these objections. See Disclosure Statement, Article III.F.7. For the
                3578]              should be treated as an “Other Secured Claim” classified in Class 2.     avoidance of doubt, Liberty’s claim will not be classified as an Other
                                   Assuming the Liberty LC is one of the letters of credit that the Plan    Secured Claim as its recourse is against issuer the Letter of Credit.
                                   anticipates will be drawn on the Effective Date, neither the Plan nor
                                   the Disclosure Statement provides for that. If the Claim is an Other
                                   Secured Claim, neither the Plan nor the Disclosure Statement states
                                   the manner in which Liberty will be allowed to make an election.
                                   (Obj. ¶¶ 4-6.)

35) Adequate    Century            The Disclosure Statement does not disclose how privileged                RESOLVED
Disclosure –    Indemnity          documents and information associated with the defense of abuse
Privilege       Company [D.I.
                                                                                        76
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Argument No.       Objecting
                                                           Summary of Argument                                                              Debtors’ Response
& Description       Parties
                6065]; [D.I.         claims will be protected post-confirmation and the risks associated        The Document Agreement, to be filed with the Plan Supplement, will
                5214]; [D.I.         with waiving privilege. (D.I. 3856 - Obj. at 33-35.)                       provide the Settlement Trust with access to documents it needs to pursue
                3856]                                                                                           insurance coverage. See Plan, Exhibit B, Settlement Trust Agreement,
                                                                                                                Section 1.8. The transfer or assignment of any Privileged Information to the
                                                                                                                Settlement Trustee pursuant to the Document Agreement shall not result in
                                                                                                                the restriction or waiver of any applicable privileges. See Disclosure
                                                                                                                Statement, Article VII.A.25 and VII.B.4.

36) Adequate    Girl Scouts of the   The Disclosure Statement does not provide the basis for the                DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    United States of     classification and treatment of Girl Scouts’ claims when compared
Non-Abuse       America      [D.I.   to other Non-Abuse Litigation Claims, specifically their claims that       The Disclosure Statement now states that the Debtors believe that coverage
Settlement      3579]                are being liquidated and allowed in the Trademark Action.                  is sufficient to cover defense costs and any liability that may arise. See
                                                                                                                Disclosure Statement, Article VI.Q.1. Nevertheless, the Disclosure
                                     The Disclosure Statement does not include an estimated amount of           Statement provides information regarding insurance coverage that may be
                                     the Non-Abuse Litigation Claims, nor does it disclose any                  applicable to Non-Abuse Litigation Claims. See Disclosure Statement,
                                     information related to the referenced insurance policies that would        Article III.F and Article VII.A.12.
                                     apply to such claims. There is not enough information to determine
                                     whether or not there is sufficient insurance coverage to cover the         The Disclosure Statement now provides further information regarding Non-
                                     potential claims in the Non-Abuse Litigation class. Holders of Non-        Abuse Litigation Claims. See Disclosure Statement, Article II.J.
                                     Abuse Litigation Claims are unable to determine: (1) the total
                                     amount of potential claims in this class; (2) the insurance policies       With respect to the classification and treatment of Girl Scouts’ claims, this
                                     that apply to such claims and what, if any, limitations exist in their     is an objection to the Plan. Such objections are premature and not ripe for
                                     application; (3) the limits of the insurance policies that apply to such   consideration. Objections to the Plan should be considered at the proper
                                     claims; (4) the remaining coverage available under the insurance           time– plan confirmation. However, a more fulsome response is set forth in
                                     policies that apply to such claims. (Obj. ¶ 15.)                           the Debtors’ Omnibus Reply.



37) Adequate    United     States    The Disclosure Statement lacks financial information, including the        DEBTORS HAVE ADDED DISCLOSURE
Disclosure –    Trustee     [D.I.    funding of the settlement trust. (Obj. ¶ 15-21.)
Creditor        3581]                                                                                           The Debtors believe the Disclosure Statement provides more than adequate
Distributions                                                                                                   information with respect to distributions on account Allowed Claims The
                                                                                                                Disclosure Statement contains a chart with the estimated amount and
                                                                                                                approximate percentage of recovery for each Class of Claims. See
                                                                                                                Disclosure Statement, Article II.H; see also Disclosure Statement, Article
                                                                                                                VI.E. The Trust Distribution Procedures establish the methodology for
                                                                                                                resolution of Abuse Claims, establish the process by which Abuse Claims
                                                                                                                will be reviewed by the Settlement Trust, and will specify liquidated values
                                                                                                                for compensable Claims based on the nature of the underlying Abuse. For
                                                                                                                more information on the Trust Distribution Procedures, see Disclosure
                                                                                                                Statement, Article VII.B. For the Trust Distribution Procedures, see Plan,
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Argument No.        Objecting
                                                          Summary of Argument                                                           Debtors’ Response
& Description        Parties
                                                                                                             Exhibit A. Furthermore, the Disclosure Statement provides adequate
                                                                                                             information on the Settlement Trust and its sources of funding. See
                                                                                                             Disclosure Statement, Article VII.A; see also Plan, Exhibit B, Settlement
                                                                                                             Trust Agreement.

38) Adequate     United    States   The Disclosure Statement improperly seeks to effect non-consensual       DEBTORS HAVE REVISED PLAN
Disclosure –     Trustee    [D.I.   release of administrative and tax claims. (Obj. ¶ 3.). The Disclosure
Administrative   3581]              Statement should clarify the treatment of administrative expense         The Plan has been modified to remove administrative expense claimants
Claims                              claimants and priority tax claimants. (Obj. ¶ 25.)                       and priority tax claimants from the consensual third-party releases.
                                                                                                             Therefore, this objection is moot. See Plan Article I.A.217, definition of
                                    Requiring administrative claimants opt out of the third-party releases   “Releasing Claim Holder”; see also Disclosure Statement, Article II.H.
                                    or be bound to them is objectionable. This provision precludes any
                                    non-ordinary course administrative claimant from pursuing a claim
                                    against the Debtors or any third-party. (Obj. ¶ 26.)
39) Adequate     SUMMARY OF         The Trust Distribution Procedures, particularly the Claims               DEBTORS HAVE ADDED DISCLOSURE
Disclosure   –   ARGUMENTS          Matrix and Scaling Factors, fail to account for certain factors
Trust                               like the number of times of abuse, the Debtors’ and Local                This is an objection to the substance of the Trust Distribution Procedures.
Distribution                        Councils’ knowledge of the abuser, and whether there were other          Such objections are premature and not ripe for consideration. Instead, they
Procedures                          victims involved. The Trust Distribution Procedures fail to              should be considered at the proper time – plan confirmation.
                                    explain how claims will be valued and how the proceeds of
                                    insurance policies will be utilized.                                     The Trust Distribution Procedures utilizes a system to assign a value to a
                                                                                                             given Abuse Claim. Abuse Claims are assigned a value based on the
                                                                                                             “Claims Matrix” and the “Aggravating Scaling Factors” described further
                                                                                                             in the Trust Distribution Procedures, include, among other things, extended
                                                                                                             duration and/or frequency of the Abuse. See Plan, Exhibit A, Trust
                                                                                                             Distribution Procedures, Article VIII. For a full analysis on the Trust
                                                                                                             Distribution Procedures, see Disclosure Statement, Article VII.B.

                                                                                                             The Settlement Trust Assets, including the proceeds of the assigned
                                                                                                             insurance rights, shall be used to fund distributions to Abuse Claimants
                                                                                                             under the Trust Distribution Procedures. See Disclosure Statement, Article
                                                                                                             VII.B.1. The amounts paid will depend on the Settlement Trust’s ability to
                                                                                                             liquidate and recover the proceeds of the assigned insurance rights. Id.

                 Zalkin Law Firm    The matrix of valuation is inadequate because the “Abuser Profile”       This is an objection to the substance of the Trust Distribution Procedures.
                 Claimants          multiplier fails to account for other factors like the number of times   Such objections are premature and not ripe for consideration. Instead, they
                 [D.I. 3276]        of abuse, what BSA and local councils knew about the abuser, and         should be considered at the proper time – plan confirmation.
                                    whether there were other victims not involved in this proceeding.
                                    (Obj. ¶¶ 15-16.)                                                         The Trust Distribution Procedures utilizes a system to assign a value to a
                                                                                                             given Abuse Claim. Abuse Claims are assigned a value based on the
                                                                                                             “Claims Matrix” and the “Aggravating Scaling Factors” described further
                                                                                         78
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Argument No.       Objecting
                                                            Summary of Argument                                                              Debtors’ Response
& Description       Parties
                                                                                                                  in the Trust Distribution Procedures, include, among other things, extended
                                                                                                                  duration and/or frequency of the Abuse. See Plan, Exhibit A, Trust
                                                                                                                  Distribution Procedures, Article VIII. For a full analysis on the Trust
                                                                                                                  Distribution Procedures, see Disclosure Statement, Article VII.B.

                Edward               There is a failure to explain to Claimants how their claims will be          The Trust Distribution Procedures utilizes a system to assign a value to a
                Marcelino,           valued in the trust procedures, what ability they will have to contest       given Abuse Claim. Abuse Claims are assigned a value based on the
                George Burgos,       the proposed valuation of their claim, and how the proceeds of any           “Claims Matrix” and the “Aggravating Scaling Factors” described further
                William      F.      insurance policies assigned to the trust will be utilized. (Obj. ¶¶ 3, 5.)   in the Trust Distribution Procedures, include, among other things, extended
                Tompkins    III,                                                                                  duration and/or frequency of the Abuse. See Plan, Exhibit A, Trust
                and Richard G.                                                                                    Distribution Procedures, Article VIII. For a full analysis on the Trust
                Dunn                                                                                              Distribution Procedures, see Disclosure Statement, Article VII.B.
                [D.I. 2960]
                                                                                                                  The description of the Trust Distribution Procedures further explains the
                                                                                                                  procedure for how an Abuse Claimant may make a request for
                                                                                                                  reconsideration. See Disclosure Statement, Article VII.B.4.g; see also Plan,
                                                                                                                  Exhibit A, Trust Distribution Procedures, Article VII.G.

                                                                                                                  The Settlement Trust Assets, including the proceeds of the assigned
                                                                                                                  insurance rights, shall be used to fund distributions to Abuse Claimants
                                                                                                                  under the Trust Distribution Procedures. See Disclosure Statement, Article
                                                                                                                  VII.B.1. The amounts paid will depend on the Settlement Trust’s ability to
                                                                                                                  liquidate and recover the proceeds of the assigned insurance rights. Id.

40) Adequate    SUMMARY OF           The Disclosure Statement fails to disclose why Guam insurance                RESOLVED
Disclosure --   ARGUMENTS            law providing for direct action rights does not reverse or
Guam                                 preempt federal bankruptcy statutes. The Disclosure Statement                The Debtors have provided additional information related to all of the
                                     fails to state how direct action claimants will be adequately                Abuse Claims filed against the various Local Councils and some Chartered
                                     protected and compensated for the loss of their direct action                Organizations. See Disclosure Statement, Article V.N. However, the
                                     rights and property rights in the insurance policies.                        Debtors do not feel that singling out Guam is necessary to provide adequate
                                                                                                                  information to vote to accept or reject the Plan.
                Lujan & Wolff        Debtors need to disclose why Guam insurance law providing for                The Debtors have provided additional information related to all of the
                LLP Claimants        direct action rights (22 GCA § 18305) does not reverse preempt               Abuse Claims filed against the various Local Councils and some Chartered
                [D.I. 6039]; [D.I.   federal bankruptcy statutes. (D.I. 6039 - Obj. ¶ 2). The Disclosure          Organizations. See Disclosure Statement, Article V.N. However, the
                3231]                Statement fails to state how direct action claimants will be                 Debtors do not feel that singling out Guam is necessary to provide adequate
                                     adequately protected and compensated for the loss of their direct            information to vote to accept or reject the Plan.
                                     action rights and property rights in the insurance policies. (D.I. 6039
                                     - Obj. ¶ 3).
                Hurley McKenna       The Disclosure Statement fails to mention claims against Debtors             The Debtors have provided additional information related to all of the
                & Mertz, P.C.        arising in Guam, even though more than 25% of all prepetition                Abuse Claims filed against the various Local Councils and some Chartered
                Claimants            lawsuits pending against Debtors and leading up to the bankruptcy            Organizations. See Disclosure Statement, Article V.N. However, the
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Argument No.       Objecting
                                                         Summary of Argument                                                            Debtors’ Response
& Description        Parties
                [D.I. 3284]        filing were brought by survivors of child sexual abuse in Guam,           Debtors do not feel that singling out Guam is necessary to provide adequate
                                   including victims of one of the most prolific child sexual abusers in     information to vote to accept or reject the Plan.
                                   scouting. (Obj. ¶ 1.)
                                                                            Confirmation Objections

41) Plan        SUMMARY OF         The Plan was not proposed in good faith, as is required by section        PREMATURE OBJECTION TO THE PLAN & LACKS MERIT
Treatment –     ARGUMENTS          1129(a)(3) of the Bankruptcy Code. The Plan is collusive and
Good Faith                         patently unconfirmable.                                                   This is an objection to the Plan. Such Confirmation Objections are
                                                                                                             premature and should be considered at the Confirmation Hearing,
                                                                                                             however, a preliminary response is set forth in the Debtors’ Omnibus
                                                                                                             Reply at § II.A.1.
                Certain Insurers   The Plan was not proposed in good faith, as is required by section        This is an objection to the Plan. Such Confirmation Objections are
                [D.I. 6052]        1129(a)(3) of the Bankruptcy Code. The principal purpose of these         premature and should be considered at the Confirmation Hearing, however,
                                   Chapter 11 Cases is to protect the Local Councils, who forced the         a preliminary response is set forth in the Debtors’ Omnibus Reply at §
                                   Debtors into chapter 11 and to negotiate a plan that is extremely         II.A.1.
                                   favorable to the Local Councils, while providing no cognizable
                                   benefit to the Debtors other than a release and an end to their
                                   Chapter 11 Cases, which the Debtors could achieve under the BSA
                                   Toggle Plan. Further, the Debtors have ceded complete control of
                                   these Chapter 11 Cases and Administration of the Settlement Trust
                                   to the Abuse Claimant Representatives, in a complete derogation of
                                   their duties as debtors-in-possession. (Obj. ¶¶ 29-32).

                                   Collusive plans do not met the good faith requirement of section
                                   1129(a)(3). The collusion between the Debtors and the Abuse
                                   Claimant Representatives is clear because the Plan and TDP (i) are
                                   patently insurance prejudicial, (ii) provide for an abdication of the
                                   Debtors’ duties to design and prosecute a plan and resolve claims,
                                   and hand those duties to the Abuse Claimant Representatives, (iii)
                                   provide significant unwarranted cash awards to Abuse Claimant
                                   Representatives without a showing of substantial contribution, (iv)
                                   are designed to deprive insurers of their contractual rights and
                                   entitlements, and (v) materially expand insurer liability. (Obj. ¶ 33).

                Catholic and       The Plan is patently unconfirmable because it was not proposed in         This is an objection to the Plan. Such Confirmation Objections are
                Methodist          good faith, because its terms reflect the Debtors’ capitulation to the    premature and should be considered at the Confirmation Hearing, however,
                Committees         demands of Direct Abuse Claimants and their counsel to the                a preliminary response is set forth in the Debtors’ Omnibus Reply at §
                [D.I. 6067]        detriment of Chartered Organizations and other key stakeholders.          II.A.1.
                                   (Obj. ¶ 80).


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Argument No.       Objecting
                                                          Summary of Argument                                                           Debtors’ Response
& Description        Parties
                Century             The Plan is the product of collusion because it would increase the        This is an objection to the Plan. Such Confirmation Objections are
                Indemnity           quantum of insurer liability while stripping insurers of their            premature and should be considered at the Confirmation Hearing, however,
                Company             contractual participation rights. The TDP override the express terms      a preliminary response is set forth in the Debtors’ Omnibus Reply at §
                [D.I. 3856] [D.I.   of insurance policies and deprive insurers of their contractual rights,   II.A.1.
                6065]               such as the right to challenge a settlement or participate in the
                                    process. Non-Settling Insurance Companies are denied any role in
                                    determining whether to make a settlement offer to satisfy an Abuse
                                    Claim. Relaxing the procedural safeguards combined with perverse
                                    incentives for the Debtors and claimants, renders the collusion
                                    readily apparent (citing Skinner I, 405 B.R. at 421). (D.I. 6065 - Obj.
                                    at 19-20).

                                    The Plan was not proposed in good faith under section 1129(a)(3).
                                    Debtors excluded Century from all meetings and communications
                                    held with the claimant representatives concerning formulation of the
                                    Plan. Debtors have made it abundantly clear that their priority is to
                                    emerge from bankruptcy in short order. Debtors have seemingly
                                    formed a mutually beneficial agreement with the Coalition law
                                    firms—over the objection of the TCC—to ram through an
                                    incomplete plan on a compressed timeline. Debtors’ proposal
                                    offering each abuse claimant a $1,500 payment to vote in favor of
                                    the Plan—without any scrutiny of the claim whatsoever—only
                                    underscores the Debtors’ attempt to capitalize on the votes of
                                    illegitimate claimants. (D.I. 3856 - Obj. at 43-45).

42) Plan        SUMMARY OF          The Plan is not feasible, and therefore, cannot satisfy section           PREMATURE OBJECTION TO THE PLAN & LACKS MERIT
Treatment –     ARGUMENTS           1129(a)(11) of the Bankruptcy because the Plan would result in
Feasibility                         the liquidation of the Debtors.                                           This is an objection to the Plan and to feasibility pursuant to section
                                                                                                              1129(a)(11). Such Confirmation Objections are premature and should be
                                                                                                              considered at the Confirmation Hearing, however, a preliminary response
                                                                                                              is set forth in the Debtors’ Omnibus Reply at § II.A.1.

                Certain Insurers    The Plan is not feasible as required under section 1129(a)(11)            This is an objection to the Plan and to feasibility pursuant to section
                [D.I. 6052]         because the Chartered Organizations’ ability to continue generating       1129(a)(11). Such Confirmation Objections are premature and should be
                                    Scouting membership fees is speculative. Given the Debtors’               considered at the Confirmation Hearing, however, a preliminary response
                                    inability to reach an agreement with the Chartered Organizations and      is set forth in the Debtors’ Omnibus Reply at § II.A.1.
                                    provide them with Protected Party status under the Plan, some or all
                                    of the Chartered Organizations could withdraw from the program or
                                    some or all of the Chartered Organizations may become insolvent or
                                    inoperable. (Obj. ¶¶ 42-43).


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Argument No.        Objecting
                                                          Summary of Argument                                                             Debtors’ Response
& Description         Parties
                 Century            The Disclosure Statement describes a plan that is unconfirmable          This is an objection to the Plan and to feasibility pursuant to section
                 Indemnity          because the Plan is not feasible and would result in liquidation of      1129(a)(11). Such Confirmation Objections are premature and should be
                 Company            the Debtors. The Plan fails to provide protections from Abuse            considered at the Confirmation Hearing, however, a preliminary response
                  [D.I. 6065]       Claim liability for the Chartered Organizations that are critical to     is set forth in the Debtors’ Omnibus Reply at § II.A.1.
                                    the BSA’s operations. The resulting litigation exposure the
                                    Chartered Organizations face as a result of being left out of the
                                    channeling injunction will undermine the Debtors’ mission, lead to
                                    the liquidation of the Debtors, while at the same time precluding
                                    insurer settlements. (Obj. at 21-22).

                                    The Plan is not feasible because the Debtors have not obtained a
                                    commitment from Local Councils to make the $500 million
                                    contribution. Debtors obtained nothing more than a promise to use
                                    reasonable efforts to convince the Local Councils to fund the Local
                                    Council Settlement Contribution.

                 Catholic and       The Plan is not feasible because it incentivizes chartered               This is an objection to the Plan and to feasibility pursuant to section
                 Methodist          organizations to abandon scouting. If a sufficient number of             1129(a)(11). Such Confirmation Objections are premature and should be
                 Committees         Chartered Organizations terminate their relationships with the           considered at the Confirmation Hearing, however, a preliminary response
                 [D.I. 6067]        Debtors because of their proposed impairment under the Plan, it is       is set forth in the Debtors’ Omnibus Reply at § II.A.1.
                                    unlikely the Debtors will be able to meet their financial obligations.
                                    (Obj. ¶¶ 66-69).

43)       Plan   Certain Insurers   The Plan and TDP leave open the possibility that substantially more      THIS IS NOT A PATENTLY UNCONFIRMABLE OBJECTION
Treatment –      [D.I. 6052]        Abuse Claims will be filed in the future in complete disregard of the
Post-Bar Date                       Bar Date Order, which also violates section 502(b) of the Bankruptcy     The Plan allows for Claims filed after the Bar Date under very limited
Claims                              Code. (Obj. ¶ 24).                                                       circumstances.
Allowance
                                                                                                             Additional details are set forth in the Debtors’ Omnibus Reply at § II.C.1.

44) Plan         Century            Disclosure Statement and Plan must be modified to ensure that            RESOLVED
Treatment –      Indemnity          holders of claims having no connection to BSA are not enjoined and
Non Scouting     Company            explain how the settlement trust will review abuse claims to ensure      As provided in the Plan, an “Abuse Claim” means a liquidated or
Claims           [D.I. 3856]        only claims connected to scouting are validated. (Obj. at 24-25.)        unliquidated Claim against a Protected Party or a Limited Protected Party
                                                                                                             that is attributable to, arises from, is based upon, relates to, or results from,
                                                                                                             in whole or in part, directly, indirectly, or derivatively, alleged Abuse that
                                                                                                             occurred prior to the Petition Date (and in the case of Limited Protected
                                                                                                             Parties, on or after January 1, 1976), including any such Claim that seeks
                                                                                                             monetary damages or other relief, under any theory of law or equity
                                                                                                             whatsoever, including vicarious liability, respondeat superior, conspiracy,
                                                                                                             fraud, including fraud in the inducement, any negligence-based or
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Argument No.     Objecting
                                                 Summary of Argument                                                         Debtors’ Response
& Description     Parties
                                                                                                employment-based theory, including negligent hiring, selection,
                                                                                                supervision, retention or misrepresentation, any other theory based on
                                                                                                misrepresentation, concealment, or unfair practice, public or private
                                                                                                nuisance, or any other theory, including any theory based on public policy
                                                                                                or any act or failure to act by a Protected Party, a Limited Protected Party
                                                                                                or any other Person for whom any Protected Party or Limited Protected
                                                                                                Party is alleged to be responsible; provided, however, that with respect to
                                                                                                any Contributing Chartered Organization or its personnel or affiliates, the
                                                                                                term “Abuse Claim” shall be limited to any such Claim that is attributable
                                                                                                to, arises from, is based upon, or results from, in whole or in part, directly,
                                                                                                indirectly, or derivatively, alleged Abuse that occurred prior to the Petition
                                                                                                Date, including any such Claim that seeks monetary damages or other
                                                                                                relief, under any theory of law or equity whatsoever, including vicarious
                                                                                                liability, respondeat superior, conspiracy, fraud, including fraud in the
                                                                                                inducement, any negligence-based or employment-based theory, including
                                                                                                negligent hiring, selection, supervision, retention or misrepresentation,
                                                                                                concealment, or unfair practice, public or private nuisance, or any other
                                                                                                theory, including any theory based on public policy or any act or failure to
                                                                                                act by a Protected Party, a Limited Protected Party or any other Person for
                                                                                                whom any Protected Party or Limited Protected Party is alleged to be
                                                                                                responsible, in connection, in whole or in part, with the Contributing
                                                                                                Chartered Organization’s involvement in, or sponsorship of, one or more
                                                                                                Scouting units (including any Claim that has been asserted or may be
                                                                                                amended to assert in a proof of claim alleging Abuse, whether or not
                                                                                                timely filed, in the Chapter 11 Cases); provided further, however, that
                                                                                                with respect to any Participating Chartered Organization, the term “Abuse
                                                                                                Claim” shall be limited to Post-1975 Chartered Organization Abuse
                                                                                                Claims. Abuse Claims include any Future Abuse Claims, any Indirect
                                                                                                Abuse Claims, and any Claim that is attributable to, arises from, is based
                                                                                                upon, relates to, or results from, alleged Abuse regardless of whether, as
                                                                                                of the Petition Date, such Claim was barred by any applicable statute of
                                                                                                limitations. See Plan Article I.A.18.
45) Plan        SUMMARY OF   The Plan is unconfirmable under section 1129(a)(1) because the     PREMATURE OBJECTION TO THE PLAN
Treatment –     ARGUMENTS    TDP violate sections 502(a) and 502(b)(1). The TDP expressly
Payment of                   permit (and to some extent require) the payment of claims that     This is an objection to the substance of the Trust Distribution Procedures,
Non-                         are not compensable in the tort system, including fraudulent and   as incorporated by the Plan. Such Confirmation Objections are premature
Compensable                  time-bared claims, without allowing parties in interest to file    and should be considered at the Confirmation Hearing; however, a
Claims                       objections to such claims                                          preliminary response is set forth in the Debtors’ Omnibus Reply at §
                                                                                                II.C.1.



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Argument No.       Objecting
                                                         Summary of Argument                                                            Debtors’ Response
& Description       Parties
                                                                                                             As explained in the Disclosure Statement and pursuant to the Trust
                                                                                                             Distribution Procedures, after a review of the documentation provided by
                                                                                                             the Abuse Claimant in his or her Trust Claim Submission, materials
                                                                                                             received pursuant to the Document Agreement, and any follow-up
                                                                                                             materials or examinations (including, without limitation, any Trustee
                                                                                                             Interview), the Settlement Trustee will either find the Abuse Claim to be
                                                                                                             legally valid or invalid. The Trust Distribution Procedures are intended to
                                                                                                             weed out invalid claims. See Disclosure Statement, Article VII.B.2; see
                                                                                                             also Plan, Exhibit A, Trust Distribution Procedures, Article VII.I. The
                                                                                                             Debtors address the Trust Distribution Procedures, including section 502
                                                                                                             in the Debtors’ Omnibus Reply at § II.C.1.


                Certain Insurers   The Plan is unconfirmable under section 1129(a)(1) because the TDP        This is an objection to the substance of the Trust Distribution Procedures,
                [D.I. 6052]        violate sections 502(a) and 502(b)(1). The TDP expressly permit           as incorporated by the Plan. Such Confirmation Objections are premature
                                   (and to some extent require) the payment of claims that are not           and should be considered at the Confirmation Hearing; however, a
                                   compensable in the tort system, including fraudulent and time-bared       preliminary response is set forth in the Debtors’ Omnibus Reply at §
                                   claims, without allowing parties in interest to file objections to such   II.C.1.
                                   claims.
                                                                                                             The Plan has been modified to unlink the vote to accept the Plan from the
                                   The Plan and TDP facilitate the allowance of such claims by:              election to receive the Expedited Distribution under the Plan. Therefore,
                                       (i)     Appointing a Settlement Trustee who has a close               this objection is moot. A more fulsome response is set forth in the Debtors’
                                               personal and professional relationship with the Future        Omnibus Reply. See Disclosure Statement, Article VII.B; see also Plan,
                                               Claimants’ Representative, and was previously                 Article III.B.10.
                                               rejected by the Court for the role of mediator;
                                       (ii)    Limiting the Settlement Trustee’s ability to reduce the       As explained in the Disclosure Statement and pursuant to the Trust
                                               amount of a Direct Abuse Claim by eliminating from            Distribution Procedures, after a review of the documentation provided by
                                               the TDP certain mitigating factors that the Settlement        the Abuse Claimant in his or her Trust Claim Submission, materials
                                               Trustee could consider, including “incomplete or              received pursuant to the Document Agreement, and any follow-up
                                               suspicious” or “deliberately false or misleading”             materials or examinations (including, without limitation, any Trustee
                                               evidence;                                                     Interview), the Settlement Trustee will either find the Abuse Claim to be
                                       (iii)   Eliminating the Settlement Trustee’s discretion to zero       legally valid or invalid. The Trust Distribution Procedures are intended to
                                               out Direct Abuse Claims that are time-barred under            weed out invalid claims. See Disclosure Statement, Article VII.B.2; see
                                               state law;                                                    also Plan, Exhibit A, Trust Distribution Procedures, Article VII.I.
                                       (iv)    Allowing the Settlement Trustee to determine the
                                               applicable statute of limitations or choice of law based
                                               not only on where a Direct Abuse Claim was pending
                                               on the Petition Date, but also based on “where such
                                               Abuse Claim could have been timely and properly filed
                                               as asserted by the Abuse Claimant under state law,”


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Argument No.           Objecting
                                                                 Summary of Argument                                                           Debtors’ Response
& Description           Parties
                                                        without any opportunity for any part to review or
                                                        challenge this determination;
                                               (v)      Allowing Abuse Claimants whose Direct Abuse
                                                        Claims may be substantially reduced by the Scaling
                                                        Factors to elect to defer the determination of their
                                                        Proposed Allowed Claim Amounts for up to 12 months
                                                        from the Effective Date to see if statute of limitation
                                                        revival legislation occurs;
                                          Not requiring a showing of negligence on the part of the Protected
                                          Party, a showing without which no state law claim is ever allowed,
                                          in order for a Direct Abuse Claim to be allowed at a Base Matrix
                                          Value; and Providing a no-questions asked, no-proof required
                                          Expedited Distribution of $3,500 to holders of Abuse Claims who
                                          elect to receive such payments, rather than attempt to show their
                                          claims have even potential validity. (Obj. ¶¶ 19-23).
                    Century               The Plan purports to bar the insurers from objecting to claims. In        The Debtors address the Trust Distribution Procedures, including section
                    Indemnity             doing so, it improperly strips them of rights guaranteed by               502 in the Debtors’ Omnibus Reply at § II.C.1.
                    Company               Bankruptcy Code Section 502(a). (Obj. at 3).
                    [D.I. 6065]

                    Catholic and          The Plan is patently unconfirmable because it seeks to strip interested   The Debtors address the Trust Distribution Procedures, including section
                    Methodist             parties of the statutory right to object to invalid proofs of claim by    502 in the Debtors’ Omnibus Reply at § II.C.1.
                    Committees            creating a closed claims allowance process run by hand-picked
                    [D.I. 6067]           representatives of the Direct Abuse Claimants. (Obj. ¶¶ 70-73).

                    Great American        The Disclosure Statement fails to explain the dynamic whereby the         This is an objection to the substance of the Trust Distribution Procedures,
                    Assurance             Debtors will be incentivized to make concessions to “claimants with       as incorporated by the Plan. Such Confirmation Objections are premature
                    [D.I. 3271]15         dubious or invalid claims” in exchange for their approval to meet the     and should be considered at the Confirmation Hearing; however, a
                                          numerosity requirement. (Obj. ¶ 5.)                                       preliminary response is set forth in the Debtors’ Omnibus Reply at § II.C.1.

                                          Debtors pretend that the Plan will pay only compensable claims, but       The Plan has been modified to unlink the vote to accept the Plan from the
                                          the Plan dos not guard against fraudulent claims. (Obj. ¶ 2.)             election to receive the Expedited Distribution under the Plan. Therefore,
                                                                                                                    this objection is moot. A more fulsome response is set forth in the Debtors’
                                                                                                                    Omnibus Reply. See Disclosure Statement, Article VII.B; see also Plan,
                                                                                                                    Article III.B.10.
46) Plan            SUMMARY OF            Some Direct Abuse Claimants will tender more consideration                PREMATURE OBJECTION TO THE PLAN & LACKS MERIT
Treatment –         ARGUMENTS             than others by relinquishing more valuable claims, in violation
                                          of section 1123(a)(4).                                                    This is an objection to the Plan. Such Confirmation Objections are
                                                                                                                    premature and should be considered at the Confirmation Hearing,

  15   Travelers Casualty and Surety Company [D.I. 3278] joins in this objection.
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Argument No.        Objecting
                                                            Summary of Argument                                                           Debtors’ Response
 & Description       Parties
Section                                                                                                        however, a preliminary response is set forth in the Debtors’ Omnibus
1123(a)(4)                                                                                                     Reply at § II.A.4.

                 Plaintiff   Law      Because the claimants hold different economic rights against non-        This is an objection to the Plan. Such Confirmation Objections are
                 Firms [D.I. 5955     debtors, the pooling and third-party releases under the Plan violates    premature and should be considered at the Confirmation Hearing,
                 et al.]              section 1123(a)(4): creditors with superior claims against more          however, a preliminary response is set forth in the Debtors’ Omnibus
                                      solvent non-debtors are relinquished those valuable claims but           Reply at § II.A.4.
                                      receive the same treatment as those without such claims (citing In re
                                      AOV Indus., Inc., 792 F.2d 1140 (D.C. Cir. 1986). (See, e.g., Obj. ¶
                                      15 [D.I. 5964]).

                                      TDP must distinguish among claimants based on which Local
                                      Council is alleged to be co-liable with the Debtors since some Local
                                      Councils are financially weak and underinsured. Otherwise, the
                                      burden of the channeling injunction to all Local Councils will fall on
                                      the claimants with valid claims against asset-rich Local Councils.
                                      (See, e.g., Obj. ¶ 5 [D.I. 5964]).
                 Herman      Law      Because the claimants hold fundamentally different economic              This is an objection to the Plan. Such Confirmation Objections are
                 Claimants            rights against the various non-debtors, the pooling and third-party      premature and should be considered at the Confirmation Hearing, however,
                 [D.I. 6032]          release features of the Plan violate § 1123(a)(4): creditors with        a preliminary response is set forth in the Debtors’ Omnibus Reply at §
                                      superior claims against more solvent non-debtors are being               II.A.4.
                                      compelled to relinquish those valuable claims but are receiving the
                                      same treatment as those without such claims. (Obj. ¶ 6).
                 Lujan & Wolff        The Disclosure Statement fails to provide sufficient information to      This is an objection to the Plan. Such Confirmation Objections are
                 LLP Claimants        support classification of claims in the Plan, including the failure to   premature and should be considered at the Confirmation Hearing,
                 [D.I. 6039]; [D.I.   provide adequate information concerning the similarities and             however, a preliminary response is set forth in the Debtors’ Omnibus
                 3231]                dissimilarities of claims and rights of tort claimant creditors,         Reply at § II.A.4.
                                      including continuing to ignore the uniqueness of Guam survivor
                                      claims. (Obj. ¶ 1). Guam survivors are the only survivors who have
                                      a combination of an open statute of limitations that does not close
                                      (civil statute of limitations was eliminated); statutory direct action
                                      rights against insurers without having to sue the insured; and who
                                      were directly serviced by Debtor Boy Scouts of America--which
                                      wore a different hat servicing Guam scouting units from 1956 to
                                      1970 as the Direct Service Council, a “local council equal.” (Obj. at
                                      1). The Disclosure Statement fails to explain why direct action
                                      claimants who are losing statutory rights of direct action are treated
                                      the same way as survivors without such rights – this is unfair and
                                      unequal treatment. (D.I. 6039 - Obj. ¶ 4).



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Argument No.          Objecting
                                                            Summary of Argument                                                            Debtors’ Response
& Description          Parties
                  Certain Insurers    The Plan does not provide the same treatment for all Direct Abuse         This is an objection to the Plan. Such Confirmation Objections are
                  [D.I. 6052]         Claims and, therefore, violates section 1123(a)(4). The Plan ignores      premature and should be considered at the Confirmation Hearing,
                  (Filed 8/17/21)     the different economic rights and degree of consideration each Direct     however, a preliminary response is set forth in the Debtors’ Omnibus
                                      Abuse Claimant is providing in exchange for the same pro rata             Reply at § II.A.4.
                                      distribution as all other Direct Abuse Claimants. Such disparate
                                      treatment also renders the claims dissimilar and requires separate
                                      classification under section 1122 of the Code. (Obj. ¶¶ 37-39).
47)        Plan   Markel Service,     The Plan imposes an inappropriate impediment to prompt processing         PREMATURE OBJECTION TO THE PLAN & LACKS MERIT
Treatment –       Incorporated        and payment of Non-Abuse claims; specifically, the Plan provides
Non-Abuse         [D.I. 6038]         the Settlement Trust consent over any post-Effective Date settlement      This is an objection to the Plan. Such Confirmation Objections are
Litigation                            of any Non-Abuse Litigation Claim that is entitled to a recovery from     premature and should be considered at the Confirmation Hearing,
Claims                                the proceeds of the Specified Insurance. (Obj. ¶ 5).                      however, a preliminary response is set forth in the Debtors’ Omnibus
                                                                                                                Reply at § II.A.5.
                                      The Plan contradicts the terms of the primary policy issued by
                                      Evanston, which authorizes “settlement of any claim or suit as
                                      [Evanston] deems expedient.” It potentially puts Evanston, as
                                      insurer, at odds with applicable statutory, regulatory and legal claims
                                      handling requirements regarding timing. (Obj. ¶ 5).
48)      Plan     SUMMARY OF          The Plan is patently unconfirmable because the injunctive relief          PREMATURE OBJECTION TO THE PLAN
Treatment –       ARGUMENTS           is unlawful given that the inadequate contributions by the BSA
Best Interests                        and the Local Councils violate the best interests of creditors test       This is an objection to the Plan. Such Confirmation Objections are
Test                                  under section 1129(a)(7).                                                 premature and should be considered at the Confirmation Hearing,
                                                                                                                however, a preliminary response is set forth in the Debtors’ Omnibus
                                                                                                                Reply at § II.A.6.
                  Plaintiff    Law    In making that calculation the Court must consider the value of rights    This is an objection to the Plan. Such Confirmation Objections are
                  Firms [D.I. 5955    against non-debtors that are released under the terms of the Plan. See,   premature and should be considered at the Confirmation Hearing,
                  et al.]             e.g., In re Washington Mutual, Inc., 442 B.R. 314, 359-60 (Bankr.         however, a preliminary response is set forth in the Debtors’ Omnibus
                  (Filed      8/10-   D. Del. 2011) (“In a case where claims are being released under the       Reply at § II.A.6.
                  8/16/2021)          chapter 11 plan but would be available for recovery in a chapter 7
                                      case, the released claims must be considered as part of the analysis
                                      in deciding whether creditors fare at least as well under the chapter
                                      11 plan as they would in a chapter 7 liquidation.”); In re Quigley Co.,
                                      437 B.R. 102, 144-46 (Bankr. S.D.N.Y. 2010) (plan violated best
                                      interest test because the debtor’s liquidation analysis did not reflect
                                      that some creditors would retain their rights to sue the solvent non-
                                      debtor parent in a chapter 7 liquidation, rights released under the
                                      chapter 11 plan). (See, e.g., Obj. ¶ 19 [D.I. 5964]).

                  Certain Insurers    To the extent that any Direct Abuse Claimant votes to reject the Plan,    This is an objection to the Plan. Such Confirmation Objections are
                  [D.I. 6052]         the Plan would not satisfy the best interests test under section          premature and should be considered at the Confirmation Hearing,
                  (Filed 8/17/21)     1129(a)(7) because the test requires consideration of the value of
                                                                                            87
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Argument No.       Objecting
                                                           Summary of Argument                                                            Debtors’ Response
& Description       Parties
                                     property that each dissenting creditor will retain under the plan and     however, a preliminary response is set forth in the Debtors’ Omnibus
                                     in the hypothetical chapter 7 case, including claims against non-         Reply at § II.A.6.
                                     debtors that cannot be released in a chapter 7 liquidation. Quigley,
                                     437 B.R. at 144-45; Washington Mut., 442 B.R. at 369-60. (Obj. ¶
                                     40).

                Catholic and         The Plan cannot satisfy the best interest test, as Chartered              This is an objection to the Plan. Such Confirmation Objections are
                Methodist            Organizations would retain more value in a chapter 7 liquidation          premature and should be considered at the Confirmation Hearing,
                Committees           than under the Plan because their ability to directly tender claims       however, a preliminary response is set forth in the Debtors’ Omnibus
                [D.I. 6067]          under the Scouting Policies would provide an opportunity for full         Reply at § II.A.6.
                                     recovery. The liquidation analysis must take into consideration the
                                     value of the Chartered Organizations’ claims against the insurance
                                     companies that would be released under the Plan. (Obj. ¶¶ 76-78).
49)      Plan   SUMMARY OF           The Plan is patently unconfirmable because it contains                    PREMATURE OBJECTION TO THE PLAN & LACKS MERIT
Treatment –     ARGUMENTS            impermissible third-party releases.
Third   Party                                                                                                  This is an objection to the Plan and to the third party releases. Such
Release                                                                                                        Confirmation Objections are premature and should be considered at the
                                                                                                               Confirmation Hearing, however, a preliminary response is set forth in the
                                                                                                               Debtors’ Omnibus Reply at § II.B.2.

                Century              The Disclosure Statement describes a plan that is unconfirmable           This is an objection to the Plan and to the third party releases. Such
                Indemnity            because the Plan grants improper third party releases by imposing         Confirmation Objections are premature and should be considered at the
                Company              broad non-consensual releases in favor of non-debtor third parties.       Confirmation Hearing, however, a preliminary response is set forth in the
                [D.I. 6065]          The Court should not approve a Disclosure Statement for a plan that       Debtors’ Omnibus Reply at § II.B.2.
                                     contains illegal releases. (Obj. at 30).

                Claimant No. 242     The releases of the Debtors, Local Councils, and third parties are        This is an objection to the Plan and to the third party releases. Such
                [D.I. 2386]          objectionable. (Obj. at 5:27-28.)                                         Confirmation Objections are premature and should be considered at the
                                                                                                               Confirmation Hearing, however, a preliminary response is set forth in the
                                                                                                               Debtors’ Omnibus Reply at § II.B.2.

                United      States   In other cases, the opt out provisions are deficient because they apply   This is an objection to the Plan and to the third party releases. Such
                Trustee              only to creditors who vote against the Plan, and not to other creditors   Confirmation Objections are premature and should be considered at the
                [D.I. 3581]          who will be affected by the release but who have no ability to vote       Confirmation Hearing, however, a preliminary response is set forth in the
                                     or opt out. Thus, the Plan’s definition of Releasing Claim Holder         Debtors’ Omnibus Reply at § II.B.2.
                                     (I.A.190) does not permit holders of Claims to opt out if they were
                                     presumed to accept the Plan (Priority Claims and Other Secured
                                     Claims), nor if they failed to return a ballot. The releases cannot be
                                     considered “consensual” with respect to those claimants, and the



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Argument No.        Objecting
                                                            Summary of Argument                                                              Debtors’ Response
& Description        Parties
                                      Plan should not be approved unless those releases are amended to
                                      apply only to those creditors who affirmatively assent. (Obj. ¶ 34.)

                 Tort Claimants’      The Plan is uncomfirmable because it contains blanket direct and           This is an objection to the Plan and to the third party releases. Such
                 Committee            third-party releases without adequate discussion of what claims are        Confirmation Objections are premature and should be considered at the
                 [D.I. 3526]          to be released and in exchange for what value and consideration.           Confirmation Hearing, however, a preliminary response is set forth in the
                                      (Obj. ¶ 112-18.)                                                           Debtors’ Omnibus Reply at § II.B.2.

50)       Plan   SUMMARY OF           The Plan is unconfirmable under section 1129(a)(1) because                 PREMATURE OBJECTION TO THE PLAN & LACKS MERIT
Treatment –      ARGUMENTS            there is a discharge of non-debtor Protected Parties’ abuse
Protected                             liabilities without making the required showing that the Local             This is an objection to the Plan and to the channeling injunction. Such
Parties                               Councils have provided a critical financial contribution. Though           Confirmation Objections are premature and should be considered at the
Channeling                            styled as a Channeling Injunction, the releases described in               Confirmation Hearing, however, a preliminary response is set forth in the
Injunction.                           Section X.J.3 of the Plan are simply a specialized form of a non-          Debtors’ Omnibus Reply at § II.B.2.
                                      consensual third-party release.
                                                                                                                 In addition to being premature, these objections have been rendered
                                      Additionally, if a Chartered Organization post-confirmation                substantially moot by the revised Plan. Pursuant to Articles IV.I and IV.K
                                      becomes a Protected Party, and thus subject to the Channeling              of the Plan, Post-Effective Date Chartered Organization Settlements and
                                      Inunction, the same information must be disclosed and all                  Post-Effective Date Insurance Settlements are now subject to notice and an
                                      affected claimants must be given notice and an opportunity for a           objection period. Also, Post-Effective Date Chartered Organization
                                      hearing to assess the fairness of such post-confirmation                   Settlements are only effective upon the Court’s entry of a final order of
                                      settlement.                                                                approval. This ensures that parties in interest will have equivalent rights to
                                                                                                                 be heard before approval of any post-effective date settlement.
                 Plaintiff    Law     [I]f a Chartered Organization post-confirmation becomes a Protected        This is an objection to the Plan and to the channeling injunction. Such
                 Firms                Party, the same information must be disclosed and all affected             Confirmation Objections are premature and should be considered at the
                 [D.I. 5955 et al.]   claimants must be given notice and an opportunity for a hearing to         Confirmation Hearing, however, a preliminary response is set forth in the
                 (Filed 8/10 –        assess the fairness of such post-confirmation settlement. (See, e.g.,      Debtors’ Omnibus Reply at § II.B.2.
                 8/16/21)             Obj. ¶ 5 [D.I. 5964]).
                                                                                                                 In addition to being premature, these objections have been rendered
                                      The procedures under the Disclosure Statement and Plan that allow          substantially moot by the revised Plan. Pursuant to Articles IV.I and IV.K
                                      a post-confirmation trustee to enter into settlements to release claims    of the Plan, Post-Effective Date Chartered Organization Settlements and
                                      against non-debtors are inadequate to protect the rights of the parties    Post-Effective Date Insurance Settlements are now subject to notice and an
                                      being enjoined. Disclosure must be made as to the identity of any          objection period. Also, Post-Effective Date Chartered Organization
                                      third party non-debtor Chartered Organization that becomes a               Settlements are only effective upon the Court’s entry of a final order of
                                      Protected Party under the Plan and the contribution being made             approval. This ensures that parties in interest will have equivalent rights to
                                      before the votes are cast and the votes of impacted creditors              be heard before approval of any post-effective date settlement.
                                      separately tallied so the Court can determine if there is support from
                                      impacted creditors. In the alternative, if a settlement is reached post-
                                      confirmation that provides for a Chartered Organization to become a
                                      Protected Party, there must be notice and an opportunity for a hearing
                                      to assess the fairness to all affected claimants, at which point the
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Argument No.       Objecting
                                                          Summary of Argument                                                            Debtors’ Response
& Description       Parties
                                     Court can determine if there is overwhelming majority support the
                                     expansion of the Channeling Injunction. (See, e.g., Obj. ¶ 23 [D.I.
                                     5964]).


                Heman       Law      Alternatively, if a settlement with a Chartered Organization is         This is an objection to the Plan and to the channeling injunction. Such
                Claimants            reached post-confirmation that provides for the Court’s Channeling      Confirmation Objections are premature and should be considered at the
                [D.I. 6032]          Injunction to be modified to designate the Chartered Organization as    Confirmation Hearing, however, a preliminary response is set forth in the
                                     a Protected Party, the same material information must be disclosed      Debtors’ Omnibus Reply at § II.B.2.
                                     and then all affected claimants must be given notice and an
                                     opportunity for a hearing to assess the fairness of such post-          In addition to being premature, these objections have been rendered
                                     confirmation settlement to the affected claimants before the            substantially moot by the revised Plan. Pursuant to Articles IV.I and IV.K
                                     modification becomes effective, otherwise impacted creditors will       of the Plan, Post-Effective Date Chartered Organization Settlements and
                                     have no right to vote on that relief, and this Court will not be in a   Post-Effective Date Insurance Settlements are now subject to notice and an
                                     position to review that relief . (Obj. ¶3, 12).                         objection period. Also, Post-Effective Date Chartered Organization
                                                                                                             Settlements are only effective upon the Court’s entry of a final order of
                                                                                                             approval. This ensures that parties in interest will have equivalent rights to
                                                                                                             be heard before approval of any post-effective date settlement.
                United      States   Though styled as a Channeling Injunction, the releases described in     This is an objection to the Plan and to the channeling injunction. Such
                Trustee              Section X.J.3 of the Plan are simply a specialized form of a non-       Confirmation Objections are premature and should be considered at the
                [D.I. 3581]          consensual third-party release. (Obj. ¶ 12.)                            Confirmation Hearing, however, a preliminary response is set forth in the
                                                                                                             Debtors’ Omnibus Reply at § II.B.2.

                                                                                                             In addition to being premature, these objections have been rendered
                                                                                                             substantially moot by the revised Plan. Pursuant to Articles IV.I and IV.K
                                                                                                             of the Plan, Post-Effective Date Chartered Organization Settlements and
                                                                                                             Post-Effective Date Insurance Settlements are now subject to notice and an
                                                                                                             objection period. Also, Post-Effective Date Chartered Organization
                                                                                                             Settlements are only effective upon the Court’s entry of a final order of
                                                                                                             approval. This ensures that parties in interest will have equivalent rights to
                                                                                                             be heard before approval of any post-effective date settlement.
                Certain Insurers     The Plan is unconfirmable because there is a discharge of non-debtor    This is an objection to the Plan and to the channeling injunction. Such
                [D.I. 6052]          Protected Parties’ abuse liabilities without making the required        Confirmation Objections are premature and should be considered at the
                                     showing under applicable Third Circuit law. The Debtors cannot          Confirmation Hearing, however, a preliminary response is set forth in the
                                     establish that the Local Councils have provided a critical financial    Debtors’ Omnibus Reply at § II.B.2.
                                     contribution. Moreover, the Plan contemplates that all Local
                                     Councils will be Protected Parties, whether or not they make a          In addition to being premature, these objections have been rendered
                                     contribution to the Settlement Trust. (Obj. ¶¶ 25-28).                  substantially moot by the revised Plan. Pursuant to Articles IV.I and IV.K
                                                                                                             of the Plan, Post-Effective Date Chartered Organization Settlements and
                                                                                                             Post-Effective Date Insurance Settlements are now subject to notice and an
                                                                                                             objection period. Also, Post-Effective Date Chartered Organization
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Argument No.        Objecting
                                                        Summary of Argument                                                            Debtors’ Response
& Description        Parties
                                                                                                           Settlements are only effective upon the Court’s entry of a final order of
                                                                                                           approval. This ensures that parties in interest will have equivalent rights to
                                                                                                           be heard before approval of any post-effective date settlement.
51)       Plan   SUMMARY OF        The Plan’s classification and treatment of Indirect Abuse               PLAN HAS BEEN REVISED; DEBTORS HAVE ADDED
Treatment –      ARGUMENTS         Claimants is unfair. The material differences in recovery               DISCLOSURE
Indirect Abuse                     between classes of equal priority constitutes unfair
Claims                             discrimination under section 1129(b). The Plan is thereby               This is an objection to the Plan. Such Confirmation Objections are
Treatment                          patently unconfirmable.                                                 premature and should be considered at the Confirmation Hearing,
                                                                                                           however, a preliminary response is set forth in the Debtors’ Omnibus
                                                                                                           Reply at § II.A.3.

                                                                                                           The Plan and TDP have been amended to describe how section 502(e) will
                                                                                                           operate in the context of the post-confirmation Settlement Trust, and that
                                                                                                           the rights of claimants to assert Indirect Abuse Claims as they become
                                                                                                           liquidated in the tort system will be preserved. See Plan, Article III.B.11;
                                                                                                           see also Disclosure Statement, Article II.H and Article VII. A more fulsome
                                                                                                           response is set forth in the Debtors’ Omnibus Reply at § II.A.3.

                                                                                                           The Plan has also been modified, rendering objections regarding no
                                                                                                           recovery for indirect abuse claimants moot. See Disclosure Statement,
                                                                                                           Article II.H.
                 Pro Se Claimant   The Plan and Disclosure cite no legal basis for putting all Direct      This is an objection to the Plan. Such Confirmation Objections are
                 242               Abuse Claimants in a single class, and all Indirect Abuse Claimants     premature and should be considered at the Confirmation Hearing,
                 [D.I. 6027]       in another. (Obj. at 8).                                                however, a preliminary response is set forth in the Debtors’ Omnibus
                                                                                                           Reply at § II.A.3.

                                                                                                           The Plan and TDP have been amended to describe how section 502(e) will
                                                                                                           operate in the context of the post-confirmation Settlement Trust, and that
                                                                                                           the rights of claimants to assert Indirect Abuse Claims as they become
                                                                                                           liquidated in the tort system will be preserved. See Plan, Article III.B.11;
                                                                                                           see also Disclosure Statement, Article II.H and Article VII. A more fulsome
                                                                                                           response is set forth in the Debtors’ Omnibus Reply at § II.A.3.

                                                                                                           The Plan has also been modified, rendering objections regarding no
                                                                                                           recovery for indirect abuse claimants moot. See Disclosure Statement,
                                                                                                           Article II.H.
                 Liberty Mutual    Without explanation from the DS, the Plan appears to grant Liberty      This is an objection to the Plan. Such Confirmation Objections are
                 [D.I. 6057]       an Indirect Abuse Claim, as opposed to a breach of contract claim.      premature and should be considered at the Confirmation Hearing,
                                   (Obj. ¶ 25). The Disclosure Statement fails to provide a basis for      however, a preliminary response is set forth in the Debtors’ Omnibus
                                   subordinating such claims to the payment in full of the corresponding   Reply at § II.A.3.
                                   Direct Abuse Claim or any allegation that could substantiate a claim
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Argument No.       Objecting
                                                          Summary of Argument                                                            Debtors’ Response
& Description       Parties
                                    for equitably subordinating Indirect Abuse Claims. (Obj. ¶¶ 26-27).       The Plan and TDP have been amended to describe how section 502(e) will
                                    Liberty reserves all rights to object to the Plan on the basis that the   operate in the context of the post-confirmation Settlement Trust, and that
                                    classification and treatment of Indirect Abuse Claims constitutes         the rights of claimants to assert Indirect Abuse Claims as they become
                                    unfair treatment and bad faith. (Obj. ¶ 29).                              liquidated in the tort system will be preserved. See Plan, Article III.B.11;
                                                                                                              see also Disclosure Statement, Article II.H and Article VII. A more fulsome
                                                                                                              response is set forth in the Debtors’ Omnibus Reply at § II.A.3.

                                                                                                              The Plan has also been modified, rendering objections regarding no
                                                                                                              recovery for indirect abuse claimants moot. See Disclosure Statement,
                                                                                                              Article II.H.
                Century             The Disclosure Statement describes a plan that is unconfirmable           This is an objection to the Plan. Such Confirmation Objections are
                Indemnity           because the Plan unfairly discriminates against insurer claims, which     premature and should be considered at the Confirmation Hearing,
                Company             rank in the same priority as all other unsecured claims. The Plan         however, a preliminary response is set forth in the Debtors’ Omnibus
                [D.I. 6065; 3856]   provides insurers with a materially lower percentage recovery than        Reply at § II.A.3.
                                    similarly situated unsecured creditors. Any Non-Settling Insurer
                                    owed a deductible or self-insured retention from the Settlement Trust     The Plan and TDP have been amended to describe how section 502(e) will
                                    is deemed to hold an Indirect Abuse Claim. The Trust Distribution         operate in the context of the post-confirmation Settlement Trust, and that
                                    Procedures expressly subordinate Indirect Abuse Claims to the             the rights of claimants to assert Indirect Abuse Claims as they become
                                    “prior payment in full of all Allowed Abuse Claims.” The TDP also         liquidated in the tort system will be preserved. See Plan, Article III.B.11;
                                    provide that Indirect Abuse Claims will not be paid if they are barred    see also Disclosure Statement, Article II.H and Article VII. A more fulsome
                                    by a statute of limitations, while Direct Abuse Claims will receive       response is set forth in the Debtors’ Omnibus Reply at § II.A.3.
                                    compensation notwithstanding any time bars applicable to their
                                    claims. (D.I. 6065 at 26-27; D.I. 3856 at 37).                            The Plan has also been modified, rendering objections regarding no
                                                                                                              recovery for indirect abuse claimants moot. See Disclosure Statement,
                                                                                                              Article II.H.
                The Church of       The Plan unfairly discriminates against holders of Indirect Abuse         This is an objection to the Plan. Such Confirmation Objections are
                Jesus Christ of     Claims in Class 9, who stand to recover minimal value, while              premature and should be considered at the Confirmation Hearing, however,
                Latter-Day Saints   providing holders of Direct Abuse Claims in Class 8 and Non-Abuse         a preliminary response is set forth in the Debtors’ Omnibus Reply at §
                [D.I. 6009; D.I.    Litigation Claims in Class 7 with up to 100% recoveries. The              II.A.3.
                3263]               material differences in recovery between classes of equal priority
                                    constitutes unfair discrimination under section 1129(b) (citing In re     The Plan and TDP have been amended to describe how section 502(e) will
                                    Armstrong World Indus., Inc., 348 B.R. 111, 121-122 (D. Del.              operate in the context of the post-confirmation Settlement Trust, and that
                                    2006)). The Debtors cannot justify the grossly disparate treatment        the rights of claimants to assert Indirect Abuse Claims as they become
                                    of Indirect Abuse Claims nor demonstrate that such discrimination is      liquidated in the tort system will be preserved. See Plan, Article III.B.11;
                                    necessary to the reorganization. The TDP deny indemnitees,                see also Disclosure Statement, Article II.H and Article VII. A more fulsome
                                    including the Church, any meaningful opportunity to recover               response is set forth in the Debtors’ Omnibus Reply at § II.A.3.
                                    indemnified losses in defending scouting-related abuse claims in the
                                    tort system. Indirect Abuse Claims are expressly subordinated under       The Plan has also been modified, rendering objections regarding no
                                    the TDP to the prior payment in full of all Direct Abuse Claims           recovery for indirect abuse claimants moot. See Disclosure Statement,
                                    (including future claims), leaving holders of Indirect Abuse Claims       Article II.H.


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Argument No.       Objecting
                                                       Summary of Argument                                                           Debtors’ Response
& Description       Parties
                                  ineligible for recovery for years to come, if ever. (D.I. 6009 at. ¶¶
                                  23-25; D.I. 3263 at ¶ 27).
                Catholic and      The Plan is patently unconfirmable because the Plan and                 This is an objection to the Plan. Such Confirmation Objections are
                Methodist         accompanying TDP unfairly discriminate against Chartered                premature and should be considered at the Confirmation Hearing,
                Committees        Organizations through procedures that subordinate Indirect Abuse        however, a preliminary response is set forth in the Debtors’ Omnibus
                [D.I. 6067]       Claims, while providing claims of equal priority with up to 100%        Reply at § II.A.3.
                                  recoveries. (Obj. ¶ 56). Indirect Abuse Claims are denied any
                                  meaningful recovery against the Settlement Trust because (1) the        The Plan and TDP have been amended to describe how section 502(e) will
                                  TDP deny indemnitees any meaningful opportunity to recover              operate in the context of the post-confirmation Settlement Trust, and that
                                  indemnified losses in defending abuse claims in the tort system; and    the rights of claimants to assert Indirect Abuse Claims as they become
                                  2) recoveries of indirect claimants are subordinated to the prior       liquidated in the tort system will be preserved. See Plan, Article III.B.11;
                                  payment in full of all direct claims (including future claims). (Obj.   see also Disclosure Statement, Article II.H and Article VII. A more fulsome
                                  ¶¶ 57-63).                                                              response is set forth in the Debtors’ Omnibus Reply at § II.A.3.

                                                                                                          The Plan has also been modified, rendering objections regarding no
                                                                                                          recovery for indirect abuse claimants moot. See Disclosure Statement,
                                                                                                          Article II.H.
                United            There is no explanation on “the legal justifications for the implied    This is an objection to the Plan. Such Confirmation Objections are
                Methodist Ad      subordination of Indirect Abuse Claims to Direct Abuse Claims.”         premature and should be considered at the Confirmation Hearing,
                Hoc Committee     (Obj. ¶ 5.)                                                             however, a preliminary response is set forth in the Debtors’ Omnibus
                [D.I. 3273]                                                                               Reply at § II.A.3.

                                                                                                          The Plan and TDP have been amended to describe how section 502(e) will
                                                                                                          operate in the context of the post-confirmation Settlement Trust, and that
                                                                                                          the rights of claimants to assert Indirect Abuse Claims as they become
                                                                                                          liquidated in the tort system will be preserved. See Plan, Article III.B.11;
                                                                                                          see also Disclosure Statement, Article II.H and Article VII. A more fulsome
                                                                                                          response is set forth in the Debtors’ Omnibus Reply at § II.A.3.

                                                                                                          The Plan has also been modified, rendering objections regarding no
                                                                                                          recovery for indirect abuse claimants moot. See Disclosure Statement,
                                                                                                          Article II.H.
                Tort Claimants’   There is no explanation why Indirect Abuse Claims are to be paid        This is an objection to the Plan. Such Confirmation Objections are
                Committee         from the Settlement Trust rather than being classified and treated as   premature and should be considered at the Confirmation Hearing, however,
                [D.I. 3526]       General Unsecured Claims. (Obj. ¶ 111.)                                 a preliminary response is set forth in the Debtors’ Omnibus Reply at §
                                                                                                          II.A.3.

                                                                                                          The Plan and TDP have been amended to describe how section 502(e) will
                                                                                                          operate in the context of the post-confirmation Settlement Trust, and that
                                                                                                          the rights of claimants to assert Indirect Abuse Claims as they become
                                                                                                          liquidated in the tort system will be preserved. See Plan, Article III.B.11;
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Argument No.         Objecting
                                                           Summary of Argument                                                            Debtors’ Response
& Description         Parties
                                                                                                              see also Disclosure Statement, Article II.H and Article VII. A more fulsome
                                                                                                              response is set forth in the Debtors’ Omnibus Reply at § II.A.3.

                                                                                                              The Plan has also been modified, rendering objections regarding no
                                                                                                              recovery for indirect abuse claimants moot. See Disclosure Statement,
                                                                                                              Article II.H.
                  Catholic and       The Plan also denies due process to Chartered Organizations by           Notice was properly provided. See the Debtors’ Omnibus Reply at §
                  Methodist          denying Indirect Abuse Claims that were late-filed because               II.A.3.
                  Committees         Chartered Organizations never received prior notice of such claims,
                  [D.I. 6067]        and by not giving notice to Chartered Organizations that they should
                                     file proof of claims for Indirect Abuse Claims that are contingent and
                                     unliquidated and subject to disallowance to potentially protect their
                                     rights. (Obj. ¶ 81).
52)        Plan   Summary            Allowing a claimant to receive an immediate cash payment with            PREMATURE OBJECTION TO THE PLAN & LACKS MERIT
Treatment –                          no support other than the filing of a proof of claim constitutes
Expedited                            impermissible vote-buying. The expedited distribution election           This is an objection to the Plan and to the expedited distribution
Distribution                         would enable claimants to recover on account of fraudulent or            procedures under the TDP. Such Confirmation Objections are premature
                                     invalid claims and would exclude insurers from the claims                and should be considered at the Confirmation Hearing, however, a
                                     resolution process.                                                      preliminary response is set forth in the Debtors’ Omnibus Reply at §
                                                                                                              II.C.5.

                                                                                                              Moreover, the Plan has been modified which renders the remaining
                                                                                                              objections moot. The Plan unlinks the vote to accept the Plan from the
                                                                                                              election to receive the Expedited Distribution. See Disclosure Statement,
                                                                                                              Article VII.B and Article VII.C; see also Plan, Article III.B; see also Plan,
                                                                                                              Exhibit A.
                  Certain Insurers   The lax requirement of the TDP that allows a claimant to receive an      This is an objection to the Plan and to the expedited distribution
                  [D.I. 6052]        immediate cash payment with no support other than the filing of a        procedures under the TDP. Such Confirmation Objections are premature
                                     proof of claim in and of itself incentivizes persons with                and should be considered at the Confirmation Hearing, however, a
                                     unsubstantiated Abuse Claims to vote in favor of the Plan, which         preliminary response is set forth in the Debtors’ Omnibus Reply at §
                                     constitutes impermissible vote-buying. (Obj. ¶ 46-48).                   II.C.5.

                  Great American     The Debtors hope to meet the numerosity requirement for acceptance       This is an objection to the Plan and to the expedited distribution
                  Assurance          of the Plan by relying on approval from claimants with dubious or        procedures under the TDP. Such Confirmation Objections are premature
                  [D.I. 6056]        invalid claims. The $3,500 Expedited Distribution is more than twice     and should be considered at the Confirmation Hearing, however, a
                                     the $1,500 in earlier iterations of the Plan, which was already many     preliminary response is set forth in the Debtors’ Omnibus Reply at §
                                     times larger than convenience class distributions in other mass tort     II.C.5.
                                     cases. This inflated compensation and vote-buying scheme plainly
                                     violates bankruptcy and other applicable law. Given the Plan’s flaws,
                                     it would waste time and resources to approve the Disclosure
                                     Statement, send out the Plan for balloting, conduct confirmation-
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Argument No.       Objecting
                                                            Summary of Argument                                                           Debtors’ Response
& Description       Parties
                                       related discovery, and hold a confirmation hearing. The Disclosure
                                       Statement should explain this dynamic and that such a Plan should
                                       not be confirmed (citing In re Glob. Indus. Techs, Inc. (“GIT”), 645
                                       F.3d 201, 214 (3d Cir. 2011)). (Obj. ¶¶ 4-5).

                Century                The expedited distribution mechanism would open the door to            Century’s discussion of Skinner, alleging collusion, is misleading. The
                Indemnity              thousands of fraudulent or otherwise invalid claims receiving $3,500   Omnibus Reply contains a more fulsome response at § II.A.1.
                Company                payments without any scrutiny whatsoever, all while excluding
                [D.I. 6065]            insurers from the claims resolution process. The Plan offers no        This is an objection to the Plan. Such Confirmation Objections are
                                       mechanism for eradicating time-barred claims from the resolution       premature and should be considered at the Confirmation Hearing, however,
                                       process, including those claims opting into expedited distribution.    a preliminary response is set forth in the Debtors’ Omnibus Reply at §
                                       (Obj. at 3).                                                           II.A.1.
                                                                                                              Moreover, the Plan has been modified which renders the remaining
                                                                                                              objections moot. The Plan unlinks the vote to accept the Plan from the
                                                                                                              election to receive the Expedited Distribution. See Disclosure Statement,
                                                                                                              Article VII.B and Article VII.C; see also Plan, Article III.B; see also Plan,
                                                                                                              Exhibit A.
                AIG Companies          The Disclosure Statement does not disclose that the expedited          This is an objection to the Plan and to the expedited distribution
                [D.I. 3523]            distribution may be impermissible vote buying and promotes fraud.      procedures under the TDP. Such Confirmation Objections are premature
                                       (Obj. ¶¶ 27-29.)                                                       and should be considered at the Confirmation Hearing, however, a
                                                                                                              preliminary response is set forth in the Debtors’ Omnibus Reply at §
                                                                                                              II.C.5.

                                                                                                              Moreover, the Plan has been modified which renders the remaining
                                                                                                              objections moot. The Plan unlinks the vote to accept the Plan from the
                                                                                                              election to receive the Expedited Distribution. See Disclosure Statement,
                                                                                                              Article VII.B and Article VII.C; see also Plan, Article III.B; see also Plan,
                                                                                                              Exhibit A.
                Allianz Insurers       The Expedited Distribution may constitute impermissible vote           This is an objection to the Plan and to the expedited distribution
                [D.I. 3549]            buying and may violate section 1129(a)(3) of the Bankruptcy Code.      procedures under the TDP. Such Confirmation Objections are premature
                                       (Obj. ¶ 5.)                                                            and should be considered at the Confirmation Hearing, however, a
                                                                                                              preliminary response is set forth in the Debtors’ Omnibus Reply at §
                                                                                                              II.C.5.

                                                                                                              Moreover, the Plan has been modified which renders the remaining
                                                                                                              objections moot. The Plan unlinks the vote to accept the Plan from the
                                                                                                              election to receive the Expedited Distribution. See Disclosure Statement,
                                                                                                              Article VII.B and Article VII.C; see also Plan, Article III.B; see also Plan
                                                                                                              Exhibit A.
                United        States   The expedited distribution option should be explained and not          This is an objection to the Plan and to the expedited distribution
                Trustee                conditioned on a claimant’s plan vote. The Disclosure Statement        procedures under the TDP. Such Confirmation Objections are premature
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Argument No.         Objecting
                                                           Summary of Argument                                                           Debtors’ Response
& Description          Parties
                  [D.I. 3581]        should explain the risk that the trust is vulnerable to fraudulent       and should be considered at the Confirmation Hearing, however, a
                                     claims. The expedited payment option violates the Code requirement       preliminary response is set forth in the Debtors’ Omnibus Reply at §
                                     that all claims within the same class receive identical treatment, and   II.C.5.
                                     it is in bad faith and should be excised from the Plan. (Obj. ¶¶ 30-
                                     32.)                                                                     Moreover, the Plan has been modified which renders the remaining
                                                                                                              objections moot. The Plan unlinks the vote to accept the Plan from the
                                                                                                              election to receive the Expedited Distribution. See Omnibus Reply at ¶54;
                                                                                                              Disclosure Statement, Article VII.B and Article VII.C; see also Plan,
                                                                                                              Article III.B; see also Plan Exhibit A.

53)        Plan   Summary of         Pursuant to section 157(b)(2)(B) of title 28, the Bankruptcy Court       PREMATURE OBJECTION TO THE PLAN & LACKS MERIT
Treatment –       Certain Insurers   does not have jurisdiction to make the a finding, as required by the
Jurisdiction      [D.I. 6052]        Plan, that all Allowed Claim Amounts are “fair and reasonable,” as       This is an objection to the Plan and to jurisdiction pursuant to section
                                     such a determination could only be made after a trial of each claim.     157(b)(2)(B). Such Confirmation Objections are premature and should be
                                     Moreover, a blanket Affirmation Order affirming the Bankruptcy           considered at the Confirmation Hearing, however, a preliminary response
                                     Court’s determination cannot cure this lack of jurisdiction because      is set forth in the Debtors’ Omnibus Reply at § II.C.6.
                                     the insurance policies, assuming coverage exists, require a
                                     judgment or approved settlement for each Abuse Claim on an
                                     individualized basis.
                                     Pursuant to section 157(b)(2)(B) of title 28, the Bankruptcy Court
                                     does not have jurisdiction to make the a finding, as required by the
                                     Plan, that all Allowed Claim Amounts are “fair and reasonable,” as
                                     such a determination could only be made after a trial of each claim.
                                     Moreover, a blanket Affirmation Order affirming the Bankruptcy
                                     Court’s determination cannot cure this lack of jurisdiction because
                                     the insurance policies, assuming coverage exists, require a judgment
                                     or approved settlement for each Abuse Claim on an individualized
                                     basis. (Obj. ¶ 44).

54)        Plan   SUMMARY OF         The Plan is patently unconfirmable because it is not insurance           DEBTORS HAVE ADDED DISCLOSURE
Treatment –       ARGUMENTS          neutral.
Insurance                                                                                                     This is an objection to the Plan and insurance neutrality provisions. Such
Neutrality                           The Plan is patently unconfirmable because it inflates liability by      objections are premature and not ripe for consideration. Objections to the
                                     requiring findings designed to prejudice the ability of insurers to      Plan and insurance neutrality should be considered at the proper time–plan
                                     assert insurance-coverage defenses.                                      confirmation. However, a more fulsome response is set forth in the Debtors’
                                                                                                              Omnibus Reply at § II.D.3.

                  Certain Insurers   The Plan is uncomfirmable because it is affirmatively “insurance         This is an objection to the Plan and insurance neutrality provisions. Such
                  [D.I. 6052]        prejudicial” rather than insurance neutral, in violation of section      objections are premature and not ripe for consideration. Objections to the
                                     1129(a)(1)-(3) of the Bankruptcy Code. The Plan impermissibly            Plan and insurance neutrality should be considered at the proper time–plan

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Argument No.       Objecting
                                                            Summary of Argument                                                             Debtors’ Response
& Description       Parties
                                     modifies, and was specifically designed to evade the terms of, the          confirmation. However, a more fulsome response is set forth in the Debtors’
                                     Debtors’ (and certain non-debtors’) insurance contracts. (Obj. ¶ 9).        Omnibus Reply at § II.D.3.
                                     The Plan expressly provides that the Confirmation Order and
                                     Affirmation Order may “modify, amend, or supplement, or be
                                     interpreted as modifying, amending, or supplementing, the terms of,
                                     and rights and obligations under, an Insurance Policy.
                Liberty Mutual       The Disclosure Statement does not explain whether the Plan is               This is an objection to the Plan and insurance neutrality provisions. Such
                [D.I. 3578]          insurance neutral. The Disclosure Statement and Plan provide that           objections are premature and not ripe for consideration. Objections to the
                                     any Insurance Company that objects to Confirmation or otherwise             Plan and insurance neutrality should be considered at the proper time–plan
                                     participates in litigation related to the Confirmation process risks        confirmation. However, a more fulsome response is set forth in the Debtors’
                                     having any rulings be binding (i.e., the Plan is not insurance neutral).    Omnibus Reply at § II.D.3.
                                     (Obj. ¶ 7.)
                Markel Service,      The Plan appears to propose an explicit rewrite of an express               This is an objection to the Plan and insurance neutrality provisions. Such
                Incorporated         insurance policy provision, in the process proposing an explicit            objections are premature and not ripe for consideration. Objections to the
                [D.I. 6038]          violation of insurance neutrality. No provision in Bankruptcy Code          Plan and insurance neutrality should be considered at the proper time–plan
                                     section 1123, governing plan provisions, or section 1129, governing         confirmation. However, a more fulsome response is set forth in the Debtors’
                                     plan confirmation standards, authorizes modification of an                  Omnibus Reply at § II.D.3.
                                     insurance contract as the Plan does. The Court should withhold
                                     approval of the Disclosure Statement pending modification of the
                                     Plan to address Evanston’s concerns raised. (Obj. ¶¶ 6-7).
                Century              The Debtors’ Plan of reorganization may not impair the rights of            This is an objection to the Plan and insurance neutrality provisions. Such
                Indemnity            non-debtor insurers to defend themselves in coverage actions with           objections are premature and not ripe for consideration. Objections to the
                Company              non-debtor claimants. The DS, Plan and Trust Distribution                   Plan and insurance neutrality should be considered at the proper time–plan
                [D.I. 6065]; [D.I.   Procedures are not insurance neutral due to the following provisions:       confirmation. However, a more fulsome response is set forth in the Debtors’
                3856]                      Debtors propose having an Article I court delegate judicial          Omnibus Reply at § II.D.3.
                                              decision-making to Eric Green; he was handpicked by the
                                              very claimants whose claims he will be adjudicating, while
                                              stripping insurers of their participation rights in the process;
                                           The Settlement Trustee will adjudicate and purport to
                                              determine the liability attributed to non-debtor entities;
                                           The Settlement Trustee will abrogate affirmative defenses
                                              while shielding Abuse Claims from any form of judicial
                                              scrutiny prior to allowance and payment;
                                           With respect to valuation decisions, the Debtors have
                                              stripped the Settlement Trustee of discretion to adjust claim
                                              amounts downward based on mitigating factors, causing
                                              further prejudice to insurers;
                                           There is no process to evaluate or investigate the validity of
                                              claims; and


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Argument No.       Objecting
                                                         Summary of Argument                                                            Debtors’ Response
& Description       Parties
                                   The Plan would expressly override anti-assignment clauses in the
                                   Debtor insurance contracts, notwithstanding the Debtors’ non-profit
                                   status. (D.I. 6065 - Obj. at 2).

                                   The Plan is not neutral because it impairs insurers’ rights under the
                                   state-law insurance contracts they issued to the Debtors and Local
                                   Councils. A plan may not be confirmed if it would give the debtor
                                   greater rights under its insurance contracts than it held prepetition.
                                   The Disclosure Statement should disclose that certain of the Debtors’
                                   insurers take the position that purported insurance neutrality
                                   language in the Plan is inadequate. The Disclosure Statement should
                                   also inform creditors that the Court, or a court on appeal, may require
                                   the Debtors to include more robust language in order for the Plan to
                                   actually be insurance neutral. (D.I. 3856 - Obj. at 38-42.)

                                   The Disclosure Statement describes a plan that is unconfirmable
                                   because the Plan improperly deprives insurers of their right to
                                   defend, settle, and object to claims under section 502(a). The Plan
                                   assigns the right to object to claims to the Settlement Trust (thereby
                                   vesting in the Settlement Trustee the exclusive right to object to
                                   claims) which violates section 502(a), rendering the Plan
                                   unconfirmable. In most of the cases the Debtors identify, the plan
                                   preserved the rights of parties in interest to object to claims under
                                   section 502(a) (citing Catholic Diocese of Wilmington, Inc., Case
                                   No. 09-13560 (Bankr. D. Del. 2019) [ECF No. 1493] and In re
                                   Remington Outdoor Co., Case No. 20-81688 (Bankr. N.D. Ala.
                                   2020) [ECF No. 1370]. Debtors conflate the assignment of
                                   exclusive rights to enforce and prosecute claims with the
                                   assignment of an exclusive right to object to claims. (D.I. 6065 -
                                   Obj. at 28-29).
                AIG Companies      The Disclosure Statement does not disclose that the plan is not           This is an objection to the Plan and insurance neutrality provisions. Such
                [D.I. 3523]        insurance neutral. (Obj. ¶¶ 20-24.)                                       objections are premature and not ripe for consideration. Objections to the
                                                                                                             Plan and insurance neutrality should be considered at the proper time–plan
                                                                                                             confirmation. However, a more fulsome response is set forth in the Debtors’
                                                                                                             Omnibus Reply at § II.D.3.
                Allianz Insurers   Plan may be unconfirmable because it either (i) purports to impair        This is an objection to the Plan and insurance neutrality provisions. Such
                [D.I. 3549]        the contractual rights of certain of the Debtors' insurers or (ii)        objections are premature and not ripe for consideration. Objections to the
                                   contains impermissibly vague neutrality provisions. (Obj. ¶ 7.)           Plan and insurance neutrality should be considered at the proper time–plan
                                                                                                             confirmation. However, a more fulsome response is set forth in the Debtors’
                                                                                                             Omnibus Reply at § II.D.3.


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Argument No.        Objecting
                                                         Summary of Argument                                                            Debtors’ Response
& Description        Parties
                                   The Disclosure Statement should clarify whether the Plan will alter
                                   an insurance company’s rights and defenses under its insurance
                                   policies. (Obj. ¶ 8.)




                 Argonaut          Debtors assert that the Plan is insurance neutral, but is not; it         This is an objection to the Plan and insurance neutrality provisions. Such
                 Insurance         identifies the Debtors’ (and non-debtor affiliates’) obligation to pay    objections are premature and not ripe for consideration. Objections to the
                 Company           deductibles and self-insured retentions, but fails to describe how        Plan and insurance neutrality should be considered at the proper time–plan
                 [D.I. 3285]       they will be paid. (Obj. ¶ 2.)                                            confirmation. However, a more fulsome response is set forth in the Debtors’
                                                                                                             Omnibus Reply at § II.D.3.
55)       Plan   SUMMARY OF        BSA may not shift the burden to pay SIRs onto insurers. A non-            PREMATURE OBJECTION TO THE PLAN & LACKS MERIT
Treatment –      ARGUMENTS         debtor may not evade its obligation to fully satisfy the
Insurance                          applicable SIRs on the basis that another insured under the               This is an objection to the Plan and the Plan’s treatment of self-insured
Coverage Issue                     policy is a debtor                                                        retentions. Such Confirmation Objections are premature and should be
Dispute                                                                                                      considered at the Confirmation Hearing, however, a preliminary response
                                                                                                             is set forth in the Debtors’ Omnibus Reply at § II.D.2.

                 Insurers          The Plan extends Protected Party status to Local Councils and             This is an objection to the Plan and the Plan’s treatment of self-insured
                 [D.I. 6062]       Chartered Organizations, but the objecting Insurers have not              retentions. Such Confirmation Objections are premature and should be
                 (Filed 8/17/21)   located a single decision that allowed a non-debtor to evade its          considered at the Confirmation Hearing, however, a preliminary response
                                   obligation to fully satisfy the applicable SIRs on the basis that         is set forth in the Debtors’ Omnibus Reply at § II.D.2.
                                   another insured under the policy was a debtor. Failure of the non-
                                   debtor Protected Party to pay the full amount of the applicable SIRs
                                   would be a complete defense to coverage. (Obj. at 13-14).
                 Liberty Mutual    The Debtors cannot use their bankruptcy to rewrite the terms of the       This is an objection to the Plan and the Plan’s treatment of self-insured
                 [D.I. 6057]       Liberty Mutual insurance policies, particularly because they are          retentions. Such Confirmation Objections are premature and should be
                                   fronting policies with no risk shifting because any amounts paid out      considered at the Confirmation Hearing, however, a preliminary response
                                   by the insurer will be satisfied by the insured’s security (Obj. ¶¶ 17-   is set forth in the Debtors’ Omnibus Reply at § II.D.2.
                                   19). Requiring Liberty to satisfy any deductible in connection with
                                   payment of a Direct Abuse Claim effectively rewrites the Liberty
                                   Mutual insurance policies and provides further evidence that the
                                   Plan is not insurance neutral. (Obj. ¶ 20).
56)      Plan    SUMMARY OF        The Plan is patently unconfirmable because it seeks to                    PREMATURE OBJECTION TO THE PLAN & LACKS MERIT
Treatment –      ARGUMENTS         appropriate the rights of non-debtor insured parties under the
Non-Debtor                         BSA and Local Council’s insurance policies.                               This is an objection to the Plan and to the Plan’s treatment of Chartered
Insured                                                                                                      Organizations. Such Confirmation Objections are premature and should
                                                                                                             be considered at the Confirmation Hearing, however, a preliminary
                                                                                                             response is set forth in the Debtors’ Omnibus Reply at § II.D.1.


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Argument No.        Objecting
                                                          Summary of Argument                                                          Debtors’ Response
& Description         Parties
                 The Church of       The Plan seeks to unilaterally extinguish the independent property     This is an objection to the Plan and to the Plan’s treatment of Chartered
                 Jesus Christ of     rights of non-debtor insureds.                                         Organizations. Such Confirmation Objections are premature and should
                 Latter-Day Saints                                                                          be considered at the Confirmation Hearing, however, a preliminary
                 [D.I. 6009]                                                                                response is set forth in the Debtors’ Omnibus Reply at § II.D.1.
                 Catholic     and    The Plan is patently unconfirmable because it is premised on           This is an objection to the Plan and to the Plan’s treatment of Chartered
                 Methodist           releasing the claims of non-debtor insureds against the insurance      Organizations. Such Confirmation Objections are premature and should
                 Committees          companies and Local Councils, without providing affected insureds      be considered at the Confirmation Hearing, however, a preliminary
                 [D.I. 6067]         and indemnitees with meaningful recoveries or requiring the insurers   response is set forth in the Debtors’ Omnibus Reply at § II.D.1.
                                     to make any contribution to the Settlement Trust. (Obj. ¶ 47).


57)       Plan   SUMMARY OF          Anti-Assignment provisions in insurance contracts prohibit             PREMATURE OBJECTION TO THE PLAN & LACKS MERIT
Treatment –      ARGUMENTS           assignment to anyone without the insurers consent the
Insurance                            “Insurance Assignment” is thus impermissible.                          This is an objection to the Plan and to insurance assignments. Such
Assignment                                                                                                  Confirmation Objections are premature and should be considered at the
                                                                                                            Confirmation Hearing, however, a preliminary response is set forth in the
                                                                                                            Debtors’ Omnibus Reply at § II.D.4.
                 Century             Because Century’s insurance contracts prohibit assignment to           This is an objection to the Plan and to insurance assignments. Such
                 Indemnity           anyone else, the “Insurance Assignment” is thus impermissible and      Confirmation Objections are premature and should be considered at the
                 Company             the Plan unconfirmable. Debtors are a non-profit organization, and     Confirmation Hearing, however, a preliminary response is set forth in the
                 [D.I. 6065]         they cannot rely on caselaw permitting assignment of insurance         Debtors’ Omnibus Reply at § II.D.4.
                 (Filed 8/17/21)     contracts by for-profit debtors (citing In re Federal-Mogul Global
                                     Inc., 385 B.R. 560, 567 (Bankr. D. Del. 2008), aff’d, 684 F.3d 355,
                                     382 (3d Cir. 2012)). No court has ever permitted an assignment of
                                     non-debtors’ insurance contracts without an insurer’s consent. (Obj.
                                     at 8-9).
58)       Plan   SUMMARY OF          Disclosure Statement and Plan unlawfully impair the rights of          RESOLVED - PLAN MODIFICATION
Treatment –      ARGUMENTS           the Survivors of child sexual abuse who hold claims in the
Other                                Archdiocese of Agana Bankruptcy. The attempts by the Boy               The revised treatment under the Plan of Chartered Organizations in
Bankruptcy                           Scouts and their insurers to dispose of property of the                bankruptcy does not violate the automatic stay.
Case Insurance                       Archdiocese of Agana's bankruptcy estate violates the
Rights                               automatic stay in the Archdiocese of Agana Bankruptcy case.
                 Guam                The automatic stay prevents the Court from disposing of the            The revised treatment under the Plan of Chartered Organizations in
                 Committee           Archdiocese’s insurance rights. Courts consistently hold that an       bankruptcy does not violate the automatic stay.
                 [D.I. 5842]         attempt by a coinsured to settle or payout proceeds on insurance
                                     rights belonging to the estate is a violation of the automatic stay.
                                     (Obj. ¶ 22).
                 Catholic and        The Plan is patently unconfirmable because it would violate the        The revised treatment under the Plan of Chartered Organizations in
                 Methodist           automatic stay the bankruptcies of several Catholic dioceses and       bankruptcy does not violate the automatic stay.
                 Committees          archdioceses. (Obj. ¶¶ 64-65).
                 [D.I. 6067]
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Argument No.       Objecting
                                                      Summary of Argument                                                             Debtors’ Response
& Description       Parties

59) Plan        SUMMARY OF      The exculpation provision is overly broad, in particular the Plan          PREMATURE OBJECTION TO THE PLAN & RENDERED MOOT
Treatment –     ARGUMENTS       improperly exculpates multiple parties including Sidley Austin
Exculpation                     LLP.                                                                       This is an objection to the Plan and releases/injunctions. Such objections
                                                                                                           are premature and not ripe for consideration. Objections to the Plan and
                                                                                                           releases should be considered at the proper time– plan confirmation.

                                                                                                           The exculpation provision has been amended so that it only applies to the
                                                                                                           period on or before the Effective Date. See Disclosure Statement, Article
                                                                                                           VI.Q.7. The Creditor Representative will be appointed on the Effective
                                                                                                           Date. See Disclosure Statement, Article VI.H.16. Therefore, the exculpation
                                                                                                           provision will only benefit such representative on the Effective Date. This
                                                                                                           is a standard exculpation provision. See Disclosure Statement, Article VI.Q.
                United States   The exculpation provision is overly broad. (Obj. ¶ 3.) A Creditor          This is an objection to the Plan and releases/injunctions. Such objections
                Trustee [D.I.   Representative is not an estate fiduciary and should be removed from       are premature and not ripe for consideration. Objections to the Plan and
                3581]           the definition of exculpated parties. (Obj. ¶ 28.) Plan section X.K        releases should be considered at the proper time– plan confirmation.
                                proposes that exculpated parties “shall be entitled to reasonably rely
                                upon the advice of counsel with respect to their duties and                The exculpation provision has been amended so that it only applies to the
                                responsibilities under, or in connection with, the matters referenced      period on or before the Effective Date. See Disclosure Statement, Article
                                in the preceding sentence.” (Obj. ¶ 29.). This provision should be         VI.Q.7. The Creditor Representative will be appointed on the Effective
                                stricken. (Obj. ¶ 29.). Plan section X.K proposes to exculpate parties     Date. See Disclosure Statement, Article VI.H.16. Therefore, the exculpation
                                from conduct taking place not only during the case, but also for “the      provision will only benefit such representative on the Effective Date. This
                                administration, consummation and implementation of the Plan or the         is a standard exculpation provision. See Disclosure Statement, Article VI.Q.
                                property to be distributed under the Plan, or the management or
                                operation of the Debtors.” (Obj. ¶ 27.). Future exculpation for acts
                                that have not yet occurred is impermissible. (Obj. ¶ 27.) This
                                provision should be revised to apply only to conduct before the
                                Effective Date. (Obj. ¶ 27.)
                Century         The Plan improperly exculpates multiple parties, such as the               The exculpation provision of the Plan has been amended so that Century’s
                [D.I. 3856]     Debtors’ attorneys who were with Sidley Austin LLP and now are             claims against Sidley are carved out: “Notwithstanding the foregoing or
                                with White & Case LLP. Sidley took the Debtors on as a client while        any provision of the Plan to the contrary, Sidley Austin shall not be an
                                it still represented Century, and thus had a direct conflict of interest   Exculpated Party with respect to any Claims that Century asserts against
                                precluding its representation under section 327 of the Bankruptcy          Sidley Austin related to Sidley Austin’s representation of the Debtors
                                Code. Should Century prevail on appeal, the Debtors’ attorneys             prior to the Petition Date.” See Plan, Article VI.Q.4.e.7.
                                would likely have to disgorge all fees collected under their
                                representation of the Debtors. The Debtors cannot moot Century’s
                                appeal by simply inserting an overbroad exculpation provision in the
                                Plan. At a minimum, the Century appeal should be carved out of the
                                exculpation provision. (Obj. at 45-47.)



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Argument No.          Objecting
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                                                                                  Solicitation Objections

60) Solicitation   Plaintiff    Law     There are no procedures to solve situations where more than one law       The Debtors dispute this Objection to the extent the Objectors argue that
Procedures –       Firms                firm votes for the same claimant, which disenfranchises survivors’        survivors will be disenfranchised by the solicitation procedures, and the
Master Ballot      [D.I. 2739 et al.]   votes. The solicitation procedures should require the Debtors, in the     Solicitation Procedures already address the issues raised in this objection in
Procedures                              event that votes are submitted by two law firms on behalf of the same     Section IV.F.
                                        abuse survivor and such votes conflict, to verify which law firm has
                                        the authorization to submit a ballot on behalf of the claimant. The       Section IV.F of the Solicitation Procedures provide that if the Debtors
                                        Debtors do not explain how they intend to solicit and count votes in      receive a ballot from two different firms on account of the same holder of a
                                        this circumstance, including how to ensure such claimants do not          Direct Abuse Claim that conflict, the Debtors will reach out to both firms,
                                        vote multiple times, and how to determine which vote to count if          with notice of such communication to counsel to the TCC and the Coalition,
                                        inconsistent votes are submitted on behalf of the same claimant.          and request written documentation of each firm’s representation of such
                                        [D.I. 2739 at 13-14].                                                     claimant. The Debtors will resolve which of the ballots is proper within ten
                                                                                                                  (10) days from the notice of the conflict as provided by the Debtors, and if
                                                                                                                  the Debtors cannot establish which firm properly represents such holder,
                                                                                                                  the vote will not be counted. See § IV.F of the proposed Solicitation
                                                                                                                  Procedures. [D.I. 6215, Ex. 1].

                                                                                                                  The Debtors submit that this procedure is sufficient to resolve any
                                                                                                                  conflicting votes and ensure a survivor’s vote is properly counted. As a
                                                                                                                  preliminary matter, the Solicitation Agent will review of claimant data such
                                                                                                                  as name, claim number, last four digits of Social Security number, and date
                                                                                                                  of birth in order to address duplicative votes.
                   Tort Claimants’      The Debtors should revise § IV.F.3 of the Solicitation Procedures to      See response directly above.
                   Committee            provide that if more than one vote is received from different law
                   [D.I. 3526]          firms on account of the same survivor, the Debtors should count the       The Debtors also note that the revised procedure set forth in § IV.F was
                                        survivor’s vote one time and the Debtors should not sort out which        discussed with the TCC and the Coalition.
                                        law firm controlled the vote of the survivor unless the votes conflict.
                                        If the votes conflict, then the Debtors should require the firms to
                                        produce an engagement letter showing their authority to act on behalf
                                        of the survivor but only to the extent the conflicting vote might
                                        change the outcome of the vote on the Plan. [D.I. 3526 at 59-60,
                                        ¶¶ 128-30].
                   Tort Claimants’      The Solicitation Procedures should provide that, in the event of          The Debtors dispute this Objection.
                   Committee            conflicting duplicative votes on master ballots, parties have 14 days,
                   [D.I. 3526]          instead of 10 days to resolve the dispute. [D.I. 3526 at 60, ¶ 130].      Because the Solicitation Agent has 14 days from the Voting Deadline to
                                                                                                                  complete its final voting certification, setting the time period to resolve any
                                                                                                                  conflicting law firm votes at 10 days provides the Solicitation Agent with
                                                                                                                  sufficient time to both identify conflicting vote and notice the conflict to
                                                                                                                  law firms so that it can be resolved prior to the deadline to file the final

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                                                            Summary of Argument                                                              Debtors’ Response
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                                                                                                                 voting report. See § IV.F of the revised proposed Solicitation Procedures.
                                                                                                                 [D.I. 6215, Ex. 1].
                   Century           The Debtors have “forfeited” the obligation to police the solicitation      This Objection is incorrect.
                   [D.I. 6065]       process – as an example, the Debtors have stripped the requirement
                                     that a master ballot include the last four digits of a SSN. [D.I. 6065      The Solicitation Procedures provide that an exhibit accompanying the
                                     at 38].                                                                     Master Ballot will contain, among other things, the last four digits of the
                                                                                                                 direct abuse claimant’s Social Security number (which was already
                                                                                                                 provided to the Debtors through the proof of claim submission process).
                                                                                                                 See D.I. 6215, Solicitation Procedures Order – Master Ballot, Ex. 2-5.
61) Solicitation   Tort Claimants’   The solicitation and confirmation timeline outlined in the                  The Debtors believe this Objection is resolved in part.
Procedures –       Committee         Solicitation Procedures Motion no longer applies because the
Proposed           [D.I. 3526]       hearing on the Disclosure Statement has been moved. Survivors and           The Debtors have revised the proposed solicitation and confirmation
Dates/                               their counsel should have no less than 60 days to vote on the Plan,         timeline as developments in the case have occurred (and will continue to do
Timeline                             and other dates should be extended. [D.I. 3526 at 57, ¶ 121].               so, as necessary), as may be seen in the proposed revised Solicitation
                                                                                                                 Procedures Order and exhibits filed on July 2 and again on September 15.
                                                                                                                 The dates in the motion are not determinative. [D.I. 6215, 6216].

                                                                                                                 With respect to the revised proposed time period for voting, the Debtors
                                                                                                                 submit that the proposed time period of 43 days or more for most claimants,
                                                                                                                 given that most Solicitation Packages will be distributed well in advance of
                                                                                                                 the Solicitation Date, is a reasonable amount of time under the
                                                                                                                 circumstances, which is set forth in more detail in Section III of the Debtors’
                                                                                                                 Omnibus Reply.
                   U.S. Trustee      The confirmation hearing timeline does not work, as it is close to the      This Objection is moot given the timing of the confirmation hearing
                   [D.I. 3581]       Labor Day and people have to adjust their vacation schedule. [D.I.          schedule proposed in the Debtors’ most recently filed proposed Solicitation
                                     3581, ¶ 35].                                                                Procedures Order. [D.I. 6216, Revised Proposed Solicitation Procedures
                                                                                                                 Order, Ex. A].

62) Solicitation   Tort Claimants’   Under the proposed Solicitation Procedures, the Debtors will only           The Debtors made changes to the Solicitation Procedures filed on April 28,
Procedures -       Committee         solicit the holder of a claim, or his/her counsel, that was filed most      2021 that resolve this Objection. [D.I. 2726, Ex. 1, § IV.A.3]. The Debtors
General            [D.I. 3526]       recently. The Debtors should send a ballot to (a) each counsel that         deleted the procedure stating that only the most recently-filed duplicative
                                     filed a claim on behalf of a survivor and (b) to the survivor if survivor   Direct Abuse Claim would be solicited.
                                     filed a claim on behalf of himself or herself. [D.I. 3526 at 57-58, ¶
                                     122–25].

                   Tort Claimants’   Section V.B.10 of the Solicitation Procedures, should require the           The Debtors believe this Objection is resolved in the revised Solicitation
                   Committee         Debtors to obtain the consent of the TCC or provide notice and              Procedures by the language set forth below.
                   [D.I. 3526]       opportunity for a hearing prior to entering into any stipulation with
                                     an abuse survivor with respect to the amount of the claim for voting        Section V.B.11 of the Solicitation Procedures states as follows: “The
                                     purposes. [D.I. 3526 at 61, ¶ 133].                                         Debtors are authorized to enter into stipulations or other agreements with
                                                                                                                 the holder of any Claim agreeing to the amount of a Claim for voting
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Argument No.       Objecting
                                                        Summary of Argument                                                            Debtors’ Response
& Description       Parties
                                                                                                           purposes, and will provide notice and an opportunity for a hearing on any
                                                                                                           such stipulation.” [D.I. 6215, Revised Solicitation Procedures Ex. 1,
                                                                                                           § V.B.11].
                Tort Claimants’   Section V.D.8 of the Solicitation Procedures should require the          The Debtors believe this Objection is resolved in the revised Solicitation
                Committee         Debtors to obtain the consent of the TCC or provide notice and           Procedures by the language set forth below.
                [D.I. 3526]       opportunity for a hearing prior to authorizing the withdrawal or
                                  modification of a ballot related to an abuse survivor after the voting   Section V.D.8 of the Solicitation Procedures states as follows: “After the
                                  deadline. [D.I. 3526 at 61, ¶ 134].                                      Voting Deadline, no Ballot may be withdrawn or modified without the prior
                                                                                                           written consent of the Debtors upon notice to parties in interest. Any such
                                                                                                           withdrawal or modification shall be detailed in the Voting Report filed by
                                                                                                           the Solicitation Agent.” [D.I. 6215, Revised Solicitation Procedures Ex. 1,
                                                                                                           § V.D.8].
                Tort Claimants’   Section V.D.13 should require the Debtors to obtain the consent of       The Debtors believe this Objection is resolved in the revised Solicitation
                Committee         the TCC or provide notice and opportunity for a hearing prior to         Procedures by the language set forth below.
                [D.I. 3526]       waiving any defects with respect to a Ballot submitted an abuse
                                  survivor. [D.I. 3526 at 62, ¶ 135].                                      Section V.D.13 of the Solicitation Procedures states as follows: “Subject to
                                                                                                           any contrary order of the Bankruptcy Court, the Debtors further reserve the
                                                                                                           right to waive any defects or irregularities or conditions of delivery as to
                                                                                                           any particular Ballot, upon notice to parties in interest. Any such waiver
                                                                                                           shall be detailed in the Voting Report filed by the Solicitation Agent.” [D.I.
                                                                                                           6215, Revised Solicitation Procedures Ex. 1, § V.D.13].
                Tort Claimants’   Section V.D.16 of the Solicitation Procedures provides that if no        The Debtors believe this Objection is resolved by the language in the
                Committee         votes are received in a class under the Plan, then that class will be    revised Solicitation Procedures set forth below, which also resolves the U.S.
                [D.I. 3526]       deemed to have accepted the Plan, which is contrary to section 1126      Trustee’s similar Objection.
                                  of the Bankruptcy Code. [D.I. 3526 at 62, ¶ 136].
                                                                                                           The revised Solicitation Procedures provide that class acceptance will be a
                                                                                                           Plan confirmation issue, if necessary: “Subject to entry of the Confirmation
                                                                                                           Order providing for such relief, if no Ballot is submitted in a Class, then
                                                                                                           such Class shall be deemed to have voted to accept the Plan.” [D.I. 6215,
                                                                                                           Revised Solicitation Procedures Ex. 1, § V.D.16].
                U.S. Trustee      The Solicitation Procedures provide that if there are no votes cast in   See response directly above.
                [D.I. 3581]       a voting class, the class will be deemed to have accepted the Plan.
                                  This is contrary to section 1126(c) of the Bankruptcy Code. [D.I.
                                  3581 at 17, ¶ 39].
                Tort Claimants’   Section V.D.20(b) of the Solicitation Procedures should require the      The Debtors believe this Objection is resolved in the revised Solicitation
                Committee         Debtors to obtain the consent of the TCC prior to granting an            Procedures by the language set forth below.
                [D.I. 3526]       extension of time for any abuse survivor to submit a Ballot. [D.I.
                                  3526 at 62, ¶ 137].                                                      Section V.D.20(b) of the Solicitation Procedures states as follows: “any
                                                                                                           Ballot received after the Voting Deadline [may not be counted in
                                                                                                           determining the acceptance or rejection of the Plan] unless the Debtors have
                                                                                                           granted an extension in writing (including e-mail) with respect to such
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Argument No.          Objecting
                                                            Summary of Argument                                                               Debtors’ Response
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                                                                                                                 Ballot. Any such extension shall be detailed in the Voting Report filed by
                                                                                                                 the Solicitation Agent.” [D.I. 6215, Revised Solicitation Procedures Ex. 1,
                                                                                                                 § V.D.20(b)].
                   U.S. Trustee      If no directive is received, the default should be that the claimant vote   The Debtors believe this Objection is resolved.
                   [D.I. 3581]       for his or her Claim, but not that attorney will vote on behalf of the
                                     survivors. [D.I. 3581 at 16, ¶ 36].                                         The Debtors removed this default provision from Section IV.A of the
                                                                                                                 proposed Solicitation Procedures [D.I. 2726, Ex. 1] filed on April 28, 2021.
                                                                                                                 If an attorney has not affirmatively elected the Master Ballot method in the
                                                                                                                 directive or did not return the directive, such attorney’s abuse survivor
                                                                                                                 clients Plan votes will be directly and individually solicited under the
                                                                                                                 Solicitation Procedures.
                   U.S. Trustee      The Disclosure Statement should confirm that the Debtors will not           The Debtors believe this Objection is resolved through the revised language
                   [D.I. 3581]       be objecting to claims after the Solicitation Date and prior to the         in the Solicitation Procedures that the Debtors previously agreed to with the
                                     Voting Deadline, because they might be unaware of the Rule 3018             U.S. Trustee:
                                     procedures and deadlines that require additional steps in order for
                                     their votes to be “re-counted.” [D.I. 3581 at 16, ¶ 37].                    If a Claim in a Voting Class is subject to an objection that is filed with the
                                                                                                                 Court after the Solicitation Date, the applicable Claim shall be deemed
                                                                                                                 temporarily allowed solely for voting purposes to the extent otherwise
                                                                                                                 allowed for voting purposes in accordance with these Solicitation
                                                                                                                 Procedures, without further action by the Debtors or the holder of such
                                                                                                                 Claim and without further order of the Bankruptcy Court, unless the
                                                                                                                 Debtors and claimant agree to other treatment for voting purposes or the
                                                                                                                 Bankruptcy Court orders otherwise. [D.I. 6215, Revised Solicitation
                                                                                                                 Procedures Ex. 1, § III.C.3].
63) Solicitation   Tort Claimants’   The Debtors’ procedures involve an attorney solicitation directive to       The Debtors dispute this Objection and assert that they are already
Procedures -       Committee         the survivors’ counsel to determine each counsel’s preference for           appropriately accounting for the preferences of survivors as listed on their
Directive          [D.I. 3526]       master ballot or direct solicitation of their abuse survivor clients. But   proofs of claim.
                                     survivors, not their counsel, should make the decision on the type of
                                     solicitation. The indication on a survivor’s POC of whether the             A more detailed response is set forth in Section III of the Debtors’ Omnibus
                                     Debtors should contact a survivor directly or their counsel about the       Reply.
                                     claim should also take precedence. [D.I. 3526 at 59].
64) Solicitation   Tort Claimants’   The ballot should identify the Local Council that an abuse survivor         The Debtors dispute this Objection.
Procedures –       Committee         is being asked to release by voting to accept the plan, and for the over
Ballot             [D.I. 3526]       30,000 claims where a local council has not been identified, the            This information is not relevant to the solicitation process, nor is it feasible
                                     Debtors should research this prior to solicitation. [D.I. 3526 at 60, ¶     to obtain.
                                     131].
                                                                                                                 A more detailed response is set forth in Section III of the Debtors’ Omnibus
                                                                                                                 Reply.
65) Solicitation   Century           The Solicitation Procedures improperly value abuse claims at $1.00.         The Debtors dispute these Objections.
Procedures –       Indemnity         This is improper or should be modified for a variety of reasons:
Claims Value       Company [D.I.
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 Argument No.          Objecting
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for     Voting      3857,      5214];                 Century and Certain Excess Insurers assert that the               Valuing and temporarily allowing a large body of unliquidated claims at
Purposes            Plaintiff     Law                  Solicitation Procedures improperly value all Abuse Claims         $1.00 for voting purposes is a standard procedure and ensures that a large
                    Firms                              at $1.00 for voting purposes, despite evidence that claims        body of claims can still participate in the voting process. Bankruptcy Rule
                    (Supplemental                      may be deficient or illegitimate, in violation of section         3018(a) authorizes the Bankruptcy Court to do this.
                    DS Objections)                     1126(c) of the Bankruptcy Code (D.I. 3857 at 25–26; D.I.
                    [D.I. 5955 et al.];                5214 at 7–8; D.I. 6056 ¶ 6);                                      A more detailed response is set forth in Section III of the Debtors’ Omnibus
                    Pro Se Claimant                                                                                      Reply.
                    242                               Plaintiff Law Firms, Pro Se Claimant 242, and Zalkin
                    [D.I.      6027];                  Plaintiffs assert the Solicitation Procedures ignore the
                    Zalkin Plaintiffs                  requirement of section 1126(c) of the Bankruptcy Code
                    [D.I.      6031];                  because the Debtors cannot assess the degree of actual
                    Certain                            creditor support from claimants with enforceable claims
                    Insurers [D.I.                     through a $1.00 voting mechanism (D.I. 5955 et al., ¶¶ 6–
                    6052]; Certain                     9; D.I. 6027; D.I. 6031, ¶¶ 9–16);
                    Excess Insurers                   Certain Insurers assert that the procedures should account
                    [D.I. 6056]16                      for state law rights so that the Plan is not confirmed over the
                                                       votes of the in-statute claimants that are more likely to have
                                                       a legitimate economic stake in the outcome of the Chapter
                                                       11 Cases (D.I. 6052, ¶¶ 49–52); and
                                            Plaintiff Law Firms and Zalkin Plaintiffs assert that time-barred
                                            abuse claims should be segregated and weighted according to their
                                            TDP discount values/Mitigating Scaling Factors on Schedule 1 of the
                                            TDP to properly account for varying state law/statute of limitation
                                            rights of abuse claimants (D.I. 5955 et al., ¶ ¶¶ 6–9; D.I. 6031, ¶¶ 9–
                                            16).
                    Plaintiff    Law        Plaintiff Law Firms assert that the vote tabulation procedures are           The Debtors dispute this Objection.
                    Firms                   improper because:
                    (Supplemental                                                                                        The voting tabulation procedures are fair and conform to the Plan structure,
                    Objections)                       the vote tabulation procedures should distinguish among           and this is a disguised Plan and classification-related objection. A more
                    [D.I. 5955 et al.]                 claimants based on which Local Councils will be co-liable         detailed response is set forth in the Debtors’ Omnibus Reply.
                                                       with the Debtors because some Local Councils are
                                                       financially strong while others are financially weak (D.I.
                                                       5955 et al., ¶ 5);
                                                      the Debtors must separately tabulate the votes of creditors
                                                       that may be affected by any Chartered Organizations
                                                       designated as Protected Parties under the Plan before the
                                                       Channeling Injunction may issue (D.I. 5955 et al., ¶ 5); and


  16   Liberty joins in this Objection [D.I. 6057].
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                                      the Solicitation Procedures do not provide a mechanism to determine
                                      whether there is sufficient support for the Plan’s proposed release of
                                      Local Councils and Chartered Organizations because abuse
                                      survivors who did not name a Local Council or Chartered
                                      Organization in their proofs of claim are allowed to vote (D.I. 5955,
                                      ¶¶ 10–12).
66) Solicitation   Tort Claimants’    The TCC should be permitted to send a cover letter to abuse              The Debtors believe this Objection is resolved.
Procedures –       Committee          survivors as part of the solicitation materials. [D.I. 3526 at 61,
Solicitation       [D.I. 3526]        ¶ 132].                                                                  The Debtors have revised the discussion of the Solicitation Package in the
Package                                                                                                        Solicitation Procedures Order and related documents such that the
                                                                                                               following will be included as part of the Solicitation Package: “a letter from
                                                                                                               any official committee or the Coalition, substantially in the form filed in
                                                                                                               these Chapter 11 Cases before the Disclosure Statement Hearing (and as
                                                                                                               may be modified, amended, or supplemented from time to time).” [D.I.
                                                                                                               6215, Revised Solicitation Procedures Order ¶ 7(f)].
                   U.S.     Trustee   The Debtors should not be permitted to send only a notice containing     The Debtors dispute this Objection.
                   [D.I. 3581]        directions to access the solicitation materials online, the Debtors
                                      should mail the materials with flash drive containing complete           The Debtors propose to mail the cover letter, the Confirmation Hearing
                                      electronic copies. [D.I. 3581 at 17, ¶ 38].                              Notice, and the Ballot to the voting classes, and are proposing to provide
                                                                                                               website links to the Plan, the Disclosure Statement, and the Solicitation
                                                                                                               Procedures Order and exhibits. It is cost-prohibitive and inefficient to mail
                                                                                                               over 1,000 pages to each creditor. It would also be costly to mail a USB
                                                                                                               drive of each solicitation package. Additionally, the TCC, the Coalition,
                                                                                                               and individual abuse survivors did not object to this method. Other similar
                                                                                                               procedures have been approved by other bankruptcy courts.

                                                                                                               This is addressed in more detail in Section III of the Debtors’ Omnibus
                                                                                                               Reply.
67) Solicitation   Century            The claims pool must be vetted and invalid abuse claims removed          The Debtors dispute this Objection. This Objection is iterative of Century’s
Procedures –       Indemnity          before solicitation can commence. Without discovery such as that         Rule 2004 and 2019 motions that have already been briefed/argued and, the
Claims Pool/       Company [D.I.      requested under Century’s pending Rule 2004 motions, the                 Debtors believe, addressed at the hearing held on August 30, 2021. There,
Review             3857]              solicitation is vulnerable to manipulation. [D.I. 3857 at 11-13]. The    the Court ruled that it was “denying . . . at this time” the Rule 2004 motion
                                      Court should require claimants to be individually solicited absent       on discovery of individual claimants. See Aug. 30, 2021 Hr’g Tr. at 46:8-
                                      evidence of a case-specific grant of authority to the attorney to vote   9.
                                      on the client’s behalf, and should require an effective retention
                                      agreement containing a joint retention waiver. [D.I. 6065 at 42].        A more detailed response is set forth in Section III of the Debtors’ Omnibus
                                                                                                               Reply.
                   Pro Se Claimant    Joins Century’s position that any voting schedule must provide           The Debtors dispute this Objection. See response directly above and the
                   242                sufficient time for parties to object to facially invalid claims based   more detailed response set forth in the Debtors’ Omnibus Reply.
                   [D.I. 6027]        on lack of information, and the court should rule whether time-barred
                                      claims are entitled to vote. [D.I. 6027 at 10].
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Argument No.       Objecting
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                Century        With respect to the claims pool and invalid abuse claims, the               The Debtors dispute this Objection.
                Indemnity      solicitation procedures and ballots lack procedural safeguards, and
                Company        there is no showing required that counsel is authorized to cast votes       A more detailed response is set forth in Section III of the Debtors’ Omnibus
                [D.I. 3857]    or that counsel must comply with Bankruptcy Rule 2019. Parties are          Reply.
                               excluded from the process of evaluating a claimant’s assertion that
                               he or she has a valid claim and is therefore entitled to vote. Filing a
                               proof of claim initiates a process under section 502(a) where any
                               party in interest may object to a proof of claim so the court can
                               determine whether they should be entitled to vote and in what
                               amount. (citing 502(a), 3007, 3018)). The procedures cannot be
                               reconciled with Bankruptcy Rule 3018, which confers on the court
                               the authority to determine which claims are valid for voting
                               purposes. [D.I. 3857 at 14-16].
                Century        The Solicitation Procedures improperly disenfranchise holders of            The Debtors dispute this Objection.
                Indemnity      abuse claims and give undue influence to Coalition law firms through
                Company        the use of Master Ballots, which will taint the voting process              A more detailed response is set forth in Section III of the Debtors’ Omnibus
                [D.I. 3857]    because: (1) the Debtors will reach out to law firms, rather than           Reply.
                               individual abuse claimants, and such claimants will not receive
                               copies of the Plan or the Disclosure Statement, and (2) the volume of
                               abuse claims invites abuse because it is implausible that law firms
                               will have sufficient time to contact their clients and record their votes
                               on the Master Ballot. [D.I. 3857 at 18-19].
                Century        The Solicitation Procedures give undue influence to Coalition law           The Debtors dispute this Objection.
                Indemnity      firms, and the Coalition firms have conflicts of interest and lack
                Company        authority to use Master Ballots. [D.I. 3857 at 21-25].                      The conflict of interest issue has already been addressed by the Coalition in
                [D.I. 3857]                                                                                a separate brief, and the Debtors do not repeat these arguments here. See
                                                                                                           Limited Supplemental Joinder of the Coalition, D.I. 5745.

                                                                                                           A more detailed response is set forth in Section III of the Debtors’ Omnibus
                                                                                                           Reply.
                Century        Debtors failed to distinguish the authority cited in Century’s RSA          The Debtors dispute this Objection and assert that this Objection is moot at
                Indemnity      objection [D.I. 5707] and offer no case in support of the proposition       least in part.
                Company        that it is ever proper to promise to pay a client’s lawyer as part of an
                [D.I. 6065]    agreement with that lawyer that he or she recommend something to            Any objection to the potential payment of the Coalition’s fees is properly
                               their client. The fee provisions of the RSA taken together with the         made as an objection to confirmation. The appropriateness of the master
                               Master Ballot provisions of the Solicitation Procedures will taint the      ballot provision is addressed above and in the Debtors’ Omnibus Reply.
                               vote, render it voidable and invite reversal of the Amended Plan if it
                               is confirmed. [D.I. 6065 at 37].
                Century        The Solicitation Procedures improperly disenfranchise holders of            The Debtors dispute this Objection.
                Indemnity      abuse claims and give undue influence to Coalition law firms
                Company        because the self-certification procedure in the Master Ballot is
                                                                                     108
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Argument No.       Objecting
                                                      Summary of Argument                                                              Debtors’ Response
& Description        Parties
                [D.I. 3857]    unlawful and will enable manipulation of voting. This vitiates              The Debtors are entitled to rely on the certifications of counsel representing
                               Bankruptcy Rule 2019, and the Bankruptcy Court should require that          holders of Direct Abuse Claims that they are authorized to vote on their
                               law firms acting on behalf of multiple claimants file evidence of their     behalf and record their votes. Bankruptcy Rule 9010(c) expressly does not
                               authority to vote for the client on this specific Plan. [D.I. 3857 at 19-   require a power of attorney to accompany an attorney’s vote on a Plan, and
                               21].                                                                        the in the Solicitation Procedures the Debtors specifically reserve the right
                                                                                                           to request evidence from any law
                                                                                                           firm submitting a Master Ballot of such firm’s authority to act. This is
                                                                                                           sufficient for voting purposes. The Debtors and parties in interest are able
                                                                                                           to ascertain which law firms represent various abuse survivors through the
                                                                                                           claim-filing process.

                                                                                                           A more detailed response is set forth in the Debtors’ Omnibus Reply.
                Century        With respect to the claims pool and invalid abuse claims, the               The Debtors dispute this Objection.
                Indemnity      proposed Expedited Distribution payments in exchange for votes.
                Company        [D.I. 3857 at 16-17].                                                       Claimants are not required to vote to accept the Plan in order to receive the
                [D.I. 3857]                                                                                Expedited Distribution. The Expedited Distribution is governed by the
                                                                                                           Trust Distribution Procedures, and the Settlement Trustee will be
                                                                                                           responsible for claims review in accordance with the Trust Distribution
                                                                                                           Procedures.

                                                                                                           A more detailed response is set forth in the Debtors’ Omnibus Reply.
                Century        Proofs of claim need to be vetted or they are not entitled to prima         The Debtors dispute this Objection.
                [D.I. 5214]    facie validity: the vast majority of the mass-signed Proofs of Claims
                               Century reviewed are facially defective: they are missing critical          A more detailed response is set forth above and in the Debtors’ Omnibus
                               information, are duplicates, or are barred by the statute of limitations.   Reply.
                               Many of these claims lack other basic information. [D.I. 5214 at 4-
                               5].
                Century        The Court cannot authorize solicitation until a full investigation is       The Debtors dispute this Objection and it has been addressed in the
                [D.I. 6065]    undertaken into the process by which the proofs of claims were              responses above.
                               submitted in these cases. The Master Ballot Solicitation Method
                               threatens greater harm now that the expedited payment has increased         A more detailed response is set forth in the Debtors’ Omnibus Reply.
                               to $3,500 and the plaintiff lawyers will be signing the Master Ballots.
                               The RSA and Solicitation Procedures were designed in a manner that
                               taints the vote. [D.I. 6065 at 4-5].
                Century        Since the disclosure of the RSA and the recent disclosures by Mr.           The Debtors dispute this Objection and it has been addressed in the
                [D.I. 6065]    Kosnoff, the Master Ballot Solicitation Method and its attendant            responses above.
                               problems have only gotten worse and threaten to taint the entire
                               solicitation and voting process. Increasing the Expedited                   As set forth in the Debtors’ Omnibus Reply, the Master Ballot procedures
                               Distribution from $1,500 to $3,500 exacerbates the moral hazards            are appropriately designed and provide for various certifications to be
                               that have infected these cases. [D.I. 6065 at 35-37].                       provided by counsel for claimants and other safeguards. The Debtors will


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Argument No.          Objecting
                                                            Summary of Argument                                                             Debtors’ Response
& Description          Parties
                                                                                                                appropriately review any issues with respect to the Master Ballot and voting
                                                                                                                procedures.

                                                                                                                More detailed responses on these various issues are set forth in the Debtors’
                                                                                                                Omnibus Reply.
68) Solicitation   Lujan & Wolff      It is unclear how many votes to accept the BSA Toggle Plan are            This Objection is moot because the Debtors are not moving forward with
Procedures –       LLP Claimants      required in order for it to be confirmed, as the Disclosure Statement     the BSA Toggle Plan.
Tabulation of      (Initial           instead alludes to the Toggle Plan being a “default” Plan that may be
Votes              Objection) [D.I.   confirmed if there are insufficient votes to accept the Global
                   3231]              Resolution Plan. [D.I. 3231, ¶ 24].

69) Solicitation   Pro Se Claimant    The Debtors should re-notice the Bar Date Notice by publication in        The Debtors submit that the bar date noticing was sufficient to provide
Procedures –       242                Prison Legal News and by other means reasonably calculated to             notice to potential known and unknown creditors. The Debtors engaged in
Sufficiency of     [D.I. 6027]        provide notice to individuals who are incarcerated and subject to         extensive noticing of the bar date via a campaign designed to reach
Bar        Date                       COVID-19 protocols. Such individuals should have an opportunity           unknown and known potential creditors. The Supplemental Notice Plan
Notice                                to file a claim and vote on the Plan. [D.I. 6027 at 9].                   reached an estimated 95.8% of men 50 years of age and older through a
                                                                                                                variety of media sources. See D.I. 556, 557, 1758. For example, the
                                                                                                                Debtors’ notice and claims agent contacted approximately 2,243 U.S.
                                                                                                                correctional facility contacts regarding the bar date.
                                                                               Miscellaneous Objections

70)                Pro Se Claimant    As part of the bar date noticing campaign, 56,926 contacts at             The Debtors dispute the basis for this Objection.
Miscellaneous      242                Chartered Organization were provided with a copy of the Abuse
                   [D.I. 6027]        Claims Publications Notice and asked to share its contents with their     Chartered Organizations were sent notice of the bar date via mail. See
                                      organizations’ members. However, it is not clear that all or even any     Affidavit of Service, D.I. 1112. The Debtors submit that the Chartered
                                      Chartered Organizations were provided notice of their own rights as       Organizations received actual notice of the bar date.
                                      Indirect Abuse Claimants under the then-current draft Plan.
                                                                                                                A more detailed response is set forth in the Debtors’ Omnibus Reply
                                      Claimant suggests that Chartered Organizations that did not file an
                                      Indirect Abuse Claim only because they did not receive actual notice
                                      of the case prior to the Bar Date should be allowed to file a claim and
                                      participate in voting. [D.I. 6027 at 9].
                   Certain            The Confirmation Schedule is unreasonably compressed, given that          The Debtors dispute this Objection.
                   Insurers   [D.I.   the Plan is patently insurance prejudicial and contemplates binding
                   6052]              trust distribution procedures. The schedule must provide adequate         A more detailed response is set forth in the Debtors’ Omnibus Reply.
                                      time for the volume of discovery required and allow parties in
                                      interest to stress test the Plan. (Obj. ¶¶ 57-59).




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